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                                                                                 ..:Ffl
                  IN THE UNITED STATES DISTRICT COURT
                   FOR TilE WESTERN DISTRICT OF TEXAS                   7013JUL23 ?   3;3

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UMTED STATES OF AMERICA                  S
                                                                               4(7JI(/
ex tel. Ryan Bliss, Relator,             §
                                         §           Civil Action No.
STATE OF ARKANSAS ex tel. Ryan
Bliss, Relator,

STATE OF CALifORNIA ex rel. Ryan
                                                                                      ii
Bliss, Relator,
                                         §           FILED IN CAMERA
STATE OF COLORADO ex reL Ryan            §           AND UNDER SEAL
Bliss, Relator,                          §           PURSUANT TO
                                         §           31 U.S.C. § 3730
STATE OF CONNECTICUT ex tel. Ryan        §

Bliss, Relator,                              §       DO NOT ENTER INTO PACER
                                             §

STATE OF DELAWARE ex tel. Ryan               §       DO NOT PLACE IN PRESS BOX
Bliss, Relator,                              §
                                             §

DISTRICT OF COLUMBIA ex tel. Ryan            §

Bliss, Relator,                              §
                                             §

 STATE OF FLORIDA ex rel. Ryan Bliss,        §

 Relator,                                    §
                                             §

 STATE OF GEORGIA ex tel. Ryan Bliss,        §

 Relator,                                    §
                                             §

 STATE OF HAWAII ex rel. Ryan Bliss,         §

 Relator,                                    §
                                             §

 STATE OF ILLiNOIS ex tel. Ryan Bliss,           §

 Relator,                                        §
                                                 §

 STATE OF IIDIANA ex tel. Ryan Bliss,            §

 Relator,                                        §
                                                 §

 STATE OF IOWA ex tel. Ryan Bliss,               §

 Relator,                                        §
                                                 §

  STATE OF LOUISIANA ex rel. Ryan                §

  Bliss, Relator,                                §
                                                 §

  STATE OF MARYLAND ex tel. Ryan                 §
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Bliss,   Relator,                                             §
                                                              §

STATE OF MASSACHUSETTS ex tel.                                §

Ryan Bliss, Relator,                                          §

                                                              §

STATE OF MICHIGAN ex tel. Ryan                                §

Bliss, Relator,                                               §
                                                              §

STATE OF MONTANA ex rel. Ryan                                  §

Bliss, Relator,                                                §

                                                               §

STATE OF NEVADA ex tel. Ryan Bliss,                            §

Relator,                                                       §
                                                               §

STATE OF NEW JERSEY ex tel. Ryan                               §

Bliss, Relator,                                                §

                                                               §

STATE OF NEW MEXICO ex tel. Ryan                                  §

Bliss, Relator,                                                   §
                                                                  §

STATE OF NEW YORK ex rel. Ryan                                    §

Bliss, Relator,                                                   §
                                                                  §

 STATE OF NORTH CAROLINA ex tel.                                  §

 Ryan Bliss, Relator,                                             §
                                                                  §

 STATE OF OKLAHOMA ex tel. Ryan                                    §

 Bliss, Relator,                                                   §
                                                                   §

 STATE OF RHODE ISLAND ex rel. Ryan                                §

 Bliss, Relator,                                                   §
                                                                   §

 STATE OF TENNESSEE ex rel. Ryan                                   §

 Bliss, Relator,                                                   §
                                                                   §

 STATE OF TEXAS ex tel. Ryan Bliss,                                §
 Relator,                                                          §
                                                                   §

  STATE OF VIRGINIA ex tel. Ryan Bliss,                               §

  Relator,                                                            §
                                                                      §

  STATE OF WISCONSIN ex rel. Ryan                                     §

  Bliss, Relator,                                                     §
                                                                      §

  vs.                                                                 §
                                                                      §

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BIOCOMPATIBLES INTERNATIONAL                                   §
PLC, RITA MEDICAL, INC.,                                       §
ANGIODYNAMICS, INC.,                                           §
BTG, PLC and 100 HOSPITALS,                                    §
Defendants.                                                    §
                                                               §



                                                             AND
 COMPLAINT FOR DAMAGES UNDER THE FEDERAL FALSE CLAIMS ACT
   VARIOUS STATE FALSE CLAIMS ACTS AND DEMAI"4D FOR JURY TRIAL


                                            I.        INTRODUCTION

         I.       In the instant case, relator Ryan Bliss ("Bliss" or "Relator") alleges that the
                                                                                     its
British medical technology firm Biocompatibles International PLC ("BIOCOMPATIBLES"),
                                                                       RITA Medical,
parent corporation BTG, PLC ("BTG"), BIOCOMPATIBLES' U.S. distributors
                                                                         "the Device
Inc. ("RITA") and AngioDynarnics, Inc. ("ANG1ODYNAN'IICS") (collectively
                                                                               Defendants")
Defendants") and 100 hospitals listed on Exhibit A (collectively the "Hospital

violated the False Claims Act, 31 U.S.C.              §   3729     et seq.,   and its state law counterparts, through a

                                                                              large sums of
fraudulent course of conduct that caused federal and state governments to pay
                                                                       Transarterial
money for a combination drug-device therapy known as Drug Eluting Bead
                                                                            the use of a
Chemoembolization ("DEBTACE"), an off-label medical procedure that involves
                                                                       doxorubicin and
drug-eluting bead called LC Bead to deliver the highly-cytotoxic drugs

irinotecan to liver tumors.

          2.        Relator Bliss worked for Biocompatibles' Distributor RITA as a sales
                                                                                 in 2006 and he
representative during the initial product launch of LC Bead in the United States
                                                                                  he left
 continued to sell the product for RITA and ANGIODYNAIvIICS until July 2008, when
                                                                           he joined
 ANGIODYNAMICS' employment. After an interval working for another company,




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                                                                              LC Bead
BTG/BIOCOMPATIBLES in September 2011 and has had responsibility for marketing

from that time to the present.

        3.        Bliss was told by RITA and BIOCOMPAI1BLES when he commenced
                                                                            and that an
marketing LC Bead in 2006 that the device had a 510k clearance from the FDA
                                                                          "approval" from
identical product called DC Bead sold in the European Union had a CE mark

the European regulatory authorities.

         4.        Relator has learned only recently that BIOCOMPATIBLES had no FDA
                                                                              clearance it
clearance or approval whatsoever for LC Bead until December 2008 and that the

obtained in 2008 was obtained by misrepresenting the actual and intended use of the
                                                                                    product as a

drug-eluting bead, a matter about which he has extensive knowledge because of his
                                                                                  product

training for, and experience in, selling LC Bead.

         5.        Bliss has also learned        only   recently that DC Bead, the European equivalent of LC

Bead, never had any "approval" from European regulatory authorities, as its CE mark
                                                                                    certificate

was issued by a private testing finn, and that an identical product pre-ioaded with doxorubicin

was denied approval by European regulatory authorities. Based upon his training and experience

 in selling LC Bead, he knows that these matters were misrepresented to healthcare providers by

 representatives of the Device Defendants.

          6.       Relator has also recently determined, based upon his personal training for, and

 actual experience promoting LC Bead and the DEBTACE procedure, that the reimbursement
                                                                                  have
 codes that the Device Defendants have promoted and which the Hospital Defendants
                                                                                          do not
 actually used for billing to government healthcare programs are false and misleading and
                                                                                     make
 provide enough infonnation about the procedures to pennit government contractors to

 informed coverage detenninations.

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                                                                                           sales
       7.               Finally, Bliss has also ascertained, based upon BTG/BIOCOMPATIBLES
                                                                             all of the Device
data in his possession and his knowledge of the sales techniques utilized by
                                                                        direct sales of LC
Defendants for whom he has worked, that the Device Defendants have made

Bead to hospitals operated by the Departments of Defense and Veterans Affairs
                                                                              based upon false

and misleading statements about the regulatory status, safety and efficacy of LC
                                                                                 Bead and the

DEBTACE procedure.
                                                                                               for
        8.               As a result, government programs have reimbursed healthcare providers
                                                                                 not have been
thousands of procedures and drug doses each year, over several years, that would
                                                                                            question were
reimbursed had the government healthcare programs known that the procedures in
                                                                                     necessity.
wholly investigational and experimental and therefore lacking in requisite medically

           9.             Revenues from sales to hospitals of LC Bead in the United States by
                                                                      fiscal year 2011
ANGIODYNAMICS were $22.4 million in fiscal year 2010, $2&3 million in
                                                                                          rights      for
 and $21.3 million for the portion of fiscal year 2012 that the company held distribution
                                                                                from
 the product. Revenues from sales to hospitals of LC Bead by BTGIBIOCOMPATIBLES

                      2012 through June 21, 2013 have been approximately $41 million.         Thus, total
 January        1,

                                                                                 $113 million,
 hospital sales of LC Bead from 2010 through the present have been approximately
                                                                                 healthcare
 approximately half of which were for militaiy hospitals or billed to government
                                                                                  estimated to be
 programs by private hospitals. With related drug, facility and physician charges
                                                                                        has been
 three times the cost of the devices themselves, the cost to federal and state programs
                                                                                       between
 approximately $170 million since 2010, not including charges for procedures performed

 2006 and 2010.




 U.S. ex   rel.      Bliss. et   al.   v. Bioconipatibles International. plc. et al

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                                                 II.       PARTIES
                                                                                   in Boston,
        10.       Relator Ryan Bliss is a citizen of the Unites States and resides
                                                                      2005 until January
Massachusetts. Mr. Bliss was employed by defendant RITA from November

2007 when RITA was acquired by ANGIODYNAIvIICS.                                  He was employed by

ANGIODYNAMICS from January 2007 until July 2008.                           He has been employed by

                                                              currently serves as
BIOCOMPAT1BLES, a subsidiary of BTG, since September 2011 and
                                                                                 Mr. Bliss had
Product Manager for the Interventional Medicine Division in the U.S. and Canada.
                                                                   the United States,
responsibility for marketing BIOCOMPATIBLES' drug-eluting beads in
                                                                               by RITA in July
either as a sales representative or a manager, from the initial product launch
                                                                           the present.
2006 through July 2008 and again from September 2011 through and including
                                                                                         observations
         11.       The allegations of this complaint are based upon the direct, personal
                                                                                       by Mr.
of Mr. Bliss, non-public documents in his possession and/or an investigation conducted

Bliss and his counsel that adds materially to any transactions that have been
                                                                              publicly disclosed.

                                                                                             of all
         12.       Mr. Bliss provided to the Department of Justice and the Attorneys General

 of the States named in the caption and the District of Columbia a full disclosure of substantially

 all material facts, as required by the False Claims Act, 31 U.S.C.        §   3730(b)(2), and relevant state

 statutes, prior to filing the instant complaint. He therefore qualifies as
                                                                            an "original source"

 within the meaning of the False Claims Act.
                                                                                     is a
          13.       Defendant Biocompatibles International, plc. ("BIOCOMTPATIBLES")
                                                                     principal place of
 medical technology company organized in the United Kingdom with its
                                                                 Farnham, Surrey (iU9
 business at Chapman House, Farnhain Business Park, Weydon Lane,
                                                                           under the
 8QL.      BIOCOMPATIBLES was publicly-traded on the London Stock Exchange

 symbol "BIT" until it was acquired on or about January 11, 2011, by BTG
                                                                         plc, a publicly-traded

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                                                                 operated in the
company also organized in the United Kingdom. BIOCOMPATIBLES has

United      States through        various subsidiaries, including Biocompatibles           UK Ltd and

                                                                               Inc.
Biocompatibles, Inc. and a subsidiary of its parent company, BTG International
                                                                            300 Barr
BIOCOMPATIBLES maintains offices in the United States at Five Tower Bridge,
                                                                               Building
Harbor Drive, Suite 800, West Conshohocken, PA 19428-2998 and 115 Hurley Road,

3, Oxford, CT 06478.

           14.    Defendant RITA Medical Systems, Inc. is a Delaware corporation with its
                                                                               presently a
principal place of business at 46421 Landing Parkway, Fremont, CA 94538. It is
                                                                               formerly
subsidiary of ANGIODYNAMICS, which acquired it on January 29, 2007, but it was

publicly-traded under the symbol RITA.                    From approximately 2006 until its acquisition by

                                                                              LC
ANGIODYNAMICS, RITA held the exclusive distribution rights to BIOCOMPATIBLES'
                                                                                   with
Bead product in the United States by virtue of a Supply and Distribution Agreement

Biocompatibles, UK Ltd, a subsidiary of BIOCOMPATIBLES.

           15.     Defendant AngioDynamics, Inc., ("ANGIODYNAMICS")                        is   a Delaware

                                                                                       12110. Its
 corporation with its principal place of business at 14 Plaza Drive, Latharn, New York
                                                                                         31,
 stock is publicly traded under the symbol "ANGO." From January 29, 2007, until December
                                                                               LC
 2011, ANGIODYNAMICS held the exclusive distribution rights to BIOCOMPATIBLES'
                                                                                    with
 Bead product in the United States by virtue of a Supply and Distribution Agreement

 Biocompatibles UK Ltd, a subsidiary of BIOCOMPATIBLES.

            16.    BTG, plc. ("BTG") is a publicly-traded, medical technology company organized

 in. the   United Kingdom with its principal place of business at 5 Fleet Place, London EC4M 7RD,
                                                                                    Inc., whose
 UK. It does business in the United States through its subsidiary BTG International
                                                                                   800, West
 principal place of business is at Five Tower Bridge, 300 Barr Harbor Drive, Suite

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Conshohocken, PA 19428-2998 andlor Biocompatibles, Inc., whose principal place
                                                                               of business

is at 115 Hurley Road, Building 3, Oxford, CT 06478.

        17.       The Defendant Hospitals listed on Exhibit A are the top 100 hospitals in the
                                                                                 billed
United States that have purchased LC Bead from the Device Defendants and falsely
                                                                                 LC Bead
government healthcare programs for non-reimbursable DEBTACE procedures utilizing

and the drugs doxorubicin and irinotecan,

                                        ifi.      JURISDICTION AND VENIJE

         18.      This action arises under the False Claims Act, 31 U.S.C.                §   3729    et seq.   This



Court has jurisdiction over this case pursuant to 31 U.S.C.               §   3732(a) and 3730(b). This court

also has jurisdiction pursuant to 28 U. S.C.                §   1345 and 28 U.S.C.    §   1331.      Supplemental

jurisdiction for Counts Three through Thirty-One arises under 28 U.S.C.                       §   1367, since these

claims are so related to the federal claims that they fonu part of the same case or controversy

under Article III of the U.S. Constitution.

          19.      At all times material to this Complaint the Device Defendants regularly conducted

substantial business within eveiy state of the Union, including the state of Texas. A number
                                                                                             of

                                                                                           veterans
 the Defendant Hospitals do business in the state of Texas and several of the military and
                                                                                            of
 hospitals are located in Texas. Since the False Claims Act provides for nationwide service

 process, all Defendants are subject to personal jurisdiction in the state of Texas.

          20.      Venue is proper in this thstrict, among others, pursuant to 31 U.S.C.                  §   3732(a)

 because many of the Defendants transact business in this district and the federal Departments
                                                                                               of

                                                                                              the
 Defense and Veterans Affairs have hospital facilities in this district that were impacted by

 fraudulent course of conduct described herein.



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                                               IV.      ALLEGATIONS

A.      MEDICAL, TECHNICAL & CODING BACKGROUND

        21        The principal diseases treated with the drug-eluting beads at issue in this case are
                                                                                          the
(1) primary liver cancer (hepatocellular carcinoma or "HCC"), a cancer that originates in

liver, frequently in association with cirrhosis or hepatitis; and (2) metastatic liver cancer

associated with the spread of colorectal cancer ("mCRC"). HCC is sometimes treated off-label

with doxorubicin and mCRC is sometimes treated off-label with irinotecan, both of which are

chemotherapeutic drugs approved for systemic administration via intravenous injection to treat

certain non-localized cancers, but not for treatment of liver cancer and not for targeted deliveiy

to the site of a localized tumor via drug eluting beads.

         22.       Doxorubicin is a cytotoxic and potentially lethal anthracycline class antibiotic,

now available as a non-patented generic, that was manufactured by Pharmacea and Upjohn under

the brand name Adriamycin and by Bristol-Myers-Squib under the brand name Rubex.

Doxorubicin has an FDA approved indication for systemic delivery through the bloodstream "to

produce regression in disseminated neoplastic conditions" (abnormal masses of tissue, whether

benign, pre-cancerous or cancerous, that result from abnormal growth or division of cells and

have spread beyond their point of origin using the bloodstream to 'seed" other areas of the

body), as well as "lymph node involvement following resection of primary breast cancer," but

does not have an approved indication for targeted delivery to localized "primary" cancers like

HCC, which are confined to the tissue of a single organ.




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        23.         Because doxonthicin' s natural color is red and because the drug can produce life-

threatening and otherwise serious side effects, including cardiac arrest, congestive heart failure,'

deadly bowel infections, painful eruptions on the palms of the hands and feet, hair loss, nausea

and vomiting, it is sometimes referred to as "red devil" or "red death."

          24.       Irinotecan is another dangerous drug now available in generic form that was
                                                                                     only
formerly manufactured by Pfizer under the brand name Camptosar. It has been approved

for intravenous injection/infusion as a first-line therapy in combination with other drugs for

patients with colorectal cancer and administered as a stand-alone treatment for patients with

colorectal cancer whose disease has recurred or progressed following an initial combination

therapy.         It has not been approved as a stand-alone treatment for administration through the

route of drug-eluting beads to treat patients with cancer of the liver secondaiy to colorectal

cancer.

          25.       Dangerous side effects of irinotecan include very serious, clinically significant

diarrhea; serious, possibly fatal blood disorders, including bone marrow failure leading to low

red and white blood cell counts as well as low platelet counts; and extreme suppression of the

immune system, which can lead to fatal infections.

           26.       The medical devices at issue in this case are drug-eluting beads manufactured and

 sold by defendant BIOCOMPATIBLES. Beads sold under the trade names DC Bead and LC

 Bead are designed to be loaded with doxorubicin or irinotecan by the end user. DC Bead, which

 is sold in Europe, and LC Bead, which is sold in the United States, are identical products.



                                                                                                              Nov.
 'Rowan Chlebowski et a!, Adriamycin (Doxorubicin) Cardiotoxicity: A Review, WES.T J. MED. 131:364-368,patient
                    describes the mechanism of damage to the heart. Congestive heart failure experienced by a
 1979. This article
                                                                                                  from LC Bead
 with cancer would not necessarily be attributed to the doxorubicin, meaning the extent of damage
 loaded with doxorubicin cannot be known with any exactitude,

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BIOCOMPATIBLES also has versions of the same beads pre-loaded with doxorubicin and

irinotecan that are not yet on the market, but will be sold under the trade names PRECISION

Bead and PARAGON Bead (PRECISION for doxorubicin-loaded beads; PARAGON for

irinotecan-loaded beads) if they are ever approved by the FDA.

         27.      All of these beads are tiny, compressible, jelly-like microspheres packaged in

saline solution in small vials, with the beads tinted light blue for better visualization until loaded

with drug, when they change color to red (if loaded with doxorubicin) or a darker blue (if loaded

with irinotecan). Drug loading for the DC Bead and LC Bead is typically performed by a hospital

pharmacist, who injects doxorubicin or irinotecan into the vial and waits for the beads to absorb

the drug. The beads are so tiny that they can be withdrawn from the vial through a needle

attached to a syringe and injected into a catheter for delivery to a blood vessel feeding a tumor.

         28.       These drug-eluting beads are composed of a water-insoluble, water-swellable

polyvinyl alcohol ("PVA") matrix that absorbs water to form a hydrogel. The PVA beads are

engineered for drug loading and elution by adding to the polymer matrix high concentrations of

an anionic sulfonate monomer referred to as "AMPS." The AMPS molecules have a negative

ionic charge.

          29.      Doxorubicin, irinotecan and other drugs with a positive ionic charge displace

water in the PVA beads and bond with the AMPS molecules when mixed with the PVA beads in

 a vial by the end user (typically a hospital pharmacist) or when pre-loaded onto the beads at

 BIOCOMPATIBLES' manufacturing facility (in the case of the PRECISION and PARAGON

 beads that have not yet been placed on the market). When the beads are injected via a catheter

 into a blood vessel feeding a tumor, the drug gradually elutes from the beads over a period of



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                                                                                 through the
approximately 14 days and is carried into the tumor by a continued flow of blood

vessel into the tumor.

        30.       Vials of the drug-eluting beads cost approximately $2,000-$3,000 per vial.
                                                                       as Bead
BIOCOMPATIBLES also makes a much cheaper PVA microsphere product known
                                                                                        but does
Block that comes in a syringe instead of vial, sells for approximately $300 per syringe
                                                                                         Bead
not contain a high-enough concentration of AMPS to be functional as a dnig-eluting bead.
                                                                        Bead and
Block contain 90% PVA and 10% AMPS; whereas DC Bead, LC Bead, PRECISION

PARAGON Bead contain 55% PVA and 45% AMPS.

         31.      Bead Block is used for "bland" embolization procedures        (in   which the beads

occlude blood flow and do not elute drugs) in a well-established procedure known as transarterial
                                                                                  tumors of
embolization ("TAE"). Bead Block is used primarily to treat non-cancerous fibroid
                                                                                    conventional
the uterus, but can also be used as a purely embolic device in a procedure known as
                                                                                 where
transarterial chemoembolization ("cTACE") that was developed about 30 years ago,
                                                                                      vessels
embolic beads are utilized to seal off chemotherapeutic drugs injected into the blood

 feeding a tumor.        The DC, LC, PRECISION and PARAGON beads are used in a new and
                                                                                  bead
 experimental procedure first developed around 2002 that is known as dnig-eluting
                                                                                         to
 transarterial chemoembolization ("DEBTACE"), where chemotherapeutic drugs are delivered

 Liver tumors by means       of drug-eluting beads rather than by injection.

          32.      BIOCOMPATIBLES' DC, LC, PRECISION and PARAGON beads are all the
                                                                                              for
 same dnig-eluting bead product, with the only distinctions being that the DC Bead is labeled

 sale in Europe, the LC Bead is labeled for sale in the United States, the PRECISION bead is pre-
                                                                                Bead and
 loaded with doxorubicin and the PARAGON bead is pre-loaded with irinotecan. DC

 LC Beads often come from the same manufacturing batches.

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                  The principal medical procedure at issue in this case is DEBTACE, which
                                                                                          is
        33.

distinguishable from both TAB and cTACE not only by the beads used to perform
                                                                              the procedure

(i.e. LC Bead or another drug-eiuting bead in DEBTACE vs. Bead
                                                               Block or another

                                                                                      use of
manufacturer's enibolic bead in TAE or cTACE), but also by the "endpoint" sought from
                                                                                     cTACE
the beads (embolizatiou or occlusion of the tumor is the desired endpoint in TAB and
                                                                                       stasis, and
procedures vs. the endpoint of continued blood flow, also called sluggish flow or near
                                                                                 drive the
complete drug delivery, in DEBTACE procedures). These endpoint distinctions also
                                                                                     the
selection of proper CPT codes for billing government healthcare programs and whether

procedures are reimbursable under government healthcare programs as discussed below.
                                                                                                  into
         34.      In all three procedures, an interventional radiologist uses a catheter inserted
                                                                                           blood
an artery that is threaded through the vasculature until it is positioned in the principle

vessel feeding a tumor. In the traditional TAB procedure, which does not include injection
                                                                                           of a

chemotherapeutic drug, an embolic bead product like Bead Block is injected through the catheter

to the site of the tumor      (in   current practice, mostly fibroid tumors of the uterus), where the beads

 block the flow of blood        into   the tumor, starving it of nutrients and thereby causing its tissue to

 shrink or die.

          35.      TAB is a well-known, medically-accepted procedure that has been in use for

 decades, has a CPT code assigned to it by the American Medical Association and is reimbursable
                                                                                is
 under government healthcare programs. The CPT code assigned to TAE, CPT 37204,

 described as "[tjranscatheter occlusion or                   ernbolizatfon   (eg, tumor destruction, achieve

                                                                                     nervous
 hemostasis, occlude a vascular malformation), percutaneous, any method, non-central

 system, non-head/neck." (emphasis added). Embolization is defined as [a] treatment that
                                                                                         clogs




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small blood vessels and blocks the flow of blood, such as to a              tumor."2     To occlude is to "[t]o

close, obstruct, or prevent the passage" and "[t]o occlude an artery is to occlude the flow of

blood."

            36.   Because TAE is a medically-accepted form of therapeutic embolization that uses

embolic beads for their FDA cleared indication, it has been approved for reimbursement by

Medicare and Medicaid in a National Coverage Detennination ("NCD") issued by the Centers

for Medicare and Medicaid Services ("CMS").              See NCD 100-3,      Medicare Manual Section 20.28

(effective 12/15/1978). It is properly billed using CPT Code 37204.

            37.   The cTACE procedure is also well-established, having been in use for

approximately 30 years, but involves a chemotherapeutic agent like doxorubicin mixed in an

iodized oil emulsion called lipiodol which is injected into a blood vessel at the site of a tumor,

followed by a bland embollc device like Bead Block that is used to prevent backflow of the

cytotoxic drug into the blood stream and also to occlude or block the flow of blood through the

vessel feeding the tumor.

            38.   Although CPT code 37204 was not developed for cTACE, the code arguably

describes the cTACE procedure because the endpoint of the embolic bead use in cTACE is

"occlusion or embolization." Government healthcare programs typically reimburse for cTACE,

which is typically billed using CPT code 37204, although there have been no national or local

 coverage determinations specifically addressing the coverage issue and the question of the

propriety of the use of this code for cTACE and coverage for the procedure must be considered

 to be an open question.


 2                                                                                                      =3223 (last
       Methciue.Net's MEDTERMS DIcTIoNARY,
     See
 visited July 15, 2013).
  Id. at http://www.rnedterrns.cornlscriptlrnainlart.asp?articlekey=20657(last viewed July 15, 2013).
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        39.        The DEBTACE procedure promoted by BIOCOMPATIBLES is a new and

investigational procedure that uses drug-eluting beads to deliver chemotherapy to the tumor in

lieu of an injection of the chemotherapeutic drug mixed with lipiodol. In the DEBTACE

procedure, the endpoint of the beads is to deliver the drug to the tumor, not to cut off blood

flow through occlusion or embolization, as described by CPT 37204. In fact the endpoint of

DEBTACE is a continued but reduced flow of blood to the tumor in order that the drug eluted

by the beads may be carried into the tumor over a period of 14 days and the beads themselves

will be carried toward the tumor rather than being refluxed into the circulatory system, with

potentially dire consequences.4 The desired endpoint of reducing blood flow and complete

delivery of the drug for the DEBTACE procedure means that the vessel feeding the tumor

remains patent, or open, which allows the physician to have vascular access to that tumor

should he/she need to re-treat the tumor with DEBTACE again in the case that the first

DEBTACE procedure was not successful at treating the tumor completely.

          40.       BIOCOMPATIBLES claims that the slow release of doxonibicin or irinotecan

from the beads is less likely than cTACE or systemic chemotherapy to result in circulation of




             Eleni & Geschwind, Jean-Francois H., "Transcatheter Arterial Cheinoembolization for Liver Cancer:
                                                                                                                                   Is
  See Liapi,
   Time      Distinguish  Conventional   from   Diug-Eluting     Chemoembolization?,"         CARDIOVASC INTERVENT RADIOL
It        to
                                                                                                              occlusive and non-
DOl 10 1007/s00270-OiO-0012-y (November 12, 2010) (stating on p. 6 that although both
                                   described   for both   cTACE     and  DEBTACE,        "It is critically important    when DEBs
occlusive techniques have been
       eluting beads] are used  to ensure  that forward   flow  exists at  all times  to  avoid  reflux  along  the  catheter, which
[drug
                                                                                                                        pancreatitis,
could result in nontarget enibolization and possible dire consequences (gastroduodenal ulceration,
                                                       2011    GLoBAL     EMBOLIZATION        SYMPOSIUM       \ND   TECHNOLOGIES
cholecystitis)" See also Lencioni , Riccardo,
CONFERENCE, Paris, France April 27-30, 2011, "Review of Treatment Algorithms and
                                                                                                    Procedural Standards for DC
 Bead in HCC" (stating at p. 4 that "Injection should be continued          until  near  stasis is observed   in the artery directly
                               contrast column    should    clear within   2-5   heartbeats).   At  that  point,  injection must be
 feeding the tumor (i.e., the
                                                                                                                 reflux  of embolic
 stopped, regardless of the amount of beads that have been actually administered, to avoid
 material.") and Billing, William, SYMPOsIUM ON CLINICAL INTERVENTIONAL                    ONCOLOGY       held  Jan   14-15, 2012 in
                                                   (stating  on  slide  12  that  the endpoint    for DEB-DOX        (DEBTACE)      is
 Miami FL, "Tips & Tricks for DEBTACE,"
                       goal is drug  delivery).  Near   stasis  means  blood    flow  is reduced,   but  not occluded.    Therefore,
 "near stasis" and the
 the endpoint of DEBTACE is drug delivery through continued but reduced blood flow;
                                                                                                          not a total occlusion of
 blood flow.
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                                                                            involves risks
high levels of cytotoxic drug to other organs of the body. However, DEBTACE
                                                                              can be
not present with cTACE or systemic chemotherapy because the drug-loaded beads
                                                                                       with
shunted to vital organs such as the lungs where they lodge, causing pulmonary embolism
                                                                                                    and there is
beads that are loaded with a cytotoxic chemotherapeutic agent and resulting               death,5


                                                                            tract with
a much higher incidence of life-threatening damage to the liver and biliary

DEBTACE.6

         41.      The DEBTACE procedure involves an off-label use of doxorubicin or irinotecan
                                                                                       arguably
because the approved route of administration of the drugs is intravenous injection (as
                                                                                 and also
occurs with cTACE), not elution at the site of a tumor from a drug-eluting bead,

because the drugs are not even approved for treatment of liver tumors.                  Furthennore, the LC

                                                                                      had
Bead as marketed in the United States since April 17, 2006, for the DEBTACE procedure
                                                                               for
no FDA clearance whatsoever until December 24, 2008, and was cleared then only

traditional einbolic uses to block blood flow to tumors, not as a drug-delivery device requiring

continued sluggish blood flow to a tumor so that the drugs can be swept                 into   the tumor over a

period of 14 days as they elute from the beads.

         42.       The only randomized, single-blind, controlled trial of DEBTACE versus TAE

 for HCC (liver cancer) found no improvement in response rate, median time to progression,

 progression-free survival or overall survival rates despite the higher cost of the
                                                                                    DEBTACE

 procedure     utilizing   doxorubicin-eluting beads.        See   Brown, et al, "A Randomized, Single-Blind,

 Controlled Trial of Beads Versus Doxorubicin-Eluting Beads for Arterial Embolization
                                                                                      of


                                                                                                  of Doxorubicin-
  See Khan et al, "Acute Lung Injury Following Transcatheter Hepatic Arterial Chenioernbolization
                                                   Carcinoma," LUNG        2012  Apr; 29(2): 169-72.
 Loaded LC Beads in a Patient with Hepatocellular                   INDIA,
 6
   See Guiu et a!, "Liver/Biliary Injuries Following Chemoembolization
                                                                       of Endocrine Twnours and Hepatocellular
                                                                                       609-617.
 Carcinoma: Lipiodol vs. Drug-Eluting Beads," JOURNAL OF HEPATOLOGY 2012 vol. 56j

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                                                                            authorities
Hepatocellular Carcinoma (HCC)," GIGS 2013; Abstract 143. The EU regulatory
                                                                                in
denied approval for BIOCOMPATIBLES' PRECISION beads pre-loaded with doxorubicin

early 2008, concluding that the safety risks presented by the devices were not outweighed by

their limited efficacy

         43.      DEBTACE has no national or local coverage determinations approving it for

reimbursement by Medicare, Medicaid, TRICARE or CHAMPVA.                      Moreover, government

healthcare programs do not know that a coverage determination is required for DEBTACE

because the procedure is falsely billed as traditional TAE or cTACE by using CPT code 37204,

which does not accurately describe the new, experimental and off-label procedure.

B.       FDA APPROVAL OF DRUGS, DEVICES & COMBINATION PRODUCTS

                                                          Drugs

         44.           Under the Food, Drug, and Cosmetics Act ("FDCA"), 21 U.S.C.        §   301-97,

new drugs cannot be marketed in the United States unless the sponsor of the drug demonstrates

to the satisfaction    of the FDA that the drug is safe and effective for each of its intended uses.    21


U.S.C.   §   355(a) & (d).

          45,      The FDA does not approve a drug in general. Instead, a drug is approved for

 administration in a certain maimer (pill taken orally, intravenous injection etc.), in specified
                                                                                          is
 dosages, and for treatment of a specific condition known as its indication. FDA approval

 based on data generated in randomized and well-controlled clinical trials, typically lasting a

 number of years, which must demonstrate to the satisfaction of the FDA that the drug will be

 safe and effective for its intended use.

          46.       The indication, dosages and route of administration approved by the FDA are set

 forth in the drug's label, or the printed insert in the drug's packaging. The FDA will       only


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approve the new drug application if the label confonns to the uses and dosages that the FDA has

approved. 21 U.S.C. §355(d). Until subsequent approval of the new use has been granted, the

unapproved use is considered to be "off-label," which refers to the use of an approved drug for

any purpose, or in any manner, other than what is described on the drug's labeling. Off-label use

includes treating a condition not indicated on the label, treating the indicated condition at a

different dose or frequency than specified in the label, treating the condition through a different

route of administration, or treating a different patient population (i.e., treating a child when the

drug is approved to treat adults only).

         47.      Once a drug is approved for a particular use, the FDA does not prohibit

physicians from prescribing the drug for uses that are different from those approved by the FDA.

However, the law prohibits marketing or promoting a drug for any use that the FDA has not

approved. 21 U.S.C.        §   331,352.

         48.      Doxorubicin (as approved by the FDA for Pharmacea and Upjohn's brands

Adriamycin RDF and Adriamycin PFS and generic equivalents) has been approved for

intravenous injection/infusion to produce regression in disseminated neoplastic conditions [non-

localized metastatic cancers], including a long list of specific cancers that does not include liver

cancer. It is also indicated for use as a component of adjuvant therapy in women with evidence

of axillary lymph node involvement following resection of primary breast cancer. It has not been

approved for administration through the route of drug-eluting beads to treat primary liver cancer

 (HCC), which is a localized cancer originating in the liver.

          49.      Doxorubicin (as approved by the FDA for Janusen's brand Doxil and generic

 equivalents) has been approved for intravenous injection/infusion for ovarian cancer after failure

 of platinum-based chemotherapy, AIDS-related Kaposi's Sarcoma after failure of prior systemic

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chemotherapy or intolerance to such therapy and multiple inyeloma in
                                                                     combination with

                                                                         have received at least
bortezoinib in patients who have not previously received bortezoniib and
                                                                           route of drug-eluting
one prior therapy. It has not been approved for administration through the

beads to treat primary liver cancer (HCC),

         50.      Doxorubicin (as approved by the FDA for Bristol-Myers-Squibb's brand Rubex
                                                                              to produce
and generic equivalents) has been approved for intravenous injection/infusion
                                                                                     including a
regression in disseminated neoplastic conditions [non-localized metastatic cancers],
                                                                                  approved for
long list of specific cancers that does not include liver cancer. It has not been
                                                                              cancer (HcC).
administration through the route of drug-eluting beads to treat primary liver

         51.       The medical device manufacturer Delcath Systems has obtained an initial orphan
                                                                                  involving the
drug "designation" for doxorubicin to treat HCC and is conducting clinical trials
                                                                                 catheter devices,
targeted administration of high dosages of doxonibicin to liver tumors using its
                                                                                        and FDA
but the drug has not been approved by the FDA as safe and effective for this indication

 approval does not appear to be         likely.7   In fact, A Food and Drug Administration advisory panel

                                                                                                            because        of
 has recommended that the FDA reject Deicath Systems Inc.'s chemotherapy system
                                                                                                                       8


                                                                                        treatment.
 the 122 patients treated in clinical trials died as a result of complications from the

          52.       Irinotecan (Pfizer's brand Camptosar and generic equivalents) has been approved
                                                                                with 5-fluorouracil
 only for intravenous injection/infusion as a first-line therapy in combination

                                                                                             enough that orphan drug rules
   The FDA "designation" simply means that the patient population with HCC is small
                                                                                              right to sell the drug for this
 will control this drug application and Delcath Systems will be granted the exclusive
 indication if it obtains an FDA approval for treatment of HCC through           this  route  of administration. An FDA
                                                 that the FDA    reject approval  of Delcath's   doxonsbicin chemotherapy
 advisory panel of 16 oncologists recommended
              The vote     was     16-0   in  support    of   rejecting   approval      for   the    Delcath system. See
 system.
                                                                                                                (last visited
 http://www.bizjournals.com/albany/morning callI2Ol 3IO5Ifda-advised-to-reject-delcaths-chemo.htrnl
                                                      been  filed in the U.S. District   Court  for  the Southern  District of
 June 3, 2013). A securities fraud class action has
                                    is because Delcath  allegedly  withheld  the  fact  that 7%   of the 122 patients treated
 New York against Delcath. This
 with the Delcath system died as a direct result of treatment. See http://www.securitieslawtlrm.comlseciirities-fraud-
                                                                                           June 3, 2013).
 class-actions/delcath-systems-dcth-securities-fraud-class-action-Iawsuit (last visited

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and leucovorin for patients with metastatic carcinoma of the colon (niCRC) or rectum and

administered as a stand-alone treatment for patients with metastatic carcinoma of the colon
                                                                                            or

rectum whose disease has recurred or progressed following initial fluorouracii-based therapy.
                                                                                              It

has not been approved as a stand-alone treatment for administration through the route of drug-

eluting beads to treat patients with cancer of the liver secondary to mCRC.

         53.      The Device Defendants have violated the FDA's drug marking rules by

promoting doxorubicin and irinotecan to treat HCC and liver metastases from colorectal cancer,

indications for which they are not approved, and by an unapproved route of administration, i.e.

the DEBTACE procedure involving targeted delivery of the drugs to the liver via drug-eluting

beads. Neither drug is approved for treatment of liver cancer and neither drug is approved for

any route of administration other than intravenous injection/infusion.

                                                  Medical Devices

         54.      Likewise, no medical device may be marketed in the United States without prior

approval by the FDA for its intended use. 21 U.S.C.                §   360.

         55.       The Food, Drug and Cosmetics Act ("FDCA") was amended in 1976 to give the

FDA a gatekeeper role in approving the safety and effectiveness of medical devices similar to its

role in regulating prescription drugs. Section 513 of the FDCA (21 U.S.C.          §   360c) requires the

 FDA Secretary to classifi all medical devices into one of three classes designated as Class I

 (General Controls), Class II (Special Controls) and Class ifi Premarket Approval) depending

 upon the level of regulation required to assure their safety and effectiveness.

          56.      Class III devices, which include items such as replacement heart valves and

 pacemakers, require a pre-market application ("PMA") demonstrating the safety and

 effectiveness of the device.            Any post-1976 device (that was not introduced into interstate

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                                                                              is classified
commerce for commercial distribution before enactment of the 1976 amendments)
                                                                                     unless it is
under Class ifi by default and requires a PMA demonstrating safety and effectiveness
                                                                                 it as a Class I or
"substantially equivalent" to a pre-1976 device or the FDA has acted to classify

Class II device. 21 U.S.C. 360c (1) (1).

                  The drug-eluting bead devices at issue in this case, specifically the LC Bead,
                                                                                                 are
        57.

                                                                              I or Class II
Class Ill devices because they have never been classified by the FDA as Class
                                                                              or any device
devices and because they are not substantially similar to any pre-1976 device

classified in Classes I or II.
                                                                                           even
         58.      The only device types classified by the FDA as Class II devices that are
                                                                          neurovascular
remotely similar to BIOCOIVIPATIBLES' drug-eluting beads are vascular and
                                                                                  it is these
embolization devices. In seeking pre-market clearance for its drug-eluting beads,
                                                                    similarity, so the
devices to which BIOCOMPATIBLES has sought to establish substantial
                                                                                 case.
regulations defining those devices are important to the issues presented by this

         59.       The FDA's regulation at 21 CFR                  §   870.3300 (Vascular embolization device)

                                                                                    to control
 states that "[a] vascular embolization device is an intravascular implant intended

 hemorrhaging due to aneurysms, certain types                    of tumors (e.g., nephroma, hepatoma, uterine

 fibroids), and arteriovenous malformations." (emphasis added).                       The regulation classifies

                                                                                        for such
 vascular embolization devices as Class II devices and states that the special controls
                                                                                                 Special Controls
 devices are to be found in the FDA guidance document entitled "Class                       TI



 Guidance Document: Vascular and Neurovascular Embolization Devices.

                    21 CFR § 882.5950 (Neurovascular embolization device) states
                                                                                 that "[a]
          60.

 neurovascular embolization device is an intravascular implant intended to pennanently
                                                                                       occlude


                                                                                      added).
 blood flow to cerebral aneurysms and cerebral ateriovenous malformations." (emphasis

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                                                                             reference to the
This regulation also establishes these devices as Class II devices and makes

Special Controls Document.
                                                                                     to
        61.      The Special Controls Guidance Document assigns the product code KRD
                                                                                       It
vascular emnbolization devices and the code HCG to neurovascular embolization devices.
                                                                                 instructed to
states that manufacturers seeking Si Ok clearances for devices of both types are
                                                                                       summaries.
include a citation to the classification regulation and the product code in their 510k

         62.      When BIOCOMPATIBLES sought clearance for its GeiSpheres/Bead Block
                                                                                      code and
product in 2003 and 2004, it sought approval for those products under the HCG product
                                                                                product) are
Regulation 882.5950, even though GeiSpheres and Bead Block, (which are the same
                                                                            used in
used primarily to embolize uterine fibroid tumors and have very rarely been

neurovascular procedures.

         63.      In 2008, BIOCOMPATIBLES submitted its pre-market notification for Bead

BlockILC Bead (as though Bead Block and LC Bead were one and the same, when
                                                                            in fact they

are entirely distinct) and gave as the reason for its filing that: "[t}his pre-market
                                                                                      notification

 addresses Biocompatibles UK Ltd. intent to market LC Bead with the Vascular (KRD) Code and

 to update its registration and listing with this code."

          64.      In summary, BIOCOMPATIBLES obtained clearance for its bland embolic

 product, Bead Block (aka GelSpheres), as substantially similar to neurovascular embolization

 devices under FDA product code HCG. It obtained clearance for its drug-eluting bead product,
                                                                                        KRD.
 LC Bead, as substantially similar to vascular emnbolization devices under product code
                                                                                 used to
 The LC Bead application was fraudulent because LC Bead is not an embolic device
                                                                               intended
 occlude blood flow and because BIOCOMPATIBLES did not truthfully disclose the

 use of the device as a drug-delivery system.

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        65.       As stated previously, any post-1976 device (that was not introduced into interstate
                                                                                 classified
commerce for commercial distribution before enactment of the 1976 amendments) is
                                                                                     unless it is
under Class III by default and requires a PMA demonstrating safety and effectiveness
                                                                                    as a Class I or
"substantially equivalent" to a pre-1976 device or the FDA has acted to classify it

Class II device. 21 U.S.C. 360c (f) (1).

         66.      Section 513 of the FDCA, 21 U.S.C. 360c (i), defines "substantial equivalence,"

with respect to a device being compared to a predicate device, as meaning "that the device

the same intended use as the predicate device ...... Regulations adopting the same definition

appear at 21 CFR 807.100 (b).

         67.       Intended use is defined in the FDA regulations as "the objective intent of the
                                                                                        further
persons legally responsible for the labeling of devices." 21 CFR 801.4. This regulation

states that:

         The intent is determined by such persons' expressions or may be shown by the
         circumstances suirounding the distribution of the article. This objective intent
         may, for example, be shown by labeling claims, advertising matter, or oral or
         written statements by such persons or their representatives. It may be shown by
         the circumstances that the article is, with the knowledge of such persons or their
         representatives, offered and used for a purpose for which it is neither labeled nor
         advertised. The intended uses of an article may change after it has been
         introduced into interstate commerce by its manufacturer.

          68.      Drug-eluting beads like LC Bead that are specifically designed to be utilized in

 the DEBTACE procedure by loading and eluting doxorubicin or irinotecan are properly
                                                                                       and
 classified as Class ifi devices and are in no way "substantially similar" to vascular
                                                                                          elution
 neurovascular embolization devices. They have an entirely different "intended use," drug
                                                                           raises different
 and delivery through continued blood flow over a period of 14 days, which

 questions of safety and effectiveness from traditional vascular and neurovascular embolization

 devices designed with the sole purpose to occlude blood flow.
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        69.      If the FDA has made a finding of substantial similarity between the LC Bead and

traditional embolization devices, it has done so only because the intended use of
                                                                                  the LC Bead

                                                                        in its 2008 pre-
was misrepresented by BIOCOMPATIBLES. The company's failure to disclose

market notification for LC Bead that the product was intended for use as a chemotherapeutic
                                                                            commenced
dnig-eluting bead constituted fraud upon the FDA. Moreover, BIOCOMPATI1BLES
                                                                                  pre-market
marketing of LC Bead at least two and a half years before it filed its fraudulent
                                                                                   the
notification and therefore had no clearance whatsoever when it commenced marketing

product in 2006.

                                     Combination Drug/Device Products

         70.      When a medical device like BIOCOMPATIBLES' drug-eluting bead is intended
                                                                                             for
to be used in combination with a drug like doxorubicin or irinotecan, the regulatory schemes

both drugs and medical devices are implicated and the product is considered a "combination

product." 21 CFR 3.2(e).

         71.       Combination products are defmed by FDA regulation to include not only
                                                                                   bead,
combinations of drugs and devices that are packaged together (such as the PRECISON
                                                                                    be
which would be packaged with pre4oaded doxorubicin or the PARAGON bead, which would
                                                                                     but
packaged with pre-loaded irinotecan), but also devices that are packaged separately,

 "intended for use only with an approved individually specified           drug.. where both
                                                                                .             are required

 to achieve the intended use, indication, or effect intended," (as is the case with LC
                                                                                       Bead, which

                                                                                       in the
 is intended to be used with doxonibicin or iririotecan to achieve its intended effect

 treatment of liver cancer). 21 CFR 3 .2(e)(3).

          72.       A manufacturer seeking to have a combination product approved by the FDA first
                                                                                            a
 files a "request for designation," requesting that the Office of Combination Products make

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                                                                    product is that of a drug or
determination whether the primary mode of action of the combination
                                                                                        most
a medical device.         Upon determining whether the drug or the device "provides the
                                                                 §3.2, the Office of
important therapeutic action of the combination product," 21 CFR
                                                                      on a drug track by the
Combination Products assigns the product for pre-market review either
                                                                    Center for Devices and
Center for Drug Evaluation and Research or on a device track by the

Radiological Health.

                   BIOCOMPATIBLES has long considered itself a developer of
                                                                            drug-device
         73.

                                                                           product. In 2004, the
combination products, of which the drug-eluting bead has been its flagship
                                                             its drug-eluting bead is a
company approached the FDA and obtained a determination that
                                                                     Center for Devices and
combination product that would be evaluated on a device track by the

Radiological Health.        Tn   2005, the FDA granted a conditional IDE for clinical trials to be known

 as the PRECISION IV trials to assess the safety and efficacy of
                                                                 BIOCOMPATIBLES' drug

 eluting beads.
                                                                              IV
           74.     Nevertheless, BIOCOMPATIBLES never commenced the PRECISION
                                                                          Bead, a drug-eluting
 clinical trials in the United States but instead elected to place its LC
                                                                     clearance or approval
 combination product, on the market in early 2006 with no pre-market

 whatsoever.        After marketing the product for two and a half years with no clearance,
                                                            and obtained marketing
 BIOCOMPATIBLES in late 2008 filed a fraudulent 510k notice
                                                                       from GelSpheres!Bead
 clearance for the product as a bland embolization device no different

  Block.




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C.      UNAUTHORIZED, OFF-LABEL & FALSE MARKETING OF LC BEAD

          BIOCOMPATIBLES 2003-2005 (BEFORE THE LAUNCH OF LC BEAD)
        75.       On February 14, 2003, BIOCOMPATIBLES applied for a patent on a drug-

eluting bead using a PVA bead technology licensed from BioCure. BIOCOMPATIBLES used

its prior expertise with drug-eluting stents to adapt BioCure 's PVA bead technology
                                                                                     for drug

loading and elution by adding negatively-charged sulfonate monomers called "AMPS," which

are capable of ionic bonding with drugs like doxorubicin and irinotecan.

         76.       The patent application explains experiments that BIOCOMPATIBLES conducted

to compare the drug-loading capabilities of low-AMPS beads (like GelSphereslBead Block)
                                                                                        with

high-AMPS beads (like DC Bead and LC Bead). By increasing the amount of AMPS in
                                                                                the

beads, BIOCOMPATIBLES increased their ability to absorb doxorubicin and similar drugs into

the PVA matrix       of the beads.
         77.       The Relator later learned during his RITA product training in 2006 that the

GelSphereslBead Block product is comprised of 90% PVA and l0%AMPS; whereas the DCILC

Bead product is comprised of 55% PVA and 45% AMPS. With its low concentration of AMPS,

GeiSpheres/Bead Block is not suitable for loading and eluting drugs, sells for approximately

$300 per syringe and prior to 2012 was distributed exclusively by the Japanese firm Terumo for

bland einbolization procedures, primarily those involving uterine fibroids.

          78.       BIOCOMPATIBLES named Terumo the exclusive European distributor of Bead

 Block in March, 2003. Terumo was later named the global distributor of the product on October

 23, 2003, a fact of considerable importance to the question whether Bead Block and LC Bead are

 the same product, as BIOCOMPATIBLES later named RITA and ANGIODYNAMICS as the

 U.S. distributors of LC Bead. Tenuno does not sell therapeutic products for cancer, whereas

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                 a    cancer specialty medical              device company before its                acquisition by
RITA was

ANGIODYNAMICS.               If Bead Block and LC Bead are                one and the same product and both are

                                                                        Terumo an
intended for treatment of cancer, BIOCOMPATIBLES would not have granted
                                                                                     because
exclusive world-wide distributorship for Bead Block. RITA was chosen to sell LC Bead

LC Bead is a product specifically designed to load and elute cancer drugs.

                               BIOCOMPATIBLES and RITA (2005-2006)

         79.      Mr. Bliss was hired by RITA in November, 2005, and was involved in the initial
                                                                            RITA
product launch for LC Bead in mid-2006. On May 22, 2006, BIOCOMPATIBLES and
                                                                                        Relator
entered into a Supply and Distribution Agreement for the LC Bead. It was represented to
                                                                              document
at the time that BIOCOMPATIBLES had a 510k clearance for the LC Bead, but the
                                                                                   letter
presented to the RITA sales force as proof of this assertion was the FDA clearance

#K04223 I for GeiSpheres/Bead Block dated November 12, 2004

         80.         This would seem to suggest that BIOCOMPATIBLES and RITA considered Bead

Block and LC Bead to be one and the same product.                           However, this   is.   contradicted by the

                                                                               from
distribution agreement, which contained a clause that precluded BIOCOMPATIBLES

selling competing products or granting third parties the right to sell competing products. It

stated: "For the avoidance of doubt RITA acknowledges and agrees that the Biocompatibles

 'Bead Block' product shall not be considered a competing product for the purposes of this clause

provided the Bead Block product continues to be made of the same material and formulation as

 the Current Bead Block product."

          81.        The Bead Block product distributed in the United States by Terumo was not
                                                                                    and
 considered a competing product with LC Bead because it was formulated with 90% PVA

 10% AMPS and was not designed for drug loading and delivery; whereas LC
                                                                         Bead was

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                                                                              elution,
formulated with 55% PVA and 45% AMPS so it could be used for drug loading and

Bead Block and LC Bead were separate, non-competing products in the marketplace and should

properly be considered separate and distinct products for regulatory and billing purposes.

         82.      At the time when RITA obtained the distribution rights for LC Bead, according to
                                                                               the only
an LC Bead Product Training presentation in the Relator's possession, RITA was
                                                                                         The
publicly traded medical device company "focused solely on broad based cancer therapies."
                                                                                        A
LC Bead growth market opportunity was estimated by this presentation to be $50 Million.

RITA presentation in the Relator's possession dated on or about August 2006 entitled "LC Bead

New Hire Training," which was given to new sales reps at RITA to train them on the LC Bead

product and how to sell it, states on slides #40, #42 and #44 that LC Bead is "A drug-delivery

                                             for chemoe,nJ,olization.... Has drug uptake ability           with
device ..... Specifically designed

doxorubicin (a highly toxic chetnotheraputic agent1L... LC Bead can be loaded with any

anthracydilne family drug.            Ve recommend doxorubicin or          adriamyacin.   .   We recommend that

pharmacy loads the drug."

          83.      Relator was present for all the initial meetings and training sessions for the LC

Bead. It was explained to him in these meetings and training sessions by representatives of

BIOCOMPATIBLES and RITA that LC Bead would be marketed and promoted solely as                                 a


device designed specifically for use in conjunction with chemotherapy drugs as a drug-delivery

device and not as an embolic device designed to occlude blood flow as stated by

BIOCOMPATIBLES in its fraudulent 510(k) filings and by the Defendant Hospitals in their

billings using CPT Code 37204.

          84.       Relator has in his possession a RITA marketing presentation created on or about

 July 8, 2006, to give to prospective customers and/or analysts about RITA Medical Systems and

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                                                                                to treat
their oncology products, which states on slide #35 that LC Bead is "FDA cleared
                                                                                was
arteriovenous malformations and hypervascular tumors." This marketing statement
                                                                               clearance
knowingly false because RITA knew or should have known that LC Bead had no FDA
                                                                               FDA was
or approval whatsoever at this time. The BIOCOMPATIBLES product cleared by the
                                                                                            for
Bead Block, a totally different product distributed by Terumo. LC Bead would not be cleared

another two and a half years, and then only because BIOCOMPAT]BLES made fraudulent

misrepresentations to the FDA about the product's intended use.

         85.      From the inception of the LC Bead product launch, the product was promoted and
                                                                                                to
sold solely as a drug-eluting bead for loading with doxorubicin to treat HCC or with irinotecan

treat liver metastases from colorectal cancer. For example, A RITA presentation in the Relator's

possession dated on or about July 10, 2006, which was presented to customers and/or analysts

about RITA and its oncology products, states on slide #36, that "LC Bead is designed
                                                                                     to


increase the amount of chemotherapy drug delivered to the tumor, designed to increase the

length 0/time the tumor is exposed to the chemotherapy drug, designed to reduce the systemic

exposure to the chemotherapy drug and associated toxic side effects." Although these
                                                                                Bead
 statements are true, BIOCOMPATIBLES and RITA knew or should have known that LC

 was not approved for marketing for any use whatsoever, much less as a drug-eluting bead for use

 in chemotherapy.

         86.       On or about July 11, 2006, RITA issued a press release concerning the LC Bead

 launch in the United States. The product announcement stated "RITA Medical Systems, Inc.
                                                                                      today
 (RITA), a publicly-traded medical device company focused solely on cancer therapies,

 announced the Company has begun sales of the LC Bead in the United States. . .The use of the

 LC Bead for the embolization of hepatocellular carcinoma is reimbursed by Medicare and

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                                                                                  and a
Medicaid. Reimbursement includes approximately $1500 per procedure for physicians

Medicare national average of $6400 facility fees for each in-patient embolization procedure...."

        87.          This was a fraudulent marketing statement designed to cause the submission of
                                                                                     the
false claims to Medicare and Medicaid because the LC Bead has never been cleared for

treatment of HCC, the DEBTACE procedure that RITA was promoting is an experimental

procedure and neither Medicare nor Medicaid had issued a national or local coverage

determination suggesting that they would provide reimbursement for the use of a wholly-

unapproved product in an experimental procedure for the treatment of HCC.

         88.         The press release also states "The LC Bead is cleared for the embolization of

hypervascular tumors and arteriovenous malformations in the United States by the U.S. Food

and Drug Administration (FDA)." This marketing statement was fraudulent because RITA

knew or should have known that LC Bead had no FDA clearance or approval whatsoever at this

time. The BIOCOMPATIBLES product cleared by the FDA was Bead Block, a totally different

product distributed by Terumo.

          89.        RITA's product launch meeting for LC Bead was held at the Hotel Valley Ho in

 Scottsdale, Arizona, in July 2006. The Relator attended this meeting and recalls meeting some

 of the BIOCOMPATIBLES senior management team there, including Tim Maloney, Vice

 President of Sales. The purpose of the meeting was to conduct in-depth LC Bead product training

 so that the sales team would be fully prepared to return to their respective sales territories
                                                                                                with

 the knowledge required to effectively sell LC Bead.

          90.         Training at this meeting included a PowerPoint presentation from Barbara

 Buniham, LC Bead Marketing Director. This presentation instructed the sales force about:

                a.    which drugs are able to load onto LC Bead,

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           b. how the drug is able to load onto and elute from LC Bead,

            c.       step-bystep instructions of how to load drug onto LC Bead in the pharmacy,

            d. the features and benefits           of LC Bead loaded with doxorubicin for treating HCC

                     liver tumors,

            e. proper patient selection for chemoembolization,

            f.       the amount      of profit that the hospital will earn by using LC Bead for

                     chemoembolization,

            g. how to handle objections about LC Bead from customers,

            h. size      of the US chemoembolization market,

               i.    reimbursement codes and fees for chemoeniboiization,

            j. how to sell LC Bead against competitive products,

               k. how to sell LC Bead against conventional Transarterial Cheinoemboization

                     (cTACE),

               1.    how to sell LC Bead to Medical Oncologists, Interventional Radiologists.

                     Pharmacists and Nurses,

               m. how to understand the studies about drug eluting beads so the sales force could

                     present them to customers effectively, and,

               n. how to conduct role plays to practice selling LC Bead for chemoembolization.

         91.          The Relator and the rest of the entire RITA training team received a copy of the

presentation. They also received a Product launch Book comprised of:

                a.    Market Information about Liver Cancer, HCC, Metastatic Disease, Treatment

                      Options,

                 b. Chernoembolization Specifics, Overview, Reimbursement, Procedure,

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               c.   Competitive Environment, Market Share, Competitive Overview, Competitive

                    Product Brochures,

               d. LC Bead Product Specifics, Product Infonnation, Monograph, Presentation,

               e.   Financial Summary,

               f.   Market Field Research Report.

        92.         As can be seen from the Bumhani presentation, RITA was already touting the LC

Bead product as a chemotherapy delivery agent. "The drug eluting bead used in the high-dose,

current phase of PRECISION is designed to deliver 150 mgs of doxorubicin during each

treatment." The marketing presentation was attended by BIOCOMPATIBLES                                     and its

information is imputable to that defendant.

        93.          In the marketing presentation there is a detailed description of Medicare

reimbursement for chemoetubolization, which states in part that for 2006, the DRG code had an

average hospital payment rate of $6,400.61.

        94.         The training session included a session entitled: "OK So what is it???(Iu a

nutshell). *A drug-delivery device (Drug-eluthig bead or DEB). . . specifically designed for

Chemoembolization... .Has drug uptake                       abfflty with doxorubicin          (a highly toxic

chernotherapentic agent)... Uptake and release through ion exchange.. .LC Bead is

negatively charged.. .Dox is positively chargeL.."

         95.         The    BIOCOMPATIBLES/RITA                         strategy   to   penetrate   the      U.S.

chernoembolization market is most clearly stated in a document entitled "LC Bead sales

execution targeting strategies." That document states: "Positioning: Aggressively penetrate

chemoembolization market with the LC Bead by leveraging our existing relationships and broad

product offering emphasizing RITA's continuum of care, commitment to customer service and

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the premium product attributes of the LC Bead embolic. It is all about smart execution...
                                                                                        and
initially go after high-volume facilities that currently use the Habib device, RITA RFA
                                                                                .target
TACE and introduce the continuum of care for quick conversion of the LC Bead. .

teaching facilities and educate department heads on the clinical value of RITA's continuum of

care. Push the value of a bundles program with one company representative... .Finally target
                                                                                             high

volume BSX RFA and Contour SE users for TACE, introduce Habib and try to convert the RFA

ad Bead business."

         96.      The sales reps were taught to be prepared to answer physician questions about

how to know which drug is most effective with the beads. "Reason: Doxombicin and/or

Andrianiyacin are very cytotoxic; therefore the other drugs minimize the cytotoxic systemic

effects of the therapy." This training is exactly what was used by the sales reps including the

Relator, when they went out to speak to physicians. The off-label promotion was open, unbridled

and not in the least inhibited by the limited FDA 510k clearance for GeiSpheres/Bead Block and

lack of any clearance for LC Bead.

         97.       The training also offered citations for studies and recommended answers to

 various questions that might be asked by the doctors all about the delivery of chemotherapy. On

 the last page the reps are asked "So.. Are you ready to hit the field with this incredible

 product? Launch is NOW.. .You have continuous support between the RITA and

 Biocompatible team! Best of all you are now going to make a tremendous amount of

 money!!"

          98.       The Relator and other sales staff members were instructed to learn and memorize

 all of the information presented to them at the July 2006 meeting. Relator studied all of the

 material including the Launch Packet to understand all of the information in the studies that were

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presented to him. When he returned to his sales territory (New England) he was able to promote

LC Bead for drug eluting chemoembolization very effectively. Due to this promotion, by the

end of 2006 the Relator successfully sold $141,445 in LC Bead to:

                a.   Brigham and Women's Hospital; $35,000

                b. Hartford Hospital; $28,710

                c.   Maine Medical Center; $9,570

                d.   Massachusetts General Hospital; $17,000

                e.   Mercy Hospital in Maine; $9,570

                f.   Morton Hospital; $3,885

                g. Rhode Island Hospital; $7,770

                h. Roger Williams Medical Center; $10,800

                i.   Saints Memorial Hospital; $9,570

                j. St. Vincent Hospital; $3,190

                k. West Roxbuiy VA Medical Center; $6,380

          99.        The sales pitch that Relator provided to physicians and hospitals at the instruction

of BIOCOMPATIBLES and RITA, which allowed him to successfully sell LC Bead to the

 aforementioned hospitals, included presenting LC Bead to interventional radiologists as (1) a

 drug-eluting bead that had been approved for embolization in the United States and for drug-

 loading in Europe, when it now appears that both of these statements were known by

 BIOCOMPATIBLES and RITA to be false; (2) that LC Bead allows for less systemic exposure

 of the drug than cTACE, therefore, patients will experience fewer side effects and more drug

 exposure to the tumor, which will result in better tumor response rates; (3) that LC Bead loads

 drug through an ionic exchange mechanism, with LC Bead having a negative ionic charge due to

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the high percentage (45°o) of AMPS in the bead and is able to bind to certain positively charged

chemotherapeutic agents, such as doxorubicin, because the positively charged doxorubicin

molecule is attracted to the negatively charged AMP molecule and binds to the bead; and (4) that

when LC Bead is injected into the tumor the blood molecules slowly push the drug out of the

bead and into the tumor.

         100.      One example of this was Maine Medical Center. The Interventional Radiology

department at Maine Medical Center asked Relator to come to a meeting of the entire

Interventionai Radiology department, which included doctors, nurses and techs, to present LC

Bead to the group. Bliss spoke before the group and described how LC Bead is able to load and

elute doxorubicin through an ionic exchange mechanism and that this would enable their patients

to have less systemic exposure to the drug, therefore fewer complications, and a greater drug

concentration in the tumor, which should lead to a better tumor response rate.                        After his

presentation the Interventional Radiology department at Maine Medical Center began purchasing

and using LC Bead for their HCC patients. Paul Shea, Vice President of Sales at

ANGIODYNAMICS, was with Relator at this presentation in the fall of
                                                                    2006.8



          101.     The Relator and other RITA sales reps would actually train the hospital

pharmacists on how to load the LC Bead with chemotherapy drugs. They told the phannacist that

LC Bead is the exact same product as DC Bead, and the Relator would then give the pharmacist

the DC Bead drug loading instruction sheet from the BIOCOMPATIBLES website, so that the

 pharmacist could follow the step-by-step instructions for loading LC Bead with doxorubicin.

 One example of this was when the Relator trained Jennifer Ferolito, the Cancer Phannacist at

                                                                                                                for
   Although RITA held the distributorship for LC Bead at this time, Shea was doing due diligence
                       potential  acquisition of RITA and requested that he be allowed to accompany the Relator on
 ANGIODYNAMICS'
 some of his customer visits to observe how the Relator sold RITA products.

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Rhode Island Hospital, on how to properly load doxorubicin onto LC Bead in the pharmacy. Ms.

Ferolito was very receptive to this information and appreciated that he was able to instruct her in

how to do this.

         102.      On or about December 8, 2006, BIOCOIvI1PATIBLES created a document entitled

"LC Bead IFU" (Instructions for Use), that was given to the RITA sales force so that they could

share it with customers when asked for instructions for using LC Bead. That document, a copy

of which is in the Relator's possession, states that "LC Bead microspheres are intended to be

used for the emboilsation of hypervascular tumors and arteriovenous malformations (A VMs,"

but this marketing statement was clearly untrue as the document itself provides instructions for

drug loading,     an entirely different "intended use."

          103.     The Relator also requested a customer and friend, Dr. Christopher Binkert of

Brigham & Women's Hospital, to speak to other physicians in his territory about the success that

he was having when using LC Bead loaded with drug. Dr. Binkert was an Interventional

Radiologist at Brigham and Women's Hospital in Boston who developed considerable

experience with LC Bead loaded with drug and was willing to speak with other physicians about

his positive experience with LC Bead. For example, Relator had a meeting with Dr. Greg

Soares, who is an Interventional Radiologist at Rhode Island Hospital. Dr. Soares was receptive

to the sales messaging that the Relator presented to him about LC Bead, but he wanted to speak

with someone who had experience using LC Bead. The Relator called Dr. Binkert on his cell

phone and he spoke with Dr. Soares about his experience with LC Bead. Following this phone

conversation Dr. Soares decided that he wanted to try LC Bead and purchased the product for an

upcoming case.



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         104.        The Relator presented studies and abstracts about LC Bead to physicians and

hospital employees. The Relator recalls that study and abstract presentation was a very powerful

way to get interventional radiologists to start using LC Bead. The studies and abstracts that he

was trained to present to physicians included:

             a.      DC Bead: In Vitro Characterization of a Drug-delivery device for

                     Transarterial      Chemoembolizatiou.9               The Relator used this study to tell

                     physicians and pharmacists how LC Bead is able to load and elute doxorubicin in

                     a controlled manner and how much drug can be loaded and how long it takes.

              b.     New Intra-arterial Drug Delivery System for the Treatment of Liver Cancer:

                     Predinical Assessment in a Rabbit Model of Liver Cancer. The Relator used

                     this paper to show how LC Bead loaded with doxombicin has low systemic

                     exposure of the drug and a high tumor concentration of the drug, which should

                     result in less toxicity and complications and a better tumor response.

                c.    Chernoembolization of Hepatocellular Carcinoma with drug eluting beads

                     reduces the systemic availability of doxorubicin. A pharmacokinetic

                     assessment. The Relator used this poster to tell physicians that LC Bead will

                     allow for a reduction of drug related toxicity for their patients.

                       BIOCOMPATIBLES and ANGIODYNAMICS (2007-2011)

          105.       AINGIODYNAMICS purchased RITA Medical Systems on January 29, 2007, and

 took over RITA's exclusive distribution agreement for LC Bead, retaining most of the sales stafL

 including Relator.        Mr. Bliss worked for ANGIODYNAMICS from January 2007 until July

  This study, conducted at the School of Pharmacy and Biomolecular and Science University of Brighton Essex,
 United Kingdom in 2005. Several of the authors are identified as being employed by Biocompatibles. This was not
 an animal or human study.

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2008. Relator was the Global Product Manager, RFA Devices in the Oncology Division for



         106.     During Relator's time at ANGIODYNAIVIECS, the LC Bead continued to be sold

in the same fashion as it was in 2006 under RITA and Relator believes these practices continued

until ANGIODYNAMICS lost its distributorship for LC Bead on December 31, 2011. Although

Relator was not directly involved with the sales of LC Bead, he has direct knowledge through

observation that none were sold for use without chemotherapy agents; all were sold and used as

drug eluting beads. In addition to written marketing materials that demonstrate this focus,

Relator observed company sales reps and management directly market, promote and sell the

product for use with chemotherapeutic drugs to physicians and hospitals.

          107.     In addition to the practices described above, ANGIODYNAMICS would also pay

physicians who were involved in its Oncology Referral Program. The amounts were between

$1,000 and $2,000 and the purpose was to promote use of the LC Bead as a drug eluting device

to treat HCC and metastatic colorectal cancer.                       The stated goal was to engage physician

customers who had a lot of experience using the LC Bead to present on the benefits of the

product in order to increase sales.

          108.     One example of this was a speaker event that took place on May 6, 2008, in which

Dr. David Riggaus gave an ANGIODYNAMICS sponsored dinner lecture about LC Bead and

RFA to the Interventional Radiologists from the Medical Center of Georgia. Dr. Riggans was

paid $1,500 to give this lecture by ANGIODYNAMICS on behalf of BIOCOMPATIBLES. The

 Oncology Referral Program (ORP) speaker board members consisted of physicians whose names

 were submitted by the sales team as Key Opinion Leaders that perform a lot of procedures using



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ANGIODYNAMICS products and would be persuasive at convincing other physicians to use

ANGIODYNAMICS products.

         109.      On or about January 18, 2008, BIOCOMPATIBLES created a presentation

entitled "Precision TACE" to give to the ANGIODYNAIMICS sales force to train them on LC

Bead. This document in the Relator's possession states on slide #3 that "LC Bead is indicated

for the enthoilsation       of A   'Ms and hypervascularized tumors." This marketing statement was

fraudulent because BIOCOMPATIBLES knew or should have known that LC Bead had no FDA

clearance or approval whatsoever at this time. The BIOCOMPATIBLES product cleared by the

FDA was Bead Block, a totally different product distributed by Terumo.

          110.     On or about June 4, 2008, ANGIODYNAMICS created a presentation entitled

"LC Beads Physician Presentation" which was used by ANGIODYNAMICS' physician

customers to make presentations to referring physicians about LC Bead to increase their patient

referrals for LC Bead cases. On slide #21 of this presentation it is stated that "LC Bead was

designed as a drug-eluting bead that combines pharmaceutical and medical device technology

to produce a device which has The potential to be more effective than either technology on its

own. " This clearly indicates that BIOCOMPATIBLES designed LC Bead as a combination

product intended for drug loading. On slide #23 of this presentation it is stated that "LC Bead is

 cleared by the FDA for the embolization                   of   hypervascularized twnors and arterial venous

 malformations           (A VMs)."         This       marketing            statement   was    fraudulent   because

 ANGIODYNAMICS knew or should have known that LC Bead had no FDA clearance or

 approval whatsoever at this time.




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                                 BIOCOMPATIBLES and BTG (2011 to Present)


        111.      BTG acquired BIOCOMPATTBLES on January 11, 2011, largely because of the

strength of its sales of drug-eluting beads in the United States and Europe. Relator was hired by
                                                                             31st
BTG/BIOCOMPATIBLES in September of that year in anticipation of the December

expiration of ANGIODYNAIvIICS's exclusive U.S. distribution agreement for LC Bead.

         112.     Although BTG has been more cautious than BIOCOMPATIBLES, RITA and

ANGIODYNAIvIICS previously were about the use of written materials that blatantly promote

BIOCOMPATIBLES' drug-eluting beads off-label for their intended use as a drug delivery

device, BTG's efforts at compliance can only go so far because its predecessors were very

successful in establishing chemotherapeutic drug elution as the sole market for the LC Bead in

the United States.

         113.      BTG/BIOCOMPATIBLES' written training materials for sales representatives are

called the Articulate 6 of the Biocoinpatibles Bead BlockfLC Bead Learning System. On page

one, the document states "...Drug loading is not an indication in the United States..." However,

on page 17 it states: "LC Bead and DC Bead are identical products that have different

indications. . . .however in the United States, LC Bead and LC Bead Ml are indicated only for the

embolization of hypervascular tumors and AVM's. Physicians will ask you questions about

loading beads with chemotherapeutic agents and Articulate                  8   will prepare you to answer them.

Because DC Bead is approved for drug loading outside the United States, this section will refer

to DC Bead. This section will introduce you to loading DC Bead with chemotherapeutic

agents..."

          114.      On page 60 the document discusses LC Bead product characteristics for MSL

(Medical Science Liaison) but concedes that the data is from clinical practice and scientific
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research using DC Beads in Europe. As such, the company sales force is trained to understand
                                                                                  on its
and convey how the LC Bead is used for transporting chemotherapeutic agents based

testing and use in Europe.

         115.     BIOCOMPATIBLES' Promotional Review Committee (PRC"), which approves

all marketing materials, has become more cautious since the BTG acquisition in
                                                                               January, 2011,

                                                                                        a dnig
and will not allow use of titles to articles describing off-label use of the LC Bead as

delivery device, even though the members of the comniittee are completely aware
                                                                                that the

product is being marketed solely as a chemotherapy eluting bead. Any marketing project
                                                                                            must
(including brochures, advertisements, case studies, materials and exhibits for conferences)
                                                                      Committee
be reviewed and approved by the BTG/BIOCOMPATIBLES Promotional Review

(PRC).

         116.      The PRC is made up of approximately eleven individuals who work for BTG or
                                                                                    use of
BIOCOMPATIBLES and each person must separately give his/her written approval to the
                                                                                     V.P.
 all marketing materials. The individuals on the Committee include: 1) James Glasgow
                                                                                    Affairs,
 Field Medical and BTG Medical Director; 2) Alistair Taylor, Director of Regulatory

 Biocompatibles; 3) Gabriel Holdsman, Vice President and General Counsel U.S.. BTG;
                                                                                    4)


 Guenter Janhofer, Chief Medical Officer and Head of Development, BTG; and 5) Jeff Klimaski,

 VP of Compliance.

          117.     The PRC adopts the position that as long as marketing and promotional materials
                                                                                                in
 do not contain information about the fact that the LC Beads, with annual sales of $30+ million

 the U. S., are used solely to deliver chemotherapy drugs as a drug eluting bead, then the company

 is compliant with FDA marketing regulations.



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         118.        BTG/BIOCOMPATIBLES has also set up a Medical Science Liaison ("MSL")

team for the ostensible purpose of preventing off-label promotion when the reality is that the

liaisons help to sell the product for the off-label use. The Relator knows that some members of

the medical staff feel they are directly helping to "sell" the LC Bead for its intended use as a

drug-delivety device. For example, Jennifer Rychcik met with Dr. Jeffrey Pollack from Yale

New Haven Hospital in 2012 and exclaimed in Relator's presence "1 sold LC Bead Ml to Dr.

PoIlack!" Sam Haddad, New England sales representative for BIOCOMPATIBLES, has also

witnessed Jennifer Rychcik making this statement multiple times.

         119.        The company has ostensibly set up this MSL team to seek to handle the issue of

off label promotion of the LC Beads. There were initially ten members on the team, but two quit

(Claire Jennings of Jamaica Plain, Massachusetts and Beth Ramer from near Philadelphia,

Pennsylvania). The MSL team purports to be entirely separate from the sales team so that

medical information can be conveyed to physicians asking for specific data on LC Beads and

their use with chemotherapy drags by a non-sales person. However, this is really a sham as the

product is marketed, sold and promoted off label to the physicians by the sales force and the

MSL team has in reality become an ann of the sales team.

          120.       The Relator has also observed the company's high level officials speak openly to

physicians and others at various events as noted:

                a.   John Sylvester            Chief Commercial Officer at BTGIBIOCOMPATIBLES.

                     Clinical Interventional Oncology (ClO) Medical Society Conference in Miami FL

                     January 18-19, 2013.               Only the Medical Affairs team is permitted at

                     BIOCOMPATIBLES to answer off-label questions by physicians about its

                     products. At ClO Sylvester spent approximately one hour speaking with various

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                  U.S. physicians about off-label infonnation about LC Bead (drug loading,

                  studies).     The Relator witnessed this as well as Lindsey Raymond, the Trade

                  Show Events Coordinator.

             b. Lance          Funderburk           -      Regional        Sales    Manager,     Southeast,    at

                  BTG/BIOCOMPATIBLES.                      Clinical Interventional Oncology (ClO) Medical

                  Society Conference in Miami Florida January 18-19, 2013. Funderburk said to

                  the Relator: "when a physician brings up off-label topics I just go off label." The

                  Relator knew that nieaut the discussions all related to use of the product with

                  chemotherapy as a drug eluting bead.

         121.     The sales incentive plan also causes reps to push the product off-label. Sales reps

must earn 100% of last year's earnings plus 10-15% in order to enjoy the incentives. Since the

entire market in the United States for LC Bead is for drug elution, the representatives cannot

meet their prior year's sales, much less increase them by 10-15%, without promoting the device

for off-label use.

D.       THE FALSE CLAIMS ACT

         122.      The False Claims Act provides that any person who presents, or causes to be

presented, false or fraudulent claims for payment or approval to the United States Government,

or Iaowing1y makes, uses, or causes to be made or used false records and statements to induce

the Government to pay or approve false and fraudulent claims, is liable for a civil penalty

ranging from $5,500 to $11,000 for each such claim, plus three times the amount of the damages

sustained by the Federal Government. 31 U.S.C.                      §   3729 (a); Federal Civil Monetary Penalties

Inflation Adjustment Act of 1990, Pub. L. 101-410; 64 FR 47099, 47104 (Aug. 30, 1999).



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         123.        The Act allows any person having infonnation about false or fraudulent claims to

bring an action for himself and the Government and to share any recovery. 31 U.S.C.                   §   3730(b).

The Act requires that the complaint be filed under seal for a minimum of sixty days without

service on the defendant during that time. Id. The states listed in the caption have state-law

counterparts to the False Claims Act with similar provisions.

         124.        Based on these provisions,         qui tarn    Relator Bliss seeks through this action to

recover damages and civil penalties arising from Defendants' knowing fraud on the federal and

governments.

E.       LC BEAD IS NOT REIMBURSABLE & CLAIMS FOR ITS USE ARE FALSE OR
         FRAUDULENT CLAIMS

                                       Reasonable & Necessary Standard

          125.       Medicare is not pennitted to pay for any expense that is not "reasonable and

necessary for the diagnosis and treatment of illness or injury." 42 U.S.C.              §   1395(a)(l)(a).

Similarly, state Medicaid plans generally restrict coverage to reasonable and necessary medical

expenses. Also, TRICARE, the military managed care program, excludes coverage for "services

and supplies that are not medically or psychologically necessary ...... TRICARE Policy

Manual, Section 1.2. CHAMPVA is believed to have a similar restriction.

          126.       Agency interpretations of the "reasonable and necessary" standard generally

exclude coverage for drugs and devices that have no FDA approval whatsoever as they cannot be

legally marketed or used for any puipose (making their use to treat patients unreasonable), and

limit reimbursement for approved drugs and cleared or approved devices to their FDA-approved

indications and any off.label uses that are medically proven as safe and effective. Mem. From

Thomas A. Ault to All Regional Administrators, re: Medicare Coverage oflnvestigational

Devices, p.      1   (Dec. 28, 1994) ("Medicare has historically interpreted the statutory terms
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"reasonable aid necessary" to mean that a service must be safe and effective, and not

experimental.")

        127.      Because LC Bead had no approval whatsoever between April 17, 2006, (when

Biocompatibles launched LC Bead) and December 24, 2008, (when Biocompatibles fraudulently

obtained a 510k clearance for LC Bead from the FDA), use of LC Bead during this period by

healthcare providers at the urging of the Device Defendants was not "reasonable" and was not

subject to coverage and reimbursement by government healthc are programs. Accordingly, all

claims for such reimbursement that the Device Defendants knowingly caused healthcare

providers to submit were false or fraudulent claims within the meaning of the False Claims Act

and its state law counterparts.

         128.     Also, since the clearance of LC Bead on December 24, 2008, was obtained

fraudulently, use of LC Bead after that date has not been "reasonable" and government

healthcare programs would not have provided coverage and reimbursed for that use had they

known of the fraudulent misrepresentations and failures to disclose material facts that led to the

FDA clearance. Accordingly, all claims for such reimbursement were false or fraudulent claims

which the Device Defendants knowingly caused to be submitted, whether the healthcare

providers submitting the claims knew of Biocompatibles' fraud or not.

         129.     Moreover, even if LC Bead had not been fraudulently cleared for marketing, use

of doxorubicin and irinotecan with LC Bead to treat liver cancer in the DEBTACE procedure is

an off-label use of both the drugs and the devices that has not been demonstrated to be safe and

effective and for which government healthcare programs have not made an affirmative coverage

determination or individual coverage decisions of "reasonableness and necessity" following

disclosure of the experimental DEBTACE procedure in which the drugs and devices have been

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used. Accordingly, off-label use of the drugs and devices by healthcare providers is not subject

to reimbursement by government healthcare programs and all claims for such reimbursement

were false or fraudulent claims which the Device Defendants knowingly caused healthcare

providers to submit.

                                               Drugs Used Off-Label

         130.      In addition to the "reasonable and necessary" restriction, Medicare and Medicaid

reimbursement for drugs is statutorily limited to "covered outpatient drugs." 42 U.S.C.                 §


1396b(I)(1Q), 1396r-8(k)(2), (3). Covered outpatient drugs are drugs that are used for "a

medically accepted indication." Id.,            §   1396r-8k(3). A medically accepted indication may

either be a use which is listed in labeling approved by the FDA, or which is supported by one of

the drug compendia identified in the Medicaid statute. Id.,                § 13 96r-8(k)(6).   TRICARE limits

reimbursement for drugs to "those drugs.. . treatments, or procedures for which the safety and

efficacy have been proven to be comparable or superior to conventional therapies." TRICARE

Policy Manual, Section 2.1. A drug, treatment or procedure is considered unproven "unless

reliable evidence shows that any medical treatment or procedure has been the subject of well-

controlled studies of clinically meaningful endpoints, which have determined its maximum

tolerated dose, its toxicity, its safety, and its efficacy as compared with standard means of

treatment or diagnosis." Id. CHAMP VA is believed to have similar coverage restrictions.

          131.     Use of doxorubicin and irinotecan for treatment of liver cancer by means of drug-

 eluting beads is neither listed in the drugs' FDA approved labeling, supported by listings in the

 medical compendia, nor "proven" by well-controlled studies. Therefore, these drugs are not

 reimbursable by government healthcare programs when used in the DEB TACE procedure.



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Accordingly, all claims for such reimbursement that Device Defendants knowingly caused

healthcare providers to submit were false or fraudulent claims.

                                              Devices Used Off-Label

         132.      Medicare permits its administrative contractors to use "contractor discretion" to

provide reimbursement for off-label uses of approved or cleared medical devices after making a

determination that the off-label use is safe and effective. Mem. From Thomas A. Ault to All

Regional Administrators, re: Medicare Coverage ofInvestigational Devices, p. 6 (Dec. 28,

1994) (hereinafter "Ault Memorandum") ("An approved or cleared device may be covered by

Medicare for a labeled indication and, based on contractor discretion, for an unlabeled use as

long as this does not conflict with FDA requirements. For example, an approved cardiac

catheter, whose label only includes a diagnostic indication, may be covered by a contractor for

an unlabeled therapeutic indication, based on the contractor's determination that the unlabeled

use is safe and effective."); US. ex rel. Colquitt v. Abbott Laboratories, 864 F. Supp. 2d 499,

531   (ND. Tex. 2012), reconsideration denied (Aug. 24, 2012) (Citing Ault Memorandum).

          133.     "[A}bsent an affirmative detennination of safety and effectiveness by a

contractor, off-label use of a cleared or approved device is not covered by Medicare." Colquitt,

Id, at p. 533. Because the billing codes promoted to healthcare providers by the Device

Defendants and actually used by the healthcare providers to bill government healthcare programs

were false and misleading, government contractors have never known that LC Bead is used off-

label in the DEBTACE procedure and therefore they have made no affirmative determination of

 its safety and effectiveness for this off-label use.

           134.     Medicare payment is not made for medical and hospital services that are related to

 the use of a device that is not covered. 42 C.F.R.               §   405.207. These excluded services include all

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services ftirnished in preparation for the use of a non-covered device, services ftirnished

contemporaneously with and necessary to the use of the non-covered device, and services

ftrnished as necessary after-care that are incident to recovery from the implantation of the

device. Id.

         135.      Similarly, TRICARE restricts reimbursement to "devices, treatments, or

procedures for which the safety and efficacy have been proven             ......       TRICARE Policy Manual,

Section 2.1. "A.       . .   device, medical treatment, or procedure is unproven.            . .   "[ijf the reliable

evidence shows that the consensus among experts regarding the medical treatment or procedure

is that further studies or clinical trials are necessary to determine its.         .   .   safety, or its

effectiveness as compared with the standard means of treatment or diagnosis." Id. "This

exclusion includes all services directly related to the unproven.          .. device, medical treatment or

procedure." Id.

          136.     The TRICARE Policy Manual further states that "[a]pproval for reimbursement of

off-label uses of devices shall be provided by the contractor. The contractor may provide

approval for the reimbursement of off-label uses when the off-label use is medically necessary

and demonstrations from medical literature, national organizations, or technology assessment

bodies show that the off-label use of the device is safe, effective and in accordance with

nationally accepted standards of practice in the medical community. If the device is FDA

approved and the off-label use is medically necessary, supported by medical literature identified

by the contractor, which indicates the device is nationally accepted as standard practice, and is

not otherwise excluded, the contractor may approve the cost-sharing for the off-label medical

 device." TRICARE Policy Manual Chap. 8 § 5.1, 2.3.2. CHAMPVA is believed to have similar

 coverage restrictions.

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        137.      Because the safety and efficacy of the off-label use of LC Bead in the DEBTACE

procedure have not been demonstrated, and because no national, local or individual coverage
                                                                                 accurate
determinations have been made by any government healthcare system (based upon an

disclosure of the use being made of the LC Bead), off-label use of LC Bead in the DEBTACE

procedure is not covered or subject to reimbursement under government healthcare programs.

Accordingly, all claims for such reimbursement that Device Defendants knowingly caused

healthcare providers to submit were false or fraudulent claims.

                              Devices Used Without FDA Clearance or Approval

         138.     Absent exceptions not relevant to this case, federal regulations prohibit Medicare

coverage for experimental or investigational devices. 42                   C.F.R. § 411.14(o); Golquitt, supra. at



p. 531. A device is experimental or investigational
                                                                       if it has not been approved by the FDA

through the premarket approval process or the 510(k) clearance process. Id.

         139.      As stated in the Ault Memorandum, quoting Medicare manuals extant prior to

 1995, "Medical devices which have not been approved for marketing by the Food and
                                                                                   Drug

                                                                                        and
 Administration (FDA) are considered investigational by Medicare and are not reasonable

 necessary for the diagnosis or treatment of illness or injuiy, or to improve the functioning of
                                                                                                 a


 malformed body member. Program payment, therefore, may not be made for medical procedures

 or services using devices which have not been approved for marketing by the FDA." Ault

 Memorandum, p.          1.    As further stated in the Ault Memorandum. "[t]his longstanding policy,

 which is binding on our contractors, explicitly excludes from coverage devices, and services
                                                                                          to any
 using devices, that have not been approved for marketing by the FDA. This policy applies




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device that is srbject to FDA review. The Medicare manuals do not allow any exceptions to this

policy."   IcL1°


         140.      Similarly, TRICARE provides coverage only for "devices, treatments, or

procedures for which the safety and efficacy have been proven," TRICARE Policy Manual,

Chap. 1, §2.1, 1.0, and a device, medical treatment or procedure is considered unproven "[i}f the

     device cannot be lawfully marketed without the approval or clearance of the U.S. Food and

Drug Administration (FDA) and approval or clearance for marketing has not been given at the

time the drug or device is furnished to the patient." Id, at 2.1. Furthermore, the TRICARE

Policy Manual states explicitly that "{m]edical devices must be FDA approved or of a type not

requiring pre-market approval by the FDA." Id, at Chap. 8, §5.1, 2.2. CHAMPVA is believed to

have similar restrictions on coverage.

           141.    Because LC Bead had no approval whatsoever between April 17, 2006, (when

Biocompatibles launched LC Bead) and December 24, 2008, (when Biocompatibles fraudulently

obtained a 510k clearance for LC Bead from the FDA), use of LC Bead during this period by

healthcare providers at the urging of the Device Defendants was not subject to coverage and

reimbursement by government healthcare programs.                           Accordingly, all claims for such




   Prior to 1995, this policy applied not only to wholly uncleared and unapproved devices, but also to devices that
 had been granted an investigational device exemption ("IDE") by the FDA for use in clinical trials to establish their
 safety and effIcacy. As applied to iDE devices between 1986 and 1995, this policy was held to be arbitrary and
 capricious in Yale-New Haven Hospital v. Leavitt, 470 F.3d 71 (2d Cir. 2006). In 1995, Medicare adopted
 regulations providing an IDE exemption to its policy excluding coverage for experimental or investigational devices,
 see Criteria and Procedures for Extending Coverage to Certain Devices and Related Services, 60 FR 48417-01, so
 the Leavitt decision is of limited applicability to the IDE devices dining the period 1986-1995.

 The IDE exemption is inapplicable in this case because Biocompatibles did not obtain an IDE for use of LC Bead in
 clinical trials, but rather marketed it for general use from 2006 until late 2008 with no FDA clearance, approval or
 IDE exemption whatsoever and from late 2008 until the present with an FDA clearance that was fraudulently
 obtained.

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reimbursement that the Device Defendants knowingly caused healthcare providers to submit

were false or fraudulent claims within the meaning of the False Claims Act.

         142.     Also, since the clearance of LC Bead on December 24, 2008, was obtained

fraudulently, government healthcare programs would not have provided reimbursement for nse

of the device had they known of the fraudulent misrepresentations and failures to disclose

material facts that led to the FDA clearance. Accordingly, all claims for such reimbursement

were false or fraudulent claims which the Device Defendants knowingly caused to be submitted,

whether the heaithcare providers submitting the claims knew of Biocompatibles' fraud or not.

F.       THE DEVICE DEFENDANTS MISLED HEALTHCARE PROVIDERS AND
         KNOWINGLY CAUSED THEM TO SUBMIT FALSE CLAIMS

         143.     From the inception of LC Dead's product launch in the United States in 2006, the

Device Defendants have emphasized that LC Bead and DC Bead are the same product and have

falsely suggested that Biocompatibles' drug-eluting beads should be considered safe and

effective because they received the approval of European regulators, when in truth and in fact,

DC Bead received nothing more than a certificate of confonnity (CE mark) issued by a private

testing firm and the only Biocompatibles product actually evaluated for safety and effectiveness

by regulators in the European Union, the PRECISION Bead pre-loaded with doxonibicin, was

denied approval. Therefore, the entire gist of the Device Defendants' U.S. marketing campaign

for LC Bead was false and misleading.

         144.     Moreover, from April 17, 2006, (when Biocompatibies launched LC Bead) until

December 24, 2008, (when Biocompatibles fraudulently obtained a 510k clearance for LC Bead

from the FDA), Bioconipatibles and RITA falsely represented to healthcare providers that LC

Bead had a 510k clearance from the FDA, when in truth and in fact the product cleared by the

FDA was Bead Block, a bland embolization device that was not capable of loading and eluting
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drugs and was both designed and marketed for an entirely different use in treating uterine fibroid

tumors without chemotherapy.

         145.     By falsely promoting LC Bead as a safe and effective device cleared by the FDA

for general marketing and approved by European regulators for use in the DEBTACE procedure,

the Device Defendants knowingly caused healthcare providers to purchase more LC Bead,

doxorubicin and irinotecan than they otherwise would have purchased; to perform more off-label

DEBTACE procedures than they otherwise would have performed; and to bill government

healthcare programs for vastly more off-label and non-reimbursable uses of LC Bead and the

drugs than they otherwise would have billed.

          146.     Had healthcare providers known (1) that LC Bead was wholly un-cleared and

unapproved in the United States until December 24, 2008, (2) that the FDA clearance in 2008

was obtained by fraud and (3) that the European Union denied approval for the exact same bead

product preloaded with doxonibicin in 2008 because it was not found to be sufficiently safe and

effective, then those healthcare providers would not have submitted false claims to government

healthcare programs for non-reimbursable DEBTACE procedures utilizing a wholly unapproved

or fraudulently cleared device the safety and efficacy of which has not been demonstrated.

          147.     Furthermore, the Device Defendants provided reimbursement advice to healthcare

providers suggesting that they bill federal and state healthcare programs for treatment of patients

using LC Bead, doxorubicin and irinotecan in the DEBTACE procedure under CPT codes and

HCPCS "J" codes falsely suggesting that the treatment                     provided   was the TAE or cTACE

procedure and providing no notice whatsoever that the billed procedure was actually a new and

 experimental procedure requiring a coverage determination.



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         148.     For physician services billed to Medicare Part B, Medicaid, TRICARE and

CHAMPVA, CPT procedure codes and HCPCS "J" codes for injectable drugs are listed by the

physician in Section 24 of the CMS 1500 billing form. For hospital services billed to Medicare

Part A, Medicaid, TRICARE and CHAMPVA, the CPT procedure codes are listed by the

hospital in Section 74 and the HCPCS "J" codes for injectable drugs are listed in Section 24 of

the CMS 1450 billing form.

         149.      The CPT procedure code that has been promoted by the Device Defendants is

CPT Code 37204, which is described as "[t]ranscatheter occlusion or embolization (eg, tumor

destruction, achieve hemostasis, occlude a vascular malformation), percutaneous, any method,

non-central nervous system, non-head/neck." As noted above in Section A of this Complaint, this

CPT code describes the traditional TAE procedure and arguably the cTACE procedure, both of

which utilize bland einbolic beads like Bead Block to occlude blood flow to a tumor. This CPT

code does not describe the DEBTACE procedure using a dnig-eluting bead like LC Bead

because the endpoint for the DEBTACE procedure is continued blood flow to the tumor in order

that drug eluted from the beads will be carried into the tumor over a period of 14 days and so that

the beads themselves will not be refluxed into the circulatoiy system.

          150.     The HCPCS "J" code promoted by the Device Defendants is J9000 (Injection,

doxonibicin hydrochloride, 10 mg), which describes an injection of doxorubicin, something that

 occurs in the cTACE procedure, but does not occur in the DEBTACE procedure, where the drug

 is eluted from a drug-eluting bead rather than being injected through a catheter at the site of the

 tumor. The combination of this "J" code with the 37304 CPT code falsely suggests that the

 healthcare provider has performed the cTACE procedure, which has been medically accepted for



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30 years, when in fact the procedure performed is the DEBTACE procedure, which is an

investigational procedure that has been the subject of experimentation only since 2002.

         151.     CPT codes are created and copyrighted by the American Medical Association

("AMA"). The instrnctions that accompany the CPT Manual published by the AMA state that

providers should "not select a CPT code that merely approximates the service provided." Rather,

if no accurate service procedure or service exists among the standard CPT codes, providers are

instructed to "report the service using the appropriate unlisted procedure or service code" (i.e. the

special CPT codes provided for use when none of the standard CPT codes reasonably and

adequately describes the specific procedure or service provided).          Codes listed after each

subsection of the CPT Mamial and ending in -99 or -9 are "unlisted" codes.

         152.     As new medical procedures become accepted by the medical profession, the

AMA adds new codes to the CPT Manual to replace the "unlisted" procedure codes. A 17-

member CPT Editorial Panel meets three times a year to consider proposals for addition of codes

to the CPT Manual and is assisted by a CPT Advisory Committee made up          of representatives of

over 100 medical specialty societies and other health care professional organizations. The AMA

provides a Coding Change Request Form and instructions for its use by individuals, physicians

and specialty groups in submitting requests for new CPT codes. The acceptance of new codes is

generally based upon the procedure being consistent with contemporary medical practice and

being performed by many physicians in clinical practice in multiple locations. In developing

new and revised CPT codes the Advisory Committee and the Editorial Panel requires that the

service/procedure receive approval from the Food and Drug Administration (FDA) for the

specific use of devices or drugs, that the service/procedure is performed across the country in

multiple locations, that many physicians or other health care professionals perform the

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service/procedure; and that the clinical efficacy of the service/procedure has been well

established and documented.

         153.     Thus, the AMA acts as a gatekeeper to the reimbursement system of government

healthcare systems by declining to establish CPT codes for experimental or investigational

medical procedures that involve a "specific use" of a device or drug that is off-label in the sense

that it has not yet been approved by the FDA. When a physician submits a billing to a

government healthcare program's contractor for an "unlisted" code, he thereby alerts the

contractor that it must make an individualized determination whether the service is properly

reimbursable.

         154.     The DEBTACE procedure using LC Bead loaded with doxonthicin or irinotecan

has no specific CPT code assigned to it and should be billed using an "unlisted" code to ideutifj

it as an experimental procedure for which the AMA has not yet created a CPT code because it is

not yet generally accepted and involves an off-label use of drugs and devices. For example, CPT

Code 37999 (unlisted procedure, vascular surgery) is in the same Cardiovascular Surgery section

of the CPT Manual with CPT 37204, but would alert government contractors that this is not the

traditional embolization procedure described by CPT Code 37204, but rather a new and

experimental procedure requiring a coverage determination. Alternatively, CPT Code 96549

("unlisted chemotherapy procedure"), which is in the section of the CPT book dealing with

Chemotherapy Administration, would reveal that a new and experimental form of chemotherapy

was being performed, again requiring a coverage determination.

         155.      Because Medicare, Medicaid, TRTCARE and CHAMPVA contractors are

required to review off-label device claims and make a detennination whether an off-label use is

safe and effective before providing reimbursement for procedures utilizing the device, healthcare

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providers should have provided accurate coding information utilizing the "unlisted" procedure

codes so that the contractors could make informed payment decisions. By encouraging providers

to hide the true nature of the DEBTACE procedure using the CPT code for traditional TAE

embolization procedures, the Device Defendants have knowingly caused the submission of false

claims for non-reimbursable procedures.

        156.      Also, because Medicare, Medicaid, TRICARE and CHAMPVA do not provide

coverage for of-label uses of drugs such as doxorubicin and irinotecan unless they are supported

by applicable compendia as medically-accepted off-label uses, healthcare providers should not

have billed the "J" code for "injection" of doxorubicin when in fact it was not administered by

means of an intravenous injection, but instead was administered by drug-eluting beads. By

encouraging providers to hide the true route of administration of the drug in the DEBTACE

procedure by using the "J" code for intravenous injections, the Device Defendants have

knowingly caused the submission of false claims for non-reimbursable drugs.

         157.     The false procedure and drug coding was material to the payment decisions of

govermnent contractors because procedure and drug codes are utilized in making coverage and

payment decisions for all government healthcare programs, including specifically the

Prospective Payment System of Medicare Part A, and have a natural tendency to affect the

government programs' payment decisions.

         158.     With respect to Medicare Part A and other government heaithcare programs that

make flat-fee or bundled payments, although CMS makes a bundled DRG payment based upon

the "diagnosis related group" to which each patient's treatment is assigned, the procedure codes

listed on the CMS 1450 billing form are an important factor taken          into   consideration in



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determining the applicable DRG. See 42 C.F.R.                  §   412.60(c)(1).1' Therefore, the codes billed

on Form 1450 would have a natural tendency to affect coverage and payment decisions of

government healthcare programs and are material to those decisions.

G.        THE HOSPITAL DEFENDANTS KNOWINGLY SUBMITTED FALSE CLAIMS
          159. Although the Hospital Defendants received reimbursement advice from the

Device Defendants and were caused to bill false CPT and "J" codes by the advice they received,

the Hospital Defendants also knew or should have known of the falsity of the billing codes they

used. The Hospital Defendants either acted with actual acknowledge that the CPT and "J" codes

used to bill DEBTACE to government healthcare programs were false or they acted with reckless

disregard or in deliberate ignorance of the trnth or falsity of the codes used in their billings.

           160.   Accordingly, the Hospital Defendants are also guilty of knowingly submitting

false claims to government healthcare programs.

H.         IND1CIA THAT FALSE CLAIMS WERE ACTUALLY SUBMITTED TO
           GOVERNMENT HFALTHCARE PROGRAMS
           161.   Liver cancer is a disease that disproportionately affects elderly populations

insured by Medicare. The median age of patients diagnosed with primaiy liver cancer is 63 and

45.8% of patients diagnosed with the disease are 65 or                older.'2    The median age at death from




      42 C.FR. 412.60(c) states in part that:
"(C)  Assignment of discharges to DRGs. CMS establishes a methodology for classifying specific hospital
discharges within DRUs which ensures that each hospital discharge is appropriately assigned to a single ]JRG based
on essential data abstracted from the Inpatient bill for that discharge.
(1) The classification of a particular discharge is based, as appropriate, on the patients age, sex, principal diagnosis
(that is, the diagnosis established after study to be chiefly responsible for causing the patient's admission to the
hospital), secondary diagnoses,procedu res performed, and discharge status" (Emphasis added.)
Therefore, the procedures performed by the hospital, as listed on the patient's inpatient bill on form CMS 1450, is a
factor taken into consideration by the Medicare contractor in making its payment decision.

  See http://seer.cancer.gov!statfacts/htmlllivibdhtinl (last visited July 17, 2013).
 12


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primary liver cancer is 68 and 57.6% of deaths from the disease occur in persons age 65 or

older.'3


           162.   The median age of patients diagnosed with colorectal cancer (which can spread to

the liver in mCRC) is 68 and 60.1% of patients diagnosed with the disease are 65 or older.14 The

median age at death from colorectal cancer is 74 and 70.9% of deaths from the disease occur in

persons age 65 or older.

           163.   Primary liver cancer occurs mostly in men with a history of alcohol or drug abuse,

which can lead to liver scarring (cirrhosis) or hepatitis C infections, the primary causes of liver

cancer in the United         States.'5   Among men, the death rate from liver cancer per 100,000

population is 7.6 for whites, 11.8 for blacks, 14.4 for Asians, 13.2 for native Americans and 12.3

for   Hispanics.'6    The median incidence          of death from liver cancer that can be calculated for

minority men from these figures is 12.75 deaths per 100,000 population, a rate that is 1.67 times

that for whites. Nationally, minorities make up 58% of the population served by                            Medicaid,'7


largely because minorities tend to be less wealthy and more likely to qualify for Medicaid. In

 summary, patients treated for liver cancer are largely minority males, who are more likely than

white males to be Medicaid beneficiaries.

           164.    Training materials prepared for sales representatives by Biocompatibles and

 RITA and reimbursement guides provided to physicians and hospitals by all of the Device

 Defendants included DRG codes that Medicare and Medicaid assign to treatment of liver cancer




 ' See http://seer.caucer.ov/statfacts/htrn1/colorect.html (last visited July 17, 2013).
 15
   See http://www.cancer.orglcancer/livercancerloverviewgiiide!liver-cancer-overview-wliat-causes         (last visited July
 17, 2013).
 16See http://seer.cancer.ov/statfacts/1itrn1/livibd.htm1 (last visited July 17, 2013).

 '7See http://kff.org/medicaid/state-üicticator/disfributionby-raceetirnicitv-4/ (last visited July 17, 2013).
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and the amount of the typical reimbursement, indicating that the Device Defendants expected

and encouraged the Hospital Defendants to submit claims to Medicare and Medicaid.

        165.      While the Relator does not have access to l{LPPA-protected patient information or

the actual patient bills submitted to Medicare and Medicaid by individual physicians and

hospitals, he is certain that physicians and the Defendant Hospitals did actually bill Medicare,

Medicaid and other government healthcare programs for off-label DEBTACE procedures

utilizing the false or misleading CPT and "J" codes promoted by the Device Defendants.

         166.     Attached hereto as Exhibit B is a spreadsheet containing "call note" case reports

by BTG/Biocompatibles sales representatives during the period January 1, 2012, to June 21,

2013, and providing the dates of some of the DEBTACE procedures at issue in this case, the

names of the doctors who performed the procedures, the names of the hospitals where the

procedures were performed, the names of the sales representatives, and the comments of the

sales representative.

         167.     Charges for the majority of these procedures would have been billed to Medicare

or Medicaid within a short time after the dates of the procedures by the physicians who

performed the procedures and the Defendant Hospitals where the procedures were performed

using the false CPT and "J" codes promoted by BTG!Biocompatibles. Some of these procedures

would have been billed to other government healthcare programs like TRICARE and

CHAMPVA.            While this is not a comprehensive list of procedures billed to govermnent

healthcare programs, it provides representative examples of the procedures that were actually

performed and billed.




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I.      THE DEVICE DEFENDANTS SUBMITTED FALSE CLAIMS TO THE
        DEPARTMENTS OF VETERANS AFFAIRS & DEFENSE
        168.      The Department of Veterans Affairs ("VA") and the Department of Defense

("DOD") operate nationwide hospital systems that provide healthcare services to veterans and

active-duty members of the armed forces. VA and DOD healthcare services are funded by

federal appropriations and are provided free-of-charge to eligible veterans and active-duty

service members by federally-employed healthcare professionals working at VA and DOD

facilities, rather than through a system of health insurance (although some patients at the

facilities may also be covered by the military health insurance programs CHAMIPVA and

TRLICARE).

         169.     VA regulations state that VA healthcare "will be provided to individuals only if it

is determined by appropriate healthcare professionals that the care is needed to promote,

preserve, or restore the health of the individual and is in accord with generally accepted

standards of medical practice." 38 C.F.R.             §   17.38 (b). The VA regulations also exclude "[d}rugs

biologicals. and medical devices not approved by the Food and Drug Administration unless the

treating medical facility is conducting formal clinical trials under an Investigational Device

Exemption (IDE) or an Investigational New Drug                  (IND)    application, or the drugs, biologicals, or

medical devices are prescribed under a compassionate use exemption." 38 C.F.R.                         §   17.38 (c)

(3). DOD regulations are believed to contain similar restrictions and exclusions.

         170.      The DEBTACE procedure utilizing LC Bead to load and elute doxorubicin or

irinotecan is not "a generally accepted standard of medical practice" and neither the drugs nor

the device have been approved by the FDA for this use, yet the Device Defendants have sold at

least $4.3 million of LC Bead to various VA and DOD hospitals during the most recent iS


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months alone (not including sales from 2006-2011), including particularly but not by way of

limitation, the 48 VA & DOD hospitals listed on Exhibit C.

         171.     All of these sales to VA and DOD hospitals, and earlier sales during the period

2006-2001, were procured by means of false and/or misleading statements to VA and DOD

personnel by the Device Defendants concerning the regulatory status, safety, efficacy and

general acceptance of LC Bead in the medical community, including false and/or misleading

statements that failed to disclose the true regulatory status of DC Bead in the European Union,

the fraudulent clearance of LC Bead by the FDA in 2008 and the fact of LC Bead's marketing in

the United States prior to 2008 without any regulatory clearance or approval whatsoever.

         172.     Had VA and DOD personnel known the true state of facts, the VA and DOD

would not have spent over $4.3 million to purchase LC Bead from the Device Defendants and

would not have performed DEBTACE procedures utilizing LC Bead at a cost for related services

and facility usage that was at least twice the cost of the devices themselves. Therefore, billing

statements for LC Bead that were submitted to VA and DOD hospitals by the Device Defendants

on the dates and in the amounts set forth on Exhibit C, plus others submitted during the period

2006-2011, were false or fraudulent claims that have caused damage to the United States in

excess of $13 million.

      V.        PATIENT 11AR1VI & RISKS OF UNAUTHORIZED & OFF.LABEL USE

         173.      Doxorubicin and irinotecan are extremely dangerous drugs. Between November

 1997 and August 2012 there have been 4,142 reports to the FDA of a serious adverse event

where doxorubicin was identified as the primary suspect drug causing the event and 4,762

reports where irinotecan was identified as the primary suspect chug. In 881 of the doxorubicin

 events (21%) the patient died. In 1,305 of the irinotecan events (27%), the patient died.

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        174.      The use of these drugs in combination with drug-eluting beads in the DEBTACE

procedure for targeted delivery to the liver may possibly decrease the risks of systemic delivery,

as the Device Defendants claim, but that assertion has not yet been scientifically proven to the

satisfaction of the FDA, which has made no finding of safety and efficacy.               Regulatory

authorities in the European Union in 2008 refused to approve BIOCOMPATIBLES'

PRECISION Bead pre-loaded with doxorubicin, a fact the Device Defendants have attempted to

sweep under the rug. There may also be added risks of the DEBTACE procedure over systemic

administration of the drugs because the dosage of the drugs administered in the DEBTACE

Procedure is usually higher than the approved dosage for systemic administration, there can be

unintended damage to the liver and biliary tract, and the drug-loaded beads can migrate to other

vital organs where they create life-threatening damage.

    175.          At least four patients have died in DEBTACE procedures utilizing LC Bead or

   DC Bead, including:

             a.   A 31-year-old male in the United States who died on or about August     1,   2011, of

                  puhnonaiy embolism (a blockage of the main artery of the lung or one of its

                  branches by a substance that has travelled from elsewhere in the body through the

                  bloodstream) after undergoing a DEBTACE procedure using LC Bead to

                  administer doxorubicin;

             b. A patient in Greece who died on or about March 18, 2013,         of sepsis (a whole-

                  body inflamniatojy state), hepatic failure (liver failure), encephalopathy (brain

                   injury), cholecystitis (inflammation of the gallbladder), pleural effusion (excess

                   fluid around the lungs), gastrointestinal hemorrhage (intestinal bleeding),

                   pancreatitis (inflammation of the pancreas), ascites (an accumulation of fluid in

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                   the peritoneal cavity) and other acute symptoms after receiving 150 mg of

                   doxorubicin administered by means of DC Bead;

             c. A male patient with liver cancer who died on or about November 4, 2009, with a

                   feeling of heat, some coughing and a sudden death (possibly by heart attack) after

                   receiving 50 mg of doxorubicin administered by means of DC Bead;

             d. A female patient with liver cancer taking part in a clinical trial who died on or

                   about March 25, 2008, from cardiocirculatory arrest (heart failure) after receiving

                   100 mg of doxonibicin administered via two vials of DC Bead.

         176.      These deaths may reflect accidental delivery of high doses of cytotoxic drugs to

vital organs such as the heart and lungs through arteriovenous shunting of drug-loaded beads to

veins feeding vital organs. Doctors at the Brooklyn Hospital Center have reported a potentially

fatal chemoembolization of the lungs of a patient with liver cancer who underwent a DEBTACE

procedure using doxombicin-loaded LC Beads because of an arteriovenous shunt between the

hepatic artery and the veins feeding the lungs.                 See   Khan et al, "Acute Lung Injury Following

Transcatheter Hepatic Arterial Chemoembolization of Doxorubicin-Loaded LC Beads in a

Patient with Hepatoceihilar Carcinoma," LUNG INDIA, 2012                    Apr; 29(2): 169-72.


         177.      There have also been adverse event reports to the FDA of non-fatal but serious

and life-threatening events involving the use of doxorubicin and irinotecan in connection with

the LC/DC Bead, including:

              a.   A 74-year-old man in Great Britain who suffered necrotizing paucreatitis

                   (inflammation and tissue death in the pancreas) on or about April 10, 2012, after

                   receiving 75 mg of doxorubicin administered through a DEBTACE procedure

                   using doxorubicin beads;

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              b. A 55-year-old male in the United States who became unresponsive to stimuli on

                   or about April 25, 2012, after receiving 100 mg of doxorubicin administered intra-

                   arterially using LC Bead;

              c. Another 55-year-old man in the United States who suffered acute lung injury on

                   or about September 28, 2012, after receiving 50 mg of Adriamycin (doxorubicin)

                   administered via 1 OOum to 300um beads; and

              d.   An 83-year-old woman in Italy who suffered chronic obstructive pulmonary

                   disease on or about June 4, 2010, after receiving doxorubicin administered via a

                   DEBTACE procedure.

         178.      If BIOCOMPATIBLES desires to experiment on patients in the United States

using lethal drugs loaded onto beads that can migrate through the circulatory system to vital

organs -- with potentially fatal effects -- it should be doing so in the context of the supervised

clinical trials that were approved by the FDA in 2005. By refusing to commence those clinical

trials because of concerns about money and time to market, BIOCOMPATIBLES has chosen to

place its own profits over patient safety. it should be stopped before it causes additional deaths

by foisting a fraudulently-cleared product upon an unsuspecting public.

                         VI.      BREADTH AND TIME FRAME OF THE FRAU])

          179.     Mr. Bliss worked for RITA and ANGIODYNAIvIICS from November 2005 until

July 2008 and for BTG and BIOCOMPATIBLES from September 2011 to the present. The

Device Defendants market, promote and sell their products to hundreds of physicians and

hospitals in every state of the Union and the Relator has direct knowledge from his sales

trainings and sales conference calls with sales directors across the country that the fraudulent

techniques described herein were in fact nationwide, companywide practices.

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                                        COUNT ONE
                            VIOLATIONS OF THE FALSE CLAIMS ACT

                       31 U.S.C. § 3729(a)(1)A and 31 U.S.C. § 372(a)(1)B)
                                  [for violations on or after Juiie 7, 2008]

                            31 U.S.C. § 3729(a)(1) and 31 U.S.C. § 3729(a2)
                                  [for violations prior to June 7, 2008]

         180.     Relator, acting in the name of and on behalf of the United States, restates and

realleges the allegations contained in the preceding paragraphs as if each were stated herein in

their entirety and said allegations are incorporated herein by reference.

         181.     This is a claim for treble damages and penalties under the False Claims Act, 31

U.S.C.   §   3729 etseq., as amended.

         182.     By virtue of the acts described herein, Defendants knowingly presented, or caused

to be presented, to officers, employees or agents of the United States under the government

healthcare programs, false or fraudulent claims for payment or approval, and made, used and

caused to be made and used false records and statements material to false claims for the medical

devices and drugs at issue herein.

         183.     Defendants knew that these claims for payment were false or fraudulent, or were

deliberately ignorant of the truth or falsity of the claims, or acted in reckless disregard of whether

the claims were true or false.

         184.     Each claim for payment for the use of the drugs and devices constitutes a false or

fraudulent claim because the drugs, devices and related services were not covered and

reimbursable under government healthcare programs.

         185.      Each claim for payment for the unauthorized or off-label use of the devices

constitutes a false or fraudulent claim because the devices and procedures in question were

falsely coded in billings to the government healthcare programs.
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         186.     Unaware of the falsity of the records, statements and claims made or caused to be

made by Defendants, and in reliance on the truthfulness and accuracy of certifications made by

physicians and hospitals, the United States paid and continues to pay on the claims that would

not have been paid but for Defendants' wrongful actions and omissions.

         187.      The United States has been damaged, and continues to be damaged, in substantial

amounts to be determined at trial.

                              COUNT TWO
     VIOLATIONS OF THE FALSE CLAIMS ACT ARISING OUT OF DEFENI)ANTS'
                  CONSPIRACY TO SUBMIT FALSE CLAIMS

                                            31 U.S.C. § 3729(a)(1)(C)
                                    [for violations on or after June 7, 2008]

                                              31 U.S.C. § 3729(a)(3)
                                      [for violations prior to Julie 7, 2008]


         188.      Relator re-alleges and incorporates the allegations in the preceding paragraphs as

if fully set forth herein.

         189.      Defendants BIOCOMPATIBLES, RITA and ANGIODYNAIvIICS in one

conspiracy and Defendants BTG and BIOCOMPATIBLES in a second conspiracy combined,

conspired, and agreed together with others to defraud the United States by knowingly causing

false and illegal claims to be submitted to the United States for the purpose of having those

claims paid and ultimately profiting from those false claims. Defendants committed other overt

acts set forth above in furtherance of these conspiracies, all in violation of 31 U.S.C.

§   3729(a)(3) (2008) and 31 U.S.C.          §   3729(a)(1)(c) (2009), causing damage to the United States.




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                 PRAYER FOR RELIEF UNDER THE FEDERAL FALSE CLAIMS ACT

         190.      Relator respectfully requests this Court to enter judgment against defendants, as

follows:


         (a)       That the United States be awarded damages in the amount of three times the

damages sustained by the United States because of the false claims and fraud alleged within this

Complaint, as the Civil False Claims Act, 31 U.S.c.               §     3729   erseq.   provides;

         (b)       That civil penalties of $11,000 be imposed for each and every false claim that

defendants presented or caused to be presented to the United States;

         (c)       That pre- and post-judgment interest be awarded, along with reasonable attorneys'

fees, costs, and expenses which the Relator necessarily incurred in bringing and pressing this

case;

         (d)       That the Court grant permanent injunctive relief to prevent any recurrence of

violations of the False Claims Act for which redress is sought in this Complaint;

           (e)     That the Relator be awarded the maximum percentage of any recovery allowed to

him pursuant the False Claims Act, 31 U.S.C. §3730(d)(l),(2);

           (f)     That this Court award such other and further relief as it deems proper.

                                                  COIThT THREE

     VIOLATIONS OF TUE ARKANSAS MEDICAiD FRAUI) FALSE CLAIMS ACT

           191.    Relator re-alleges and incorporates the allegations in the preceding paragraphs as

if fully set forth herein. Additionally, Relator states that the course of conduct described in this

Complaint was a nationwide practice of Defendants. Some or all Defendants conduct business in




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the State of Arkansas.            Upon information and belief, Defendants' actions described herein

occurred in the State of Arkansas as well.

          192.     This is a qui tam action brought by Relator and the State of Arkansas to recover

treble damages and civil penalties under the Arkansas Medicaid Fraud False Claims Act, A.C.A.

§   20-77-901 et seq.

          193.     The Arkansas Medicaid Fraud False Claims Act § 20-77-902 provides liability for

any person who-

         Knowingly makes or causes to be made any false statement or representation of a
         material fact in any application for any benefit or payment under the Arkansas Medicaid
         program;

         At any time knowingly makes or causes to be made any false statement or representation
         of a material fact for use in deterniining rights to a benefit or payment;


          194.     In addition, A.C.A.       §   20-77-902(7)(A) prohibits soliciting, accepting, or agreeing

to accept any type of remuneration for the following:

         Recommending the purchase, lease, or order of any good, facility, service, or item for
         which payment may be made under the Arkansas Medicaid program.


         195.      Defendants violated the Arkansas Medicaid Fraud False Claims Act                 §   20-77-

 902(1) (2) & (7)(A) by engaging in the fraudulent and illegal practices described herein.

         196.      Defendants furthermore violated Arkansas Medicaid Fraud False Claims Act                  §

 20-77-902(1) & (2) and knowingly caused thousands of false claims to be made, used and

 presented to Arkansas by its violation of federal and state laws, including A.C.A.                 §   20-77-

 902(7)(A) and the AKS, as described herein.




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         197.     Arkansas, by and through the Arkansas Medicaid program and other state health

case programs, and unaware of Defendants' fraudulent and illegal practices, paid the claims

submitted by health care providers and third payers in connection therewith.

         198.     Compliance with applicable Medicare, Medicaid and the various other federal and

state laws cited herein was an implied, and upon information and belief, also an express

condition of payment of claims submitted to Arkansas in connection with Defendants'

fraudulent and illegal practices.

         199.     Had Arkansas known that Defendants were violating the federal and state laws

cited herein, it would not have paid the claims submitted by health case providers and third

party payers in connection with Defendants' fraudulent and illegal practices.

         200.     As a result of Defendants' violations of § 20-77-902(1) (2) & (7)(A), the State of

Arkansas has been damaged in an amount far in excess of millions of dollars exclusive of

interest.

         201.     Mr. Ryan Bliss is a private person with direct and independent knowledge of the

allegations of this Complaint, who has brought this action pursuant to A.C.A.     §   20-77-911(a) on

behalf of himself and the State of Arkansas.

         202.     This Court is requested to accept supplemental jurisdiction of this related state

claim as it is predicated upon the exact same facts as the federal claim, and merely asserts

separate damage to the State of Arkansas in the operation of its Medicaid program.

         203.     WHEREFORE, Relator respectfully requests this Court to award the following

 damages to the following parties and against Defendants:

To the STATE OF ARKANSAS:

         Three times the amount of actual damages which the State of Arkansas has sustained as a
         result of Defendants' fraudulent and illegal practices;
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          A civil penalty of not less than $5,000 and not more than $10,000 for each false claim
          which Defendants caused to be presented to the State of Arkansas;

          Prejudgment interest; and

          All costs incurred in bringing this action.


To RELATOR:

          The maximum amount allowed pursuant to A.C.A.                  §   20-77-911(a) and for any other
          applicable provision of law;

          Reimbursement for reasonable expenses which Relator incurred in connection with this
          action;

          An award of reasonable attorneys' fees and costs; and

          Sich further relief as this court deems equitable and just.

                                                         COUNT FOUR

                        VIOLATIONS OF THE CALIFORNIA FALSE CLAIMS ACT

          204.     Relator re-alleges and incorporates the allegations in the preceding paragraphs as

if fully set forth herein. Additionally, Relator states that the course of conduct described in this

Complaint was a nationwide practice of some or all Defendants.

          205.     This is a qui tam action brought by Relator and the State of California to recover

treble damages and civil penalties under the California False Claims Act, Cal. Gov't. Code                    §

12650 etseq.

         206.      Cal. Gov't Code       § 1265 1(a)    provides liability for any person   who
                   Knowingly presents, or causes to be presented, to an officer or employee
                   of the state of any political division thereof, a false claim for payment or
                   approval;

                   Knowingly makes, uses, or causes to be made or used a false record of
                   statement to get a false claim paid or approved by the state or by any
                   political subdivision;
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                  Conspires to defraud the state or any political subdivision by getting a
                  false claim, allowed or paid by the state of by any political subdivision.

                  is a beneficiary of an inadvertent submission of a false claim to the state or
                  a political subdivision, subsequently discovers the falsity of the claim, and
                  fails to disclose the false claim to the state or the political subdivision
                  within a reasonable time after discovery of the false claim.


        207.       In addition, the payment or receipt of bribes or kickbacks is prohibited under Cal.

Bus. & Prof. Code           650 and 650.1, and is also specifically prohibited in treatment of Medi-Cal

patients pursuant to Cal. Well. & Inst. Code § 14107.2.

         208.      Defendants violated Cal Bus. & Prof. Code             §   650 and 650.1 and Cal. Welf. &

Inst. Code   §   14107.2 by engaging in the fraudulent and illegal practices described herein.

         209.      Defendants furthermore violated Cal. Gov't Code               §   12651(a) and knowingly

caused hundreds of thousands of false claims to be made, used and presented to the State of

California by its violation of federal and state laws, including Cal. Bus. & Prof. Code § 650 and

650.1 and Cal. Well. & Inst. Code § 14107.2, and the AKS, as described herein.

         210.      The State of California, by and through the California Medicaid program and

other state health case programs, and unaware of Defendants' fraudulent and illegal practices,

paid the claims submitted by health care providers and third party payers in connection

therewith.

         211,      Compliance with applicable Medicare, Medi-Cal and the various other federal and

state laws cited herein was implied, and upon information and belief, also an express condition

of payment of claims submitted to the State of California in connection with Defendants'

fraudulent and illegal practices.




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         212.     Had the State of Caiifornia known that Defendants were violating the federal and

state laws cited herein, it would not have paid the claims submitted by health care providers and

third party payers in connection with Defendants' fraudulent and illegal practices.

         213.     As a result of Defendants' violations of Cal. Gov't Code    §   1265 1(a), the State   of

California has been damaged in an amount far in excess of millions of dollars exclusive of

interest.

         214.     Mr. Ryan Bliss is a private person with direct and independent knowledge of the

allegations of this Complaint, who has brought this action pursuant to Cal. Gov't Code                   §


12652(c) on behalf of himself and the State of California.

         215.     This Court is requested to accept supplemental jurisdiction over this related state

claim as it is predicated upon the same exact facts as the federal claim, and merely asserts

separate chunages to the State of California in the operation of its Medicaid program.

         216.     WHERFORE, Relator respectfully requests this Court to award the following

damages to the following parties and against Defendants:

To the STATE OF CALIFORNIA:

         Three times the amount of actual damages which the State of California has sustained as
         a result of Defendants' fraudulent and illegal practices;

         A civil penalty of up to $10,000 for each false claim which Defendants presented or
         caused to be presented to the State of California;

         Prejudgment interest; and

         All costs incurred in bringing this action.

To RELATOR:

         The maximum amount allowed pursuant to Cal. Gov't Code         §   12652 and br any other
         applicable provision of law;


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        Reimbursement for reasonable expenses which Relator rnculTed in connection with this
        action;

        An award of reasonable attorneys' fees and costs; and

         Such further relief as this Court deems equitable and just.

                                                    COUNT FWE

          VIOLATIONS OF TilE COLORADO MEDICAID FALSE CLAIMS ACT

         217.     Relators re-allege and incorporate the allegations in the preceding paragraphs as if

filly set forth herein. Additionally, Relator states that the course of conduct described in this

Complaint was a nationwide, continuous practice of Defendants, some or all of whom conduct

business in the State of Colorado. Upon information and belief, some or all of Defendants'

actions described herein occurred in Colorado as well.

         218.     This is a qui tam action brought by Relators and the State of Colorado to recover

treble damages and civil penalties under the Colorado Medicaid False Claims Act, Co. St.           §§


25.5-4-304 to 25.5-4-310 etseq.

         219.     Co. St. § 25.5-4-305 provides liability to any person who:

                  (a) Knowingly presents, or causes to be presented, to an officer or employee of
                  the state a false or fraudulent claim for payment or approval;

                   (b) Knowingly makes, uses, or causes to be made or used a false record or
                   statement material to a false or fraudulent claim;

                   (c) Has possession, custody, or control of property or money used, or to be used,
                   by the state in connection with the "Colorado Medical Assistance Act" and
                   knowingly delivers, or causes to be delivered, less than all of the money or
                   property;

                   (d) Authorizes the making or delivery of a document certif'ing receipt of property
                   used, or to be used, by the state in connection with the "Colorado Medical
                   Assistance Act" and, intending to defraud the state, makes or delivers the receipt

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                  without completely knowing that the information on the receipt is true;

                  (e) Knowingly buys, or receives as a pledge of an obligation or debt, public
                  property from an officer or employee of the state in connection with the
                  "Colorado Medical Assistance Act" who lawfully may not sell or pledge the
                  property;

                   (f) Knowingly makes, uses, or causes to be made or used, a false record or
                   statement material to an obligation to pay or transmit money or property to the
                   state in connection with the "Colorado Medical Assistance Act," or knowingly
                   conceals or knowingly and improperly avoids or decreases an obligation to pay or
                   transmit money or property to the state in connection with the "Colorado Medical
                   Assistance Act;"

                   (g) Conspires to commit a violation of paragraphs (a) to (f)           of this subsection (1).

         220.      Defendants violated Co. St.               §   25.5-4-305 by continuously engaging in the

fraudulent and illegal practices described herein.

         221.      Defendants furthermore violated Co. St.                 §   25.5-4-305 and knowingly caused

hundreds of thousands of false claims to be made, used, and presented to the State of Colorado

by its continuous violation of federal and state laws, including the AKS, as described herein.

         222.      The State of Colorado, by and through the Colorado Medicaid Program and other

state health care programs, and unaware of Defendants' fraudulent and illegal practices, paid the

claims submitted by health care providers and third party payers in connection therewith.

         223.      Compliance with applicable Medicare, Medicaid, and the various other federal

and state laws cited herein was implied, and upon information and belief, also an express

condition of payment of claims submitted to the State of Colorado in connection with

Defendants' fraudulent and illegal practices.




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         224.     Had Colorado known that Defendants were violating the federal and state laws

cited herein, it would not have paid the claims submitted by health care providers and third party

payers in connection with Defendants' fraudulent and illegal practices.

         225.     As a result of Defendants' violations of Co. St.       §   25.5-4-304 to 25.5-4-310 et

seq.,   the State of Colorado has been damaged in an amount far in excess of millions of dollars

exclusive of interest.

         226.     Defendants did not, within thirty days after it first obtained information as to such

violations, furnish such infonnation to officials of the State responsible for investigating false

claims violations, did not otherwise fully cooperate with any investigation of the violations, and

have not otherwise furnished information to the State regarding the claims for reimbursement at

issue.

          227.     Mr. Ryan Bliss is a private person with direct and independent knowledge of the

allegations in this Complaint, who has brought this action pursuant to Co. St.          §   25.5-4-306 on

behalf of themselves and the State of Colorado.

          228.     This Court is requested to accept supplemental jurisdiction of this related state

claim as it is predicated upon the exact same facts as the federal claim, and merely asserts

separate damage to the State of Colorado in the operation of its Medicaid program.

          229.     WHERFORE, Relator respectfully request this Court to award the following

damages to the following parties and against Defendants:

To the STATE OF COLORADO:

          Three times the amount of actual damages which the State of Colorado has sustained as a
          result of Defendants' fraudulent and illegal practices;

          A civil penalty of up to $10,000 for each false claim which Defendants presented or
          caused to be presented to the State of Colorado;
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        Prejudgment interest; and

        All costs incurred in bringing this action.

To RELATOR:

         The maximum amount allowed pursuant to Co. St.                   §   25.5-4-305 and/or any other
         applicable provision of law;

         Reimbursement for reasonable expenses which Relator incurred in connection with this
         action;

         An award of reasonable attorneys' fees and costs; and

         Such further relief as this Court deems equitable and just.




                 VIOLATIONS OF TIlE CONNECTICUT FALSE CLAIMS ACT

         230.      Relator re-alleges and incorporate the allegations in the preceding paragraphs as if

fully set forth herein. Additionally, Relator states that the course of conduct described in this

Complaint was a nationwide, continuous practice of Defendants. Some or all of the Defendants

conduct business in the State of Connecticut. Upon iiifonnation and belief, some or all of the

Defendants actions described herein occurred in Connecticut as well.

         231.      This is a qui tam action brought by Relator and the State of Connecticut to

recover treble damages and civil penalties under the Connecticut False Claims Act, C. G.S.A.                §§


17b-301 etseq.

         232.      C.G.S.A.     §   17b-3Ola provides for liability for any persons who:

                   (1) Knowingly present, or cause to be presented, to an officer or employee of the
                   state a false or fraudulent claim for payment or approval under a medical
                   assistance program administered by the Department of Social Services;
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                  (2) Knowingly make, use or cause to be made or used, a false record or statement
                  to secure the payment or approval by the state of a false or fraudulent claim under
                  a medical assistance program administered by the Department of Social Services;

                  (3) Conspire to defraud the state by securing the allowance or payment of a false
                  or fraudulent claim under a medical assistance program administered by the
                  Department of Social Services;

                  (4) Having possession, custody or control of property or money used, or to be
                  used, by the state relative to a medical assistance program administered by the
                  Department of Social Services, and intending to defraud the state or willfully to
                  conceal the property, deliver or cause to be delivered less property than tie
                  amount for which the person receives a certificate or receipt;

                  (5) Being authorized to make or deliver a document certifring receipt of property
                  used, or to be used, by the state relative to a medical assistance program
                  administered by the Department of Social Services and intending to defraud the
                  state, make or deliver such document without completely laiowing that the
                  information on the document is tnre;

                  (6) Knowingly buy, or receive as a pledge of an obligation or debt, public
                  property from an officer or employee of the state relative to a medical assistance
                  program administered by the Department of Social Services, who lawfully may
                  not sell or pledge the property;

                  (7) Knowingly make, use or cause to be made or used, a false record or statement
                  to conceal, avoid or decrease an obligation to pay or transmit money or property
                  to the state under a medical assistance program administered by the Department
                  of Social Services.

         233.     Defendants violated C.G.S.A.               §   17b-301a by continuously engaging in the

fraudulent and illegal practices described herein.

         234.     Defendants furthennore violated C.G.S.A.               §   17b-301a and knowingly caused

hundreds of thousands of false claims to be made, used, and presented to the State of Connecticut

by its violation of federal and state laws, including the AKS, as described herein.

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         235.     The State of Connecticut, by and through the Connecticut Medicaid Program and

other state health care programs, and unaware of Defendants' fraudulent and illegal practices,

paid the claims submitted by health care providers and third party payers in connection

therewith.

         236.     Compliance with applicable Medicare, Medicaid, and the various other federal

and state laws cited herein was implied, and upon infonnation and belief, also an express

condition of payment of claims submitted to the State of Connecticut in connection with

Defendants' fraudulent and illegal practices.

         237.     Had Connecticut known that Defendants were violating the federal and state laws

cited herein, it would not have paid the claims submitted by health care providers and third party

payers in connection with Defendants' fraudulent and illegal practices.

         238.     As a result of Defendants' violations of C.G.SA.          §   17b-301, the State of

Connecticut has been damaged in an amount far in excess of millions of dollars exclusive of

interest.

         239.     Defendants did not, within thirty days after it first obtained information as to such

violations, furnish such information to officials of the State responsible for investigating false

claims violations, did not otherwise fully cooperate with any investigation of the violations, and

have not otherwise furnished information to the State regarding the claims for reimbursement at

issue.

         240.      Mr. Ryan Bliss is a private persons with direct and independent knowledge of the

allegations in this Complaint, who has brought this action pursuant to C.G.S.A.          §   17b-301 on

behalf of themselves and the State of Connecticut.



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        241.      This Court is requested to accept supplemental jurisdiction of this related state

claim as it is predicated upon the exact same facts as the federal claim, and merely asserts

separate damage to the State of Connecticut in the operation of its Medicaid program.

        242.      WHERFORE, Relator respectfully request this Court to award the following

damages to the following parties and against Defendants:

To the STATE OF CONNECTICUT:

        Three times the amount of actual damages which the State of Connecticut has sustained
        as a result of Defendants' fraudulent and illegal practices;

        A civil penalty of up to $10,000 for each false claim which Defendants presented or
        caused to be presented to the State of Connecticut;

        Prejudgment interest; and

        All costs incurred in bringing this action.

To RELATOR:

         The maximum amount allowed pursuant to C.G.S.A. 17b-301b and/or any other
         applicable provision of law;

         Reimbursement for reasonable expenses which Relator incurred in connection with this
         action;

         An award of reasonable attorneys' fees and costs; and

         Such further relief as this Court deems equitable and just.

                                                   COUNT SEVEN

     VIOLATIONS OF THE DELAWARE FALSE AND REPORTING CLAIMS ACT

         243.      Relator re-alleges and incorporates the allegations in the preceding paragraphs as

if fully set forth herein. Additionally, Relator states that the course of conduct described in this
Complaint was a nationwide practice of Defendants. Some or all of the Defendants conduct
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business in the State of Delaware. Upon information and belief, some or all of the Defendants'

actions described herein occurred in Delaware as well.

        244.      This is a qui tam action brought by Relator and the State of Delaware to recover

treble damages and civil penalties under the Delaware Medicaid False Claims Act, 6 Del. C.                 §


1201 et seq.

        245.      6   Del. C. § 1201 et seq. provides liability for any person       who
                  Knowingly presents, or causes to be presented, directly or indirectly, to an
                  officer or employee of the Government a false or fraudulent claim for
                  payment or approval;

                  Knowingly makes, uses or causes to be made or used, directly or
                  indirectly, a false record or statement to get a false or fraudulent claim
                  paid or approved;

                  Conspires to defraud the Government by getting a false or fraudulent
                  claim allowed or paid;

                  Knowingly makes, uses, or causes to be made or used a false record or
                  statement to conceal, avoid, increase or decrease an obligation to pay or
                  transmit money or property to or from the Government

         246.      Further, 31 Del. C.      §   1005 provides        that
                   It shall be unlawfiil for any person to offer or pay any remuneration
                   (including any kickback, bribe or rebate) directly or indirectly, in cash or
                   in kind to induce any other person . . . [tb purchase, lease, order or
                   arrange for or recommend purchasing, leasing or ordering any property,
                   facility, service, or item of medical care or medical assistance for which
                   payment may be made in whole or in part under any public assistance
                   program.

         247.      Defendants violated           6   Del. C.     §    1201 and knowingly caused hundreds   of

thousands of false claims to be made, used and presented to the State of Delaware by its violation

of federal and state laws, including 31 Del. C. § 1005 and the AKS as described herein.



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          248.     The State of Delaware, by and through the Delaware Medicaid program and other

state health care programs, and unaware of Defendants' fraudulent and illegal practices, paid the

claims submitted by health care providers and third party payers in connection therewith.

          249.     Compliance with applicable Medicare, Medicaid and the various other federal and

state laws cited herein was an implied, and upon information and belief, also an express

condition of payment of claims submitted to the State of Delaware in connection with

Defendants' fraudulent and illegal practices.

          250.     Had the State of Delaware known that Defendants were violating the federal and

state laws cited herein, it would not have paid the claims submitted by health care providers and

third party payers in connection with Defendants' fraudulent and illegal practices.

          251.     As a result of Defendants' violations of 6 Del C.      §   1201 (a), the State   of Delaware

has been damaged in an amount far in excess of millions of dollars exclusive of interest.

          252.     Defendants did not, within 30 days after it first obtained information as to such

violations, furnish such infonnation to officials of the State responsible for investigating false

claims violations, did not otherwise fully cooperate with any investigation of the violations, and

have not otherwise furnished information to the State regarding the claims for reimbursement at

issue.

          253.     Mr. Ryan Bliss is a private person with direct and independent knowledge of the

allegations of this Complaint, who has brought this action pursuant to 6 Del. C.                §    1203(b)   011


behalf of himself and the State of Delaware.

          254.     This Court is requested to accept supplemental jurisdiction of this related state

claim as it is predicated upon the exact same facts as the federal claim, and merely asserts

separate chunage to the State of Delaware in the operation of its Medicaid program.

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         255.     WHEREFORE, Relator respectfully requests this Court to award the following

damages to the following parties against Defendants:

To the STATE OF DELAWARE:

         Three times the amount of actual damages which the State of Delaware has sustained as a
         result of Defendants' fraudulent and illegal practices;

         A civil penalty on not less than $5,500 and not more than $ 11,000 for each false claim
         which Defendants caused to be presented to the State of Delaware;

         Prejudgment interest; and

         All costs incurred in bringing this action.

To RELATOR:

        The maximum amount allowed pursuant to 6 Del C.                 §   1205,and br any other applicable
        provision of law;

        Reimbursement for reasonable expenses which Relator incurred in connection with this
        action;

        An award of reasonable attorneys' fees and costs; and

        Such thither relief as this Court deems equitable and just.


                                                  COUNT EIGHT

     VIOLATION OF TIlE DISTRICT OF COLUMBIA PROCUREMENT REFORM
                            AMENI)MENT ACT

         256.     Relator re-alleges and incorporates the allegations in the preceding paragraphs as

if fully set forth herein. Additionally, Relator states that the course of conduct described in this

Complaint was a nationwide practice of Defendants. Some or all of the Defendants conduct

business in the District of Columbia.                  Upon information and belief, some or all of the

Defendants' actions described herein occurred in the District of Columbia as well.



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          257.     This is a qui tam action brought by Relator and the District of Columbia to

recover treble damages and civil penalties under the District of Columbia Procurement Reform

Amendment Act, D.C.           §   2-308.13 et seq.

          258.     D.C. Code       §   2-30814(a) provides liability for any person who-

          Knowingly presents, or causes to be presented, to an officer or employee of the District a
          false claim for payment or approval;

          Knowingly makes, uses or causes to be made or used, a false record or statement to get a
          false claim paid or approved by the District;

          Conspires to defraud the District by getting a false claim allowed or paid by the District;

          Is the beneficiary of an inadvertent submission of a false claim to the District,
          subsequently discovers the falsity of the claim, and fails to disclose the false claim to the
          District.


          259.     In addition, D.C. Code          §   4-802(c) prohibits soliciting, accepting, or agreeing to

accept any type of remuneration for the following:

          Referring a recipient to a particular provider of any item or service or for which payment
          may be made under the District of Columbia Medicaid program; or

          Recommending the purchae, lease, or order of any good, facility, service, or item for
          which payment may be made under the District of Columbia Medicaid Program.


          260.     Defendants violated D. C. Code                §   4-802(c) by engaging in the fraudulent and

illegal practices described herein.

          261.     Defendants furthermore violated D. C. Code                  §   2-308.14(a) and knowingly caused

thousands of false claims to be made, used and presented to the District of Columbia by its

violation of federal and state laws, including D. C. Code                  §   4-802(c) and the AKS, as described

herein.



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         262.     The District of Columbia, by and through the District of Columbia Medicaid

program and other state health care programs, and unaware of Defendants' fraudulent and illegal

practices, paid the claims submitted by health care providers and third payers in connection

therewith.

         263.      Compliance with applicable Medicare, Medicaid and the various other federal and

state laws cited herein was an implied, and upon infonnation and belief, also an express

condition of payment of claims submitted to the District of Columbia is connection with

Defendants' fraudulent and illegal practices.

         264.     Had the District of Columbia known that Defendants were violating the federal

and state laws cited herein, it would not have paid the claims submitted by health care providers

and third party payers in connection with Defendants' fraudulent and illegal practices.

         265.     As a result of Defendants' violations of D.C. Code     §   2-308.14(a) the District of

Columbia has been damaged in an amount far in excess of mifflons of dollars exclusive of

interest.

         266.      Mr. Ryan Bliss is a private person with direct and independent knowledge of the

allegations of this Complaint, who has brought this action pursuant to D.C. Code          §   2-308.15(b)

on behalf of himself and the District of Columbia.

         267.      This Court is requested to accept supplemental jurisdiction of this related state

claim as it is predicated upon the exact same facts as the federal claim, and merely asserts

separate damage to the District of Columbia in the operation of its Medicaid program.

         268.      WHEREFORE, Relator respectfully request this Court to award the following

damages to the following parties and against Defendants:

To the DISTRICT OF COLUMBIA:

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           Three times the amount of actual damages which the District of Columbia has sustained
           as a result of Defendants' fraudulent and illegal practices;

           A civil penalty of not less than $5,000 and not more than $10,000 for each false claim
           which Defendants caused to be presented to the District of Columbia;

           Prejudgment interest; and

           All costs incurred in bringing this action.

To RELATOR:

           The maximum amount allowed pursuant to D. C. Code             §   2-308.15(f) and br any other
           applicable provision of law;

           Reimbursement for reasonable expenses which Relator incurred in connection with this
           action;

           An award of reasonable attorneys' fees and costs; and

           Such further relief as this court deems equitable and just.


                                                    COUNT NINE

                           VIOLATION OF THE FLORIDA FALSE CLAIMS ACT

           269.    Relator re-alleges and incorporates the allegations in the preceding paragraphs as

 if fully set forth herein. Additionally, Relator states that the course of conduct described in this

 Complaint was a nationwide practice of Defendants. Some or all of the Defendants conduct

 business in the State of Florida. Upon information and belief, some or all of the Defendants'

 actions described herein occurred in the State of Florida as well.

           270.    This is a qui tam action brought by Relator and the State of Florida to recover

 treble damages and civil penalties under the Florida False Claims Act, West's F.S.A.              §   68.081

 et seq.

           271.    West's F,S.A. § 68.082 provides liability for any person who-


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                   Knowingly presents or causes to be presented to an officer or employee of
                   an agency a false claim for payment or approval

                   Knowingly makes, uses, or causes to be made or used a false record or
                   statement to get a false or fraudulent claim paid or approved by an agency

                   Conspires to submit a false claim to an agency or to deceive an agency for
                   the purpose of getting a false or fraudWent claim allowed or paid

          272.     Defendants violated West's F.S.A.              §     68.082 by engaging in the fraudulent and

illegal practices described herein.

          273.     Defendants furthennore violated West's F.S.A.                 §   68.082 and knowingly caused

thousands of false claims to be made, used and presented to the State of Florida by its violation

of federal and state laws, including the AKS, as described herein.

          274.     The State of Florida, by and through the State of Florida Medicaid program and

other state health care programs, and unaware of Defendants' fraudulent and illegal practices,

paid the claims submitted by health care providers and third payers in connection therewith.

          275.     Compliance with applicable Medicare, Medicaid and the various other federal and

state laws cited herein was an implied, and upon infonnation and belief, also an express

condition of payment of claims submitted to the State of Florida in connection with Defendants'

fraudulent and illegal practices.

          276.     Had the State of Florida known that Defendants were violating the federal and

state laws cited herein, it would not have paid the claims submitted by health care providers and

third party payers in connection with Defendants' fraudulent and illegal practices.

         277.      As a result of Defendants' violations of West's F.S.A.                  §   68.082 the State of

Florida has been damaged in an amount far in excess of millions of dollars exclusive of interest.




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         278.      Mr. Ryan Bliss is a private person with direct and independent knowledge of the

allegations of this Complaint, who has brought this action pursuant to West's F.S.A.            §   68.083(2)

on behalf of himself and the State of Florida.

         279.      This Court is requested to accept supplemental jurisdictioii of this related state

claim   as it is predicated upon the exact same facts as the federal claim, and merely asserts

separate damage to the State of Florida in the operation of its Medicaid program.

         280.      WHEREFORE, Relator respectfiully requests this Court to award the following

damages to the following parties and against Defendants:

To the STATE OF FLORIDA:


        Three times the amount of actual damages which the State of Florida has sustained as a
        result of Defendants' fraudulent and illegal practices;

        A civil penally of not less than $5,000 and not more than $10,000 for each false claim
        which Defendants caused to be presented to the State of Florida;

        Prejudgment interest; and

        All costs incurred iii bringing this action.


To RELATOR:

         The maximum amount allowed pursuant to West's F.S.A.           §   68 .085 and   br any other
         applicable provision of law;

         Reimbursement for reasonable expenses which Relator incurred in connection with this
         action;

         An award of reasonable attorneys' fees and costs; and

         Such further relief as this court deems equitable and just.

                                                    COUNT TEN

        VIOLATION OF THE GEORGIA STATE FALSE MEDICAID CLAIMS ACT

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           281.     Relator re-alleges and incorporates the allegations in the preceding paragraphs as

if frilly set forth herein. Additionally, Relator states that the course of conduct described in this

Complaint was a nationwide practice of Defendants. Some or all of the Defendants conduct

business in the State of Georgia. Upon infonnation and belief, some or all of the Defendants'

actions described herein occurred in Georgia as well.

           282.     This is a qui tam action brought by Relator and the State of Georgia to recover

treble damages and civil penalties under the Georgia State False Medicaid Claims Act, Ga. Code

Ann.   §   49-4-168    etseq.


           283.    Ga. Code Ann.        §   49-4-168.1   et seq.   provides liability for any person who

                   Knowingly presents or causes to be presented to the Georgia Medicaid
                   program a false or fraudulent claim for payment or approval;

                   Knowingly makes, uses, or causes to be made or used, a false record or
                   statement to get a false or fraudulent claim paid or approved by the Georgia
                   Medicaid program;

                   Conspires to defraud the Georgia Medicaid program by getting a false or
                   fraudulent claim allowed or paid;

                   Knowingly makes, uses, or causes to be made or used, a false record or
                   statement to conceal, avoid, or decrease an obligation to pay, repay or
                   transmit money or property to the State of Georgia.

           284.    Defendants violated Ga. Code Ann.               §   49-4-168.1 and knowingly caused hundreds

of thousands of false claims to be made, used and presented to the State of Georgia by its

violation of federal and state laws, including the AKS, as described herein.

           285.    The State of Georgia, by and through the Georgia Medicaid program and other

state health care programs, and unaware of Defendants' fraudulent and illegal practices, paid the

claims submitted by health care providers and third party payers in connection therewith.


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          286.      Compliance with applicable Medicare, Medicaid and the various other federal and

state laws cited herein was an implied, and upon information and belief, also an express

condition of payment of claims submitted to the State of Georgia in connection with Defendants'

fraudulent and illegal practices.

          287.     Had the State of Georgia known that Defendants were violating the federal and

state laws cited herein, it would not have paid the claims submitted by health care providers and

third party payers in connection with Defendants' fraudulent and illegal practices.

          288.     As a result of Defendants' violations of Ga. Code Ann.   §   49-4-168.1, the State of

Georgia has been damaged in an amount far in excess of millions of dollars exclusive of interest.

          289.     Defendants did not, within 30 days after first obtaining infonnation as to such

violations, furnish such information to officials of the State responsible for investigating false

claims violations, did not otherwise fully cooperate with any investigation of the violations, and

have not otherwise furnished information to the State regarding the claims for reimbursement at

issue.

         290.      Mr. Ryan Bliss is a private person with direct and independent knowledge of the

allegations of this Complaint, who has brought this action pursuant to Ga. Code Ann.,           §   49-4-

168.2(b) on behalf of himself and the State of Georgia.

         291.      This Court is requested to accept supplemental jurisdiction of this related state

claim    as it is predicated upon the exact same facts as the federal claim, and merely asserts

separate damage to the State of Georgia in the operation of its Medicaid program.

         292.      WHEREFORE, Relator respectfully requests this Court to award the following

damages to the following parties against Defendants:

To the STATE OF GEORGIA:

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          Three times the amount of actual damages which the State of Georgia has sustained as a
          result of Defendants' fraudulent and illegal practices;

          A civil penalty on not less than $5,500 and not more than $ 11,000 for each false claim
          which Defendants caused to be presented to the State of Georgia;

          Prejudgment interest; and

          All costs incurred in bringing this action.


To RELATOR:

          The maximum amount allowed pursuant to Ga. Code Ann.,                §   49-4-1 68.2(i),andlor any
          other applicable provision of law;

          Reimbursement for reasonable expenses which Relator incurred in connection with this
          action;

          An award of reasonable attorneys' fees and costs; and

          Such further relief as this Court deems equitable and just.


                                                  COUNT ELEVEN

                       VIOLATION OF THE HAWAII FALSE CLAIMS ACT

          293.     Relator re-alleges and incorporates the allegations in the preceding paragraphs as

if fully set forth herein. Additionally, Relator states that the course of conduct described in this

Complaint was a nationwide practice of Defendants. Some or all of the Defendants conduct

business in the State of Hawaii.               Some or all of the Defendants' actions described herein

occurred in Hawaii as well.

          294.     This is a qui tarn action brought by Relator and the State of Hawaii to recover

treble damages and civil penalties imder the Hawaii False Claims Act, Haw. Rev. Stat.                 §   661.21

et seq.

          295.     Haw. Rev. Stat.      §   66 1-21(a) provides liability for any person   who
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                   Knowingly presents, or causes to be presented, to an officer or employee of the
                   state a false or fraudulent claim for payment or approval;

                   Knowingly makes, uses, or causes to be made or used, a false record or statement
                   to get a false or fraudulent claim paid or approved by the state;

                   Conspires to defraud the state by getting a false or fraudulent claim allowed or
                   paid; or

                   Is a beneficiary of an inadvertent submission of a false claim to the State, who
                   subsequently discovers the falsity of the claim, and fails to disclose the false claim
                   to the State within a reasonable time after discovery of the false claim.

         296.      Defendants violated Haw. Rev. Stat.             §     661 .21(a and knowingly caused hundreds

of thousands of false claims to be made, used and presented to the State of Hawaii by its

violation of federal and state laws, including the AKS, as described herein.

         297.      The State of Hawaii, by and through the Hawaii Medicaid program and other state

health care programs, and unaware of Defendants' fraudulent and illegal practices, paid the

claims submitted by health care providers and third party payers in connection therewith.

         298.      Compliance with applicable Medicare, Medicaid and the various other federal and

state laws cited herein was an implied, and upon information and belief, also an express

condition of payment of claims submitted to the State of Hawaii in connection with Defendants'

fraudulent and illegal practices.

         299.      Had the State of Hawaii known that Defendants were violating the federal and

state laws cited herein, it would not have paid the claims submitted by health care providers and

third party payers in connection with Defendants' fraudulent and illegal practices.

         300.      As a result of Defendants' violations of Haw. Rev. Stat.              §   661-21(a) the State of

Hawaii has      beemi   damaged in an amount far in excess of millions of dollars exclusive of interest.




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          301.      Mr. Ryan Bliss is a private person with direct and independent knowledge of the

allegations of this Complaint, who has brought this action pursuant to Haw. Rev. Stat.             §   661-

25(a) on behalf of himself and the State of Hawaii.

          302.      This Court is requested to accept supplemental jurisdiction of this related state

claim as it is predicated upon the exact same facts as the federal claim, and merely asserts

separate damage to the State of Hawaii in the operation of its Medicaid program.

          303.      WHEREFORE, Relator respectfully requests this Court to award the following

damages to the following parties and against Defendants:

To the STATE OF HAWAU:

          Three times the amount of actual damages which the State of Hawaii has sustained as a
          result of Defendants' fraudulent and illegal practices;

          A civil penalty of not less than $5,000 and not more than $10,000 for each false claim
          which Defendants caused to be presented to the State of Hawaii;

          Prejudgment interest; and

          All costs incurred in bringing this action.


To RELATOR:

         The maximum amount allowed pursuant to Haw. Rev. Stat.          §   661-27 and   br any other
         applicable provision of law;

         Reimbursement for reasonable expenses which Relator incurred in connection with this
         action;

         An award of reasonable attorneys' fees and costs; and

         Such further relief as this Court deems equitable and just.


                                                 COUNT TWELVE

                        VIOLATION OF THE ILLINOIS WHISTLEI3LOWER
                              REWARD AND PROTECTION ACT
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          304.      Relator re-alleges and incorporates the allegations in the preceding paragraphs as

if fully set forth herein. Additionally, Relator states that the course of conduct described in this

Complaint was a nationwide practice of Defendants.                       Some or all of the Defendants conduct

business in the State of Illinois. Upon information and belief, some or all of the Defendants'

actions described herein occurred in Illinois as well.

          305.     This is a qui tam action brought by Relator and the State of Illinois to recover

treble damages and civil penalties under the Illinois Whistleblower Reward and Protection Act,

740 ILCS 175       etseq.


          306.     740 ILCS 175/3(a) provides liability for any person           who
                   knowingly presents, or causes to be presented, to an officer or employee of
                   the State of a member of the Guard a false or fraudulent claim for payment
                   or approval;

                   knowingly makes, uses, of causes to be made or used, a false record or
                   statement to get a false or fraudulent clahn paid or approved by the State;

                   conspires to defraud the State by getting a false or fraudulent claim
                   allowed or paid.

         307.      In addition, 305 ILCS 5/8A-3b of the Illinois Public Aid Code (Vendor Fraud

and Kickbacks) prohibits the solicitation or receipt of any remuneration, including any kickback,

bribe or rebate, directly or indirectly, overtly or covertly, in cash or in kind in return for

furnishing any item of service for which payment may be made in whole or in part under the

Illinois Medicaid program.

         308.      Defendants violated 305 ILCS 5/8A-3(b) by engaging in the fraudulent and illegal

practices described herein.




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           309.    Defendants furthermore violated 740 ILCS 175/3(a) and knowingly caused

hundreds of thousands of false claims to be made, used and presented to the State of Illinois by

their violation of federal and state laws, including 305 ILCS 5/8A-3(b) and the AKS, as

described herein.

           310.    The State of Illinois, by and through the Illinois Medicaid program and other state

health care programs, and unaware of Defendants fraudulent and illegal practices, paid the
                                                                    *




claims submitted by health care providers and third party payers in connection therewith.

           311.    Compliance with applicable Medicare, Medicaid and the various other federal and

state laws cited herein was an implied, and upon information and belief, also an express

condition of payment of claims submitted to the State of Illinois in connection with Defendants'

fraudulent and illegal practices.

           312.    Had the State of Illinois known that Defendants were violating the federal and

state laws cited herein, it would not have paid the claims submitted by health care providers and

third party payers in connection with Defendants' fraudulent and illegal practices.

           313.    As a result of Defendants' violations of 740 ILCS 175/3(a), the State of Illinois

has been damaged in an amount far in excess of millions of dollars exclusive of interest.

          314.     Mr. Ryan Bliss is a private person with direct and independent knowledge of the

allegation of this Complaint, who has brought this action pursuant to 740 ILCS 175/3(b) on

behalf of himself and the State of Illinois.

          315.     This court is requested to accept supplemental jurisdiction of this related state

claim     as it is predicated upon the exact same facts as the federal claim, and merely asserts

separate damage to the State of Illinois in the operation of its Medicaid program.



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          316.      WHEREFORE, Relator respectfully requests this Court to award the following

damages to the following parties and against Defendants:

To the STATE OF ILLINOIS:

          Three times the amount of actual damages which the State of Illinois has sustained as a
          result of Defendants' fraudulent and illegal practices;

          A civil penalty of not less than $5,000 and not more than $10,000 for eacl1 false claim
          which Defendants caused to be presented to the State of Illinois;

          Prejudgment interest; and

          All costs incurred in bringing this action.


To RELATOR:

          The maximum amount allowed pursuant to 740 ILCS/4(d) andlor any other applicable
          provision of law;

          Reimbursement for reasonable expenses which Relator incurred in connection with this
          action;

          An award of reasonable attorneys' fees and costs; and

          Such further relief as this Court deems equitable and just.


                                          COUNT THIRTEEN

             VIOLATION OF THE INDIANA FALSE CLAIMS AND WHISTLEBLOWER
                                PROTECTION ACT

          317.      Relator re-alleges and incorporates the allegations in the preceding paragraphs as

if fully set forth herein. Additionally, Relator states that the course of conduct described in this

Complaint was a nationwide practice of Defendants.            Some or all Defendants conduct business

in the State of Indiana. Upon infonnation and belief, some or all of the Defendants' actions

described herein occurred in Indiana as well.


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          318.      This is a qui tarn action brought by Relator and the State of Indiana to recover

treble damages and civil penalties under the Indiana False Claims and Whistleblower Protection

Act, IC 5-11-5.5      etseq.


          319.     IC 5-1 1-5.5-2 provides liability for any person      who
                    (1) presents a false claim to the state for payment or approval;

                   (2) iriakes or uses a false record or statement to obtain payment or approval of a
                   false claim from the state;

                   (3) with intent to defraud the state, delivers less money or property to the state
                   than the amount recorded on the certificate or receipt the person receives from the
                   state;

                   (4) with intent to defraud the state, authorizes issuance of a receipt without
                   knowing that the information on the receipt is true;

                   (5) receives public property as a pledge of an obligation on a debt from an
                   employee who is not lawfully authorized to sell or pledge the property;

                   (6) makes or uses a false record or statement to avoid an obligation to pay or
                   transmit property to the state;

                   (7) conspires with another person to perform an act described in subdivisions (1)
                   through (6); or

                   (8) causes or iiiduces another person to perform an act described in subdivisions
                   (1) through (6).


          320.     In addition, IC 12-15-24-1 & IC 12-15-24-2 prohibits the provision of a kickback

or bribe in connection with the ftirnishing of items or services or the making or receipt of the

payment under the Indiana Medicaid program.

         321.      Defendants violated IC 12-15-24-1 & IC 12-15-24-2 by engaging in the

fraudulent and illegal practices described herein.

         322.      Defendants furthermore violated IC 5-11-5.5-2 and knowingly caused hundreds of

thousands of false claims to be made, used and presented to the State of Indiana by its violation
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of federal and state laws, including IC 12-15-24-1 & IC 12-15-24-2 and the AKS, as described

herein.

          323.     The State of Indiana, by and through the Indiana Medicaid program and other

state health care programs, and unaware of Defendants' fraudulent and illegal practices, paid the

claims submitted by health care providers and third party payers in connection therewith.

          324.     Compliance with applicable Medicare, Medicaid and the various other federal and

state laws cited herein is an implied, and upon infonnation and belief, also an express condition

of payment of claims submitted to the State of Indiana in connection with Defendants' fraudulent

and illegal practices.

          325.     Had   time   State of Indiana known that Defendants were violating the federal and

state laws cited herein, it would not have paid the claims submitted by health care providers and

third party payers in connection with Defendants' fraudulent and illegal practices.

          326.     As a result of Defendants' violations of IC 5-1 1-5.5-2, the State of Indiana has

been damaged in an amount far in excess of millions of dollars exclusive of interest.

          327.     Mr. Ryan Bliss is a private person with direct and independent knowledge of the

allegation of this Complaint, who has brought this action pursuant to IC 5-11-5.5-4 on behalf of

himself and the State of Indiana.

          328.     This court is requested to accept supplemental jurisdiction of this related state

claim   as it is predicated upon the exact same facts as the federal claim, and merely asserts

separate damage to the State of Indiana in the operation of its Medicaid program.

          329.     WHEREFORE, Relator respectfully requests this Court to award the following

damages to the following parties and against Defendants:

To the STATE OF INDIANA:

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          Three times the amount of actual damages which the State of Indiana has sustained as a
          result of Defendants' fraudulent and illegal practices;

          Prejudgment interest; and

          All costs incurred in bringing this action.

To RELATOR:

          The maximum amount allowed pursuant to IC 5-11-5.5-6 and/or any other applicable
          provision of law;

          Reimbursement for reasonable expenses which Relator incurred in connection with this
          action;

         An award of reasonable attorneys' fees and costs; and

          Such further relief as this Court deems equitable and just.


                                                COUNT FOURTEEN

                                VIOLATION OF THE IOWA FALSE CLAIMS ACT

         330.      Relator re-alleges and incorporates the allegations in the preceding paragraphs as

if fully set forth herein. Additionally, Relator states that the course of conduct described in this

Complaint was a nationwide practice of Defendants.                       Some or all of the Defendants conduct

business in the State of Iowa. Upon information and belief, some or all of the Defendants'

actions described herein occurred in Iowa as well.

         331.      This is a qui tam action brought by Relator and the State of Iowa to recover treble

damages and civil penalties under I.C.A.             §   685.1, etseq.

         332.      I.C.A.   §   685.2, provides liability, in relevant part, for any person who:

                   a. Knowingly presents, or causes to be presented, a false or fraudulent
                   claim for payment or approval.

                   b. Knowingly makes, uses, or causes to be made or used, a false record or
                   statement material to a false or fraudulent claim.

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                  c. Conspires to violate any          of these provisions.

         333.      Defendants violated IC I.C.A.             §   685.2 by engaging in the fraudulent and illegal

practices described herein.

         334.      Defendants furthermore violated I.C.A.                 §   685.2 and knowingly caused hundreds

of thousands of false claims to be made, used and presented to the State of Indiana by its

violation of federal and state laws, as described herein.

         335.      The State of Iowa, by and through the Iowa Medicaid program and other state

health care programs, and unaware of Defendants' fraudulent and illegal practices, paid the

claims submitted by health care providers and third party payers in connection therewith.

         336.      Compliance with applicable Medicare, Medicaid and the various other federal and

state laws cited herein is an implied, and upon infonnation and belief, also an express condition

of payment of claims submitted to the State of Iowa in connection with Defendants' fraudulent

and illegal practices.

         337.      Had the State of Iowa known that Defendants were violating the federal and state

laws cited herein, it would not have paid the claims submitted by health care providers and third

party payers in connection with Defendants' fraudulent and illegal practices.

         338.      As a result of Defendants' violations of I.C.A.               §   685.2, the State of Iowa has been

damaged in an amoimt far in excess of millions of dollars exclusive of interest.

         339.      Mr. Ryan Bliss is a private person with direct and independent knowledge of the

allegation of this Complaint, who has brought this action pursuant to I.C.A.                      §   685.3 on behalf of

himself and the State of Iowa.




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          340.      This court is requested to accept supplemental jurisdiction of this related state

claim as it is predicated upon the exact same facts as the federal claim, and merely asserts

separate damage to the State of Indiana in the operation of its Medicaid program.

          341.      WHEREFORE, Relator respectfully requests this Court to award the following

damages to the following parties against Defendants:

To the STATE OF IOWA:

          Three times the amount of actual damages which the State of Iowa has sustained as a
          result of Defendants' fraudulent and illegal practices;

          Prejudgment interest; and

          All costs incurred in bringing this action.

To RELATOR:

          The maxinnim amount allowed pursuant to I.C.A.                 §   685.3 andlor any other applicable
          provision of law;

          Reimbursement for reasonable expenses which Relator incurred in connection with this
          action;

          An award of reasonable attorneys' fees and costs; and

          Such further relief as this Court deems equitable and just.


                                                  COUNT FIFTEEN

         VIOLATION OF THE LOUISIANA MEDICAL ASSISTANCE PROGRAMS
                              INTEGRITY LAW

          342.     Relator re-alleges and incorporates the allegations in the preceding paragraphs as

if fully set forth herein. Additionally, Relator states that the course of conduct described in this

Complaint was a nationwide practice of Defendants. Some or all of the Defendants conduct

business in the State of Louisiana. Upon information and belief, some or all of the Defendants'

actions described herein occurred in Louisiana as well.
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         343.      This is a qui tam action brought by Relator and the State of Louisiana to recover

treble damages and civil penalties under the Louisiana Medical Assistance Programs Integrity

Law, La Rev. Stat. Ann         §   437.1 et seq.

         344.      La. Rev. Stat. Ann.       §   438.3 provides

                   No person shall knowingly present or cause to be presented a false or
                   fraudulent claim;

                   No person shall knowingly engage in misrepresentation to obtain, or attempt to
                   obtain, payment from medical assistance programs funds;

                   No person shall conspire to defraud, or attempt to defraud, the medical assistance
                   programs through misrepresentation or by obtaining, or attempting to obtain,
                   payment for a false or fraudulent claim;

         345.      In addition, La. Rev. Stat.           Anmi.     43 8.2(A) prohibits the solicitation, receipt,

offering or payment of any financial inducements, including kickbacks, bribes, rebates, etc.,

directly or indirectly, overtly or covertly, in cash or in kind, for furnishing health care goods or

services paid for in whole or in part by the Louisiana medical assistance programs.

         346.      Defendants violated La. Rev. Stat. Ann                §   438.2(A) by engaging in the fraudulent

and illegal practices described herein.

         347.      Defendants flirthennore violated La. Rev. Stat. Ann.                    §   438.3 and knowingly

caused hundreds of thousands of false claims to be made, used and presented to the State of

Louisiana by their violation of federal and state laws, including La. Rev. Stat. Ann.                   §   438.2(A)

and the AKS, as described herein.

         348.      The State of Louisiana, by and through the Louisiana Medicaid program and other

state health care programs, and unaware of Defendants' fraudulent and illegal practices, paid the

claims submitted by health care providers and third party payers in connection therewith.



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          349.      Compliance with applicable Medicare, Medicaid and the various other federal and

state laws cited herein was an implied, and upon information and belief, also an express

condition of payment of claims submitted to the State of Louisiana in connection with

Defendants' fraudulent and illegal practices.

          350.      Had the State of Louisiana known that Defendants were violating the federal and

state laws cited herein, it would not have paid the claims submitted by health care providers and

third party payers in connection with Defendants' fraudulent and illegal practices.

          351.      As a result of Defendants' violations of La. Rev. Stat. Ann.   §   438.3 the State of

Louisiana has been damaged in an amount far in excess of millions of dollars exclusive of

interest.

          352.      Mr. Ryan Bliss is a private person with direct and independent knowledge of the

allegations of this Complaint, who has brought this action pursuant to La. Rev. Stat. Ann.             §


439.1(A) on behalf of himself and the State of Louisiana.

          353.      This Court is requested to accept supplemental jurisdiction of this related state

claim as it is predicated upon the exact same facts as the federal claim, and merely asserts

separate damage to the State of Louisiana in the operation of its Medicaid program.

          354.      WHEREFORE, Relator respectfully requests this Court to award the following

damages to the following parties and against Defendants:

To the STATE OF LOUISIANA:

          Three times the amount of actual damages which the State of Louisiana has sustained as a
          result of Defendants' fraudulent and illegal practices;

          A civil penalty of not less than $5,000 and not more than $10,000 for each false claim
          which Defendants caused to be presented to the State of Louisiana;

          Prejudgment interest; and

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         All costs incurred in bringing this action.


To RELATOR:

         The maximum amount allowed pursuant to La. Rev. Stat.             §   439.4(A) andlor any other
         applicable provision of law;

         Reimbursement for reasonable expenses which Relator incurred in connection with this
         action;

         An award or reasonable attorneys' fees and costs; and

         Such further relief as this Court deems equitable and just.


                                                 COUNT SIXTEEN

   VIOLATIONS OF THE MARYLAND FALSE CLAIMS AGAINST STATE HEALTH
               PLANS AND STATE HEALTH PROGRAMS ACT

         355.      Relator re-alleges and incorporate the allegations in the preceding paragraphs as if

fully set forth herein. Additionally, Relators state that the course of conduct described in this

Complaint was a nationwide, continuous practice of Defendants. Some or all of time Defendants

conduct business in the State of Maryland. Upon information and belief, some or all of the

Defendants' actions described herein occurred in Maryland as well.

         356.      This is a qui tarn action brought by Relator and the State of Maryland to recover

treble damages and civil penalties under the Maryland's False Claims Against State Health Plans

and State Health Programs Act, MD HG                 §   2-601   et seq.


         357.      MD HG § 2-602(a) provides liability for any person who:

                   (1) Knowingly presents or cause to be presented a false or fraudulent claim for
                   payment or approval;

                   (2) Knowingly makes, uses, or cause to be made or used a false record or
                   statement material to a false or fraudulent claim;


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                    (3) Conspires to commit a violation under this subtitle;

                   (4) Has possession, custody, or control of money or other property used by or on
                   behalf of the State under a State health plan or a State health program and
                   knowingly delivers or cause to be delivered to the State less than all of that money
                    or other property;

                   (5)(i) Is authorized to make or deliver a receipt or other document certifying
                   receipt of money or other property used or to be used by the State under a State
                   health plan or a State health program; and

                   (ii) Intending to defraud the State or the Department, makes or delivers a receipt
                   or document knowing that the infonnation contained in the receipt or document is
                   not true;

                   (6) Knowingly buys or receives as a pledge of an obligation or debt publicly
                   owned property from an officer, employee, or agent of a State health plan or a
                   State health program who lawfully may not sell or pledge the property;

                   (7) Knowingly makes, uses, or cause to be made or used, a false record or
                   statement material to an obligation to pay or transmit money or other property to
                   the State;

                   (8) Knowingly conceals, or knowingly and improperly avoids or decreases, an
                   obligation to pay or transmit money or other property to the State; or

                   (9) Knowingly makes any other false or fraudulent claim against                   a   State health
                   plan or a State health program.

         358.      Defendants violated MD HG              §   2-602(a) by continuously engaging in the

fraudulent and illegal practices described herein.

         359.      Defendants ftirthennore violated MD HG                §   2-601   et seq.   and knowingly caused

hundreds of thousands of false claims to be made, used, and presented to the State of Maryland

by its continuous violation of federal and state laws, including the AKS, as described herein.

         360.      The State of Maryland, by and through the Maryland Medicaid program and other

state health care programs, and unaware of Defendants' fraudulent and illegal practices, paid the

claims submitted by health care providers and third party payers in connection therewith.


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         361.      Compliance with applicable Medicare, Medicaid, and the various other federal

and state laws cited herein was an implied, and upon infonnation and belief, also an express

condition of payment of claims submitted to the State of Maryland in connection with Merck's

fraudulent and illegal practices.

         362.      Had the State of Maryland known that Defendants were violating the federal and

state laws cited herein, it would not have paid the claims submitted by health care providers and

third party payers in connection with Defendants' fraudulent and illegal practices.

         363.      As a result of Defendants' violations of MD HG         §   2-601   etseq.,   the State of

Maryland has been damaged in an amount far in excess of millions of dollars exclusive of

interest.

         364.      Mr. Ryan Bliss is a private persons with direct and independent knowledge of the

allegations in this Complaint, who has brought this action pursuant to MD HG § 2-601                   etseq.,


on behalf of themselves and the State of Maryland.

         365.      This Court is requested to accept supplemental jurisdiction of this related state

claim   as it is predicated upon the exact same facts as the federal claim, and merely asserts

separate damage to the State of Maryland in the operation of its Medicaid program.

         366.      WHEREFORE, Relator respectfully request this Court to award the following

damages to the following parties and against Defendants:

To the STATE OF MARYLAND:

         Three times the amount of actual damages which the State of Maryland has sustained as a
         result of Defendants' fraudulent and illegal practices;

         A civil penalty of not more than S 10,000 for each false claim which Defendants caused to
         be presented to the State of Maryland;

          Prejudgment interest; and
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         All costs incurred in bringing this action.

To RELATOR:

         The maximum amount allowed pursuant to MD HG § 2-602(b)(l) and/or any other
         applicable provision of law;

         Reimbursement for reasonable expenses which Relator incurred in connection with this
         action;

         An award or reasonable attorneys' fees and costs; and

         Such further relief as this Court deems equitable and just.


                                               COUNT SEVENTEEN

                VIOLATION OF THE MASSACHUSETTS FALSE CLAIMS ACT

         367.      Relator re-alleges and incorporates the allegations in the preceding paragraphs as

if fully set forth herein. Additionally, Relator states that the course of conduct described in this

Complaint was a nationwide practice of Defendants.                        Some or all of the Defendants conduct

business in the Commonwealth of Massachusetts. Upon information and belief, some or all of

the Defendants' actions described herein occurred in Massachusetts as well.

         368.      This is a qui tarn action brought by Relator and State of Massachusetts for treble

damages and penalties under Massachusetts False Claims Act, Mass. Gen. Laws Ann. Chap 12                       §


5(A) et seq.

         369.      Mass. Gen. Laws Ann. Chap 12               §   5B provides liability for any person   who
                   Knowingly presents, or causes to be presented, a false or fraudulent claim for
                   payment or approval;
                   Knowingly makes, uses, or causes to be made or used, a false record or statement
                   to obtain payment or approval of a claim by the commonwealth or any political
                   subdivision thereof,



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                   Conspires to defraud the commonwealth or any political subdivision thereof
                   through the allowance or payment of a fraudulent claim;

                   Is a beneficiary of an inadvertent submission of a false claim to the common
                   wealth or political subdivision thereof, subsequently discovers the falsity of the
                   claim, and fails to disclose the false claim to the commonwealth or political
                   subdivision within a reason able time after discovery of the false claim.


          370.     In addition, Mass. Gen. Laws Ann. Chap.               1   l8E   § 41   prohibits the solicitation,

receipt or offering of any remuneration, including any bribe ore rebate, directly or indirectly,

overtly or covertly, in cash or in kind in return for furnishing any good, service or item for which

payment may be made in whole or in part under the Massachusetts Medicaid program.

          371.     Defendants violated Mass. Gen. Laws Ami. Chap.                  1   l8E   §   41 by engaging in the

fraudulent and illegal practices described herein.

          372.     Defendants furthermore violated Mass. Gen. Laws Ann. Chap 12                             §   5B and

knowingly caused hundreds of thousands of false claims to be made, used and presented to the

State of Massachusetts by their violation of federal and state laws, including Mass. Gen. Laws

Ann. Chap. 1 18E       § 41   and the AKS, as described herein.

         373.      The State of Massachusetts, by and through the Massachusetts Medicaid program

and other state health care programs, and unaware of Defendants' fraudulent and illegal

practices, paid the claims submitted by health care providers and third party payers in connection

therewith.

         374.      Compliance with applicable Medicare, Medicaid and the various other federal and

state laws cited herein was an implied, and upon infonnation aiid belief, also an express

condition of payment of claims submitted to the State of Massachusetts in connection with

Defendants' fraudulent and illegal practices.


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         375.      Had the State of Massachusetts known that Defendants were violating the federal

and state laws cited herein, it would not have paid the claims submitted by health care providers

and third party payers in connection with Defendants' fraudulent and illegal practices.

         376.      As a result of Defendants' violations of Mass. Gen. Laws Ann. Chap. 12    §   5B the

State of Massachusetts has been damaged in an amount far in excess of millions of dollars

exclusive of interest.

         377.      Mr. Ryan Bliss is a private person with direct and independent knowledge of the

allegations of the Compliant, who has brought this action pursuant to Mass. Gen. Laws Ann

Chap. 12    §   5(c(2) on behalf of himself and the State of Massachusetts.

         378.      This Court is requested to accept supplemental jurisdiction of this related state

claim as it is predicated upon that exact same facts as the federal claim, and merely asserts

separate damage to the State of Massachusetts in the operation of its Medicaid program.

         379.      WHEREFORE, Relator respectfully requests this Court to award the following

damages to the following parties and against Defendants:

To the STATE OF MASSACHUSETTS:

         Three times the amount of actual damages which that State of Massachusetts has
         sustained as a result of Defendants' fraudulent and illegal practices;

         A civil penalty of not less than $5,000 and not more than $10,000 for each false claim
         which Defendants caused to be presented to the State of Massachusetts;

         Prejudgment interest; and

         All costs incurred in bringing this action.

To RELATOR:


         The maximum amount allowed pursuant to Mass. Gen. Laws Ann. Chap. 12          §   SF andlor
         any other applicable provision of law;

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          Reimbursement for reasonable expenses which Relator incurred in connection with this
          action;

          An award of reasonable attorneys' fees and costs; and

          Such further relief as this Court deems equitable and just.


                                                 COUNT EIGHTEEN

            VIOLATION OF THE MICHIGAN MEDICAID FALSE CLAIMS ACT

          380.     Relator re-alleges and incorporates the allegations in the preceding paragraphs as

if fully set forth herein. Additionally, Relator states that the course of conduct described in this

Complaint was a nationwide practice of Defendants. Defendants conduct business in Michigan.

Upon infonnation and belief, Defendants' actions described herein occurred in Michigan as well.

          381.     This is a qui tam action brought by Relator and State of Michigan for treble

damages and penalties under Michigan Medicaid False Claim Act, M.C.L.A. 400.60 1          et seq.


          382.     M.C.L.A. 400.607 provides liability for any person who, among other   things
                   Causes to be made or presented to an employee or officer of this state a claim
                   under the social welfare act, Act No. 280 of the Public Acts of 1939, as amended,
                   being sections 400.1 to 400.121 of the Michigan Compiled Laws, upon or against
                   the state, knowing the claim to be false.

                   Presents or causes to be made or presented a claim under the social welfare act,
                   Act No. 280 of the Public Acts of 1939, which lie or she knows falsely represents
                   that the goods or services for which the claim is made were medically necessary
                   in accordance with professionally accepted standards.


          383.     In addition, M.C.L.A. 400.604 prohibits the solicitation, receipt or offering of a

kickback or bribe in connection with the furnishing of goods or services for which payment is or

may be made in whole or in part pursuant to the Michigan Medicaid program.

          384.     Defendants violated M.C.L.A. 400.604 by engaging in the fraudulent and illegal

practices described herein.
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          385.      Defendants furthermore violated M.C.L.A. 400.607 and knowingly caused

hundreds of thousands of false claims to be made, used and presented to the State of Michigan by

their violation of federal and state laws, including M.C.L.A. 400.604 and the AKS, as described

herein.

          386.      The State of Michigan, by and through the Michigan Medicaid program and other

state health care programs, and unaware of Defendants' fraudulent and illegal practices, paid the

claims submitted by health care providers and third party payers in connection therewith.

          387.      Compliance with applicable Medicare, Medicaid and the various other federal and

state laws cited herein was an implied, and upon information and belief, also an express

condition of payment of claims submitted to the State of Michigan in connection with

Defendants' fraudulent and illegal practices.

          388.     Had the State of Michigan known that Defendants were violating the federal and

state laws cited herein, it would not have paid the claims subniitted by health care providers and

third party payers in connection with Defendants' fraudulent and illegal practices.

          389.     As a result of Defendants' violations of M.C.L.A. 400.607 the State of Michigan

has been damaged in an amount far in excess of millions of dollars exclusive of interest.

          390.     Mr. Ryan Bliss is a private person with direct and independent knowledge of the

allegations of the Compliant, who has brought this action pursuant to M.C.L.A. 400.6 lOa on

behalf of himself and the State of Michigan.

          391.     This Court is requested to accept supplemental jurisdiction of this related state

claim   as it is predicated upon that exact same facts as the federal claim, and merely asserts

separate damage to the State of Michigan in the operation of its Medicaid program.



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          392.      WHEREFORE, Relator respectfully requests this Court to award the following

damages to the following parties and against Defendants:

To the STATE OF MICHIGAN:

          All damages to which the State of Michigan is entitled pursuant to M.C.L.A. 400.612;

          Civil penalties for each false claim which Defendants caused to be presented to the State
          of Michigan;

          Prejudgment interest; and

          All costs incurred in bringing this action.


To RELATOR:

          The maximum amount allowed pursuant to M.C.L.A. 400.61 Oa(9) and/or any other
          applicable provision of law;

          Reimbursement for reasonable expenses which Relator incurred in connection with this
          action;

          An award of reasonable attorneys' fees and costs; and

          Such further relief as this Court deems equitable and just.


                                                 COUNT NINETEEN

                      VIOLATION OF THE MONTANA FALSE CLAIMS ACT

          393.     Relator re-alleges and incorporates the allegations in the preceding paragraphs as

if fully set forth herein. Additionally, Relator states that the course of conduct described in this

Complaint was a nationwide practice of Defendants. Some or all of the Defendants conduct

business in Montana. Upon infonnation and belief, some or all of the Defendants' actions

described herein occurred in Montana as well.

          394.     This is a qui tam action brought by Relator and State of Montana for treble

damages and penalties under Montana False Claims Act, MT ST 17-8-401          et seq.

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          395.     MT ST 17-8-403 provides liability for any person      who
                  knowingly presenting or causing to be presented to an officer or employee of the
                  governmental entity a false claim for payment or approval;

                  knowingly making, using, or causing to be made or used a false record or
                  statement to get a false claim paid or approved by the govermnental entity;

                  conspiring to defraud the governmental entity by getting a false claim allowed or
                  paid by the governmental entity.


          396.     In addition, MT ST 45-6-313 prohibits the solicitation, receipt or offering any

remuneration, including but not limited to a kickback, bribe, or rebate, other than an amount

legally payable under the medical assistance program, for furnishing services or items for which

payment may be made under the Montana Medicaid program.

          397.     Defendants violated MT ST 45-6-313 by engaging in the fraudulent and illegal

practices described herein.

          398.     Defendants furthermore violated MT ST 17-8-403 and knowingly caused

hundreds of thousands of false claims to be made, used and presented to the State of Montana by

their violation of federal and state laws, including MT ST 45-6-313 and the AKS, as described

herein.

          399.     The State of Montana, by and through the Montana Medicaid program and other

state health care programs, and unaware of Defendants' fraudulent and illegal practices, paid the

claimus   submitted by health care providers and third party payers in connection therewith.

          400.     Compliance with applicable Medicare, Medicaid and the various other federal and

state laws cited herein was an implied, and upon infonnation and belief, also an express

condition of payment of claims submitted to the State of Montana in connection with

Defendants' fraudulent and illegal practices.

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         401.      Had the State of Montana known that Defendants were violating the federal and

state laws cited herein, it would not have paid the claims submitted by health care providers and

third party payers in connection with Defendants' fraudulent and illegal practices.

         402.      As a result of Defendants' violations of MT ST 17-8-403 the State of Montana

has been damaged in an amount far in excess of millions of dollars exclusive of interest.

         403.      Mr. Ryan Bliss is a private person with direct and independent knowledge of the

allegations of the Compliant, who has brought this action pursuant to MT ST 17-8-406 on behalf

of himself and the State of Montana.

         404.      This Court is requested to accept supplemental jurisdiction of this related state

claim as it is predicated upon that exact same facts as the federal claim, and merely asserts

separate damage to the State of Montana in the operation of its Medicaid program.

         405.      WHEREFORE, Relator respectfully requests this Court to award the following

damages to the following parties and against Defendants:

To the STATE OF MONTANA:

         Three times tIme amount of actual damages which that State of Montana has sustained as a
         result of Defendants' fraudulent and illegal practices;

         A civil penalty of $10,000 for each false claim which Defendants caused to be presented
         to the State of Montana;

         Prejudgment interest; and

         All costs incurred in bringing this action.


To RELATOR:

         The maximum amount allowed pursuant to MT ST 17-8-410 andlor any other applicable
         provision of law;

         Reimbursement for reasonable expenses which Relator incurred in connection with this
         action;
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         An award of reasonable attorneys' fees and costs; and

         Such ftirther relief as this Court deems equitable and just.


                                                  COUNT TWENTY

                      VIOLATION OF THE NEVADA FALSE CLAIMS ACT

         406.     Relator re-alleges and incorporates the allegations in the preceding paragraphs as

if filly set forth herein. Additionally, Relator state that the course of conduct described in this

Complaint was a nationwide practice of Defendants.                      Some or all of the Defendants conduct

business in the State of Nevada. As set forth above, some or all of the Defendants' actions

described herein occulTed in Nevada as well.

         407.     This is a qui tam action brought by Relator and the State of Nevada to recover

treble damages and civil penalties under the Nevada False Claims Act, N.R.S.               §   357.0 10 et. seq.

         408.     N.R.S.    §   357.040(1) provides liability for any person      who
                  Knowingly presents or causes to be presented a false claim for payment or
                  approval;

                  Knowingly makes or uses, or causes to be made or used, a false record or
                  statement to obtaimi payment or approval of a false claim;

                  Conspires to defraud by obtaining allowance or payment of a false claim;

                  Is a beneficiary of an inadvertent submission of a false claim and, after
                  discovering the falsity of the claim, fails to disclose the falsity to the state or
                  political subdivision within a reasonable time.


         409.     In addition, N.R.S.        §   422.560 prohibits the solicitation, acceptance or receipt of

anything of value in connection with the provision of medical goods or services for which

payment may be made in whole or in part under the Nevada Medicaid program.


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          410.     Defendants violated N.R.S.            §   422.560 by engaging in the fraudulent and illegal

practices described herein.

          411.     Defendants furthennore violated N.R.S.                §   357.040(1) and knowingly caused

hundreds of thousands of false claims to be made, used and presented to the State of Nevada by

their violation of federal and state laws, including N.R.S.              §   422.560, and the AKS, as described

herein.

          412.     The State of Nevada, by and through the Nevada Medicaid program and other

health care programs, and unaware of Defendants' fraudulent and illegal practices, paid the

claims submitted by health care providers and third party payers in connection therewith.

          413.     Compliance with applicable Medicare, Medicaid and the various other federal and

state laws cited herein was an implied, and upon information and belief, also an express

condition of payment of claims submitted to the State of Nevada in connection with Defendants'

fraudulent and illegal practices.

          414.     Had the State of Nevada known that Defendants were violating the federal and

state laws cited herein, it would not have paid the claims submitted by health care providers and

third party payers in connection with Defendants' fraudulent and illegal practices.

          415.     As a result of Defendants' violations of N.R. S.            §   357.040(1) the State of Nevada

has been damaged in an amount far in excess or millions of dollars exclusive of interest.

          416.     Mr. Ryan Bliss is a private person with direct and independent knowledge of the

allegations of this Complaint, who has brought this action pursuant to N.R.S.                    §   357.080(1)   011


behalf of himself and the State of Nevada.




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          417.      This Court is requested to accept supplemental jurisdiction of this related state

claim as it is predicated upon the exact same facts as the federal claim, and merely asserts

separate damage to the State of Nevada in the operation of its Medicaid program.

          418.     WHEREFORE, Relator respectfully requests this Court to award the following

damages to the following parties and against Defendants:

To the STATE OF NEVADA:


          Three times the amoumit of actual damages which the State of Nevada has sustained as a
          result of Defendants' fraudulent and illegal practices;

         A civil penalty of not less than $2,000 and not more than $10,000 for each false claim
         which Defendants caused to be presented to the State of Nevada;

          Prejudgment interest; and

         All costs incurred in bringing this action.

To RELATOR:

         The maximum amount allowed pursuant to N.R. S                   §   357.210 andlor any other applicable
         provision of law;

         Reimbursement for reasonable expenses which Relator incurred in connection with this
         action;

         An award of reasonable attorneys' fees and costs; and

         Such further relief as this Court deems equitable and just.


                                             COUNT TWENTY-ONE

                 VIOLATION OF THE NEW HAMPSHIRE FALSE CLAIMS ACT

         419.      Relator re-alleges and incorporates the allegations in the preceding paragraphs as

if fully set forth herein. Additionally, Relator states that the course of conduct described in this

Complaint was a nationwide practice of Defendants. Some or all of the Defendants conduct

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business in the New Hampshire. Upon information and belief, some or all of the Defendants'

actions described herein occurred in New Hampshire as well.

          420.      This is a qui tam action brought by Relator and State of New Hampshire for treble

damages and penalties under New Hampshire False Claims Act, N.H. Rev. Stat.                        §   167:61-b et

seq.


          421.     N.H. Rev. Stat.      §   167:61-b provides liability for aimy person   who
                    Knowingly presents, or causes to be presented, to an officer or employee of the
                    department, a false or fraudulent claim for payment or approval.

                   Knowingly makes, uses, or causes to be made or used, a false record or statement
                   to get a false or fraudulent claim paid or approved by the department.

                   Conspires to defraud the department by getting a false or fraudulent claim allowed
                   or paid.

          422.     Defendants violated N.H. Rev. Stat.              §    167:61-b and knowingly caused hundreds

of thousands of false claims to be made, used and presented to the State of New Hampshire by its

violation of federal and state laws, including the AKS as described herein.

          423.     The State of New Hampshire, by and through the New Hampshire Medicaid

program and other state health care programs, and imaware of Defendants' fraudulent and illegal

practices, paid the claims submitted by health care providers and third party payers in connection

therewith.

         424.      Compliance with applicable Medicare, Medicaid and the various other federal and

state laws cited herein was an implied, and upon information and belief, also an express

condition of payment of claims submitted to the State of New Hampshire in connection with

Defendants' fraudulent and illegal practices.




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         425.      Had the State of New Hampshire known that Defendants were violating the

federal and state laws cited herein, it would not have paid the claims submitted by health care

providers and third party payers in connection with Defendants' fraudulent and illegal practices.

         426.      As a result of Defendants' violations of N.H. Rev. Stat.      §   167:61-b, the State of

New Hampshire has been damaged in an amount far in excess of millions of dollars exclusive of

interest.

         427.      Mr. Ryan Bliss is a private person with direct and independent knowledge of the

allegations of the Compliant, who has brought this action pursuant to N.H. Rev. Stat.           §   167:61-c

on behalf of himself and the State of New Hampshire.

         428.      This Court is requested to accept supplemental jurisdiction of this related state

claim   as it is predicated upon that exact same facts as the federal claim, and merely asserts

separate damage to the State of New Hampshire in the operation of its Medicaid program.

         429.      WHEREFORE, Relator respectfiully request this Court to award the following

damages to the following parties and against Defendants:

To the STATE OF NEW HAMPSHIRE:

         Three times the amount of actual damages which that State of New Hampshire has
         sustained as a result of Defendants' fraudulent and illegal practices;

         A civil penalty of not less than $5,000 and not more than $10,000 for each false claim
         which Defendants caused to be presented to the State of New Hampshire;

         Prejudgment interest; and

         All costs incurred in bringing this action.




         The maximum amount allowed pursuant to N.H. Rev. Stat.          §   167:61-e audlor any other
         applicable provision of law;

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         Reimbursement for reasonable expenses which Relator incurred in connection with this
         action;

         An award of reasonable attorneys' fees and costs; and

         Such further relief as this Court deems equitable and just.


                                             COUNT TWENTY-TWO

                    VIOLATION OF THE NEW JERSEY FALSE CLAIMS ACT

         430.      Relator re-alleges and incorporates the allegations in the preceding paragraphs as

if fuily set forth herein. Additionally, some or all of the Defendants conduct business in New

Jersey. Upon infonnation and belief, some or all of the Defendants' actions described herein

occurred in New Jersey as well.

         431.      This is a qui tam action brought by Relator and State of New Jersey for treble

damages and penalties imder New Jersey False Claims Act, N.J.S.A. 2A:32C-1 et seq.

         432.      N.J.S.A. 2A:32C-3 provides liability for any person    who
                   Knowingly presents or causes to be presented to an employee, officer or agent of
                   the State, or to any contractor, grantee, or other recipient of State funds, a false or
                   fraudulent claim for payment or approval;

                   Knowingly makes, uses, or causes to be made or used a false record or statement
                   to get a false or fraudulent claim paid or approved by the State;

                   Conspires to defraud the State by getting a false or fraudulent claim allowed or
                   paid by the State.

         433.      In addition, N.J.S.A. 30:4D-l7 prohibits solicitation, offers, or receipt of any

kickback, rebate or bribe in connection with the furnishing of items or services for which

payment is or may be made in whole or in part under the New Jersey Medicaid program, or the

furnishing of items or services whose cost is or may be reported in whole or in part in order to

obtain benefits or payments under New Jersey Medicaid.

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          434.     Defendants violated N.J. S.A. 30:4D- 17 by engaging in the fraudulent and illegal

practices described herein.

          435.     Defendants furthermore violated NJ.S.A. 2A:32C-3 and knowingly caused

hundreds of thousands of false claims to be made, used and presented to the State of Nevada by

their violation of federal and state laws, including N.J.S.A. 30:4D-17 and the AKS, as described

herein.

          436.     The State of New Jersey, by and through the New Jersey Medicaid program and

other state health care programs, and unaware of Defendants' fraudulent and illegal practices,

paid the claims submitted by health care providers and third party payers in connection

therewith.

          437.     Compliance with applicable Medicare, Medicaid and the various other federal and

state laws cited herein was an implied, and upon information and belief, also an express

condition of payment of claims submitted to the State of New Jersey in connection with

Defendants' fraudulent and illegal practices.

          438.     Had the State of New Jersey known that Defendants were violating the federal

and state laws cited herein, it would not have paid the claims submitted by health care providers

and third party payers in connection with Defendants' fraudulent and illegal practices.

          439.     As a result of Defendants' violations of N.J.S.A. 2A:32C-3 the State of New

Jersey has been damaged in an amount far in excess of millions of dollars exclusive of interest.

          440.     Mr. Ryan Bliss is a private person with direct and independent knowledge of the

allegations of the Compliant, who has brought this action pursuant to N.J. S.A. 2A:32C-5 on

behalf of himself and the State of New Jersey.



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          441.      This Court is requested to accept supplemental jurisdiction of this related state

claim    as it is predicated upon that exact same facts as the federal claim, and merely asserts

separate damage to the State of New Jersey in the operation of its Medicaid program.

          442.      WHEREFORE, Relator respectfully requests this Court to award the following

damages to the following parties and against Defendants:

To the STATE OF NEW JERSEY:

          Three times the amount of actual damages which that State of New Jersey has sustained
          as a result of Defendants' fraudulent and illegal practices;

          A civil penalty of not less than $5,000 and not more than $10,000 for each false claim
          which Defendants caused to be presented to the State of New Jersey;

          Prejudgment interest; and

          All costs incurred in bringing this action.

To RELATOR:

        The maximum amount allowed pursuant to N.J.S.A. 2A:32C-7and/or any other applicable
        provision of law;

        Reimbursement for reasonable expenses which Relator incurred in commection with this
        action;

        An award of reasonable attorneys' fees and costs; and

        Such further relief as this Court deems equitable and just.


                                           COUNT TWENTY-THREE

           VIOLATION OF THE NEW MEXICO MEDICAID FALSE CLAIMS ACT AND
                     THE FRAUD AGAINST TAXPAYERS ACT

         443.      Relator re-alleges and incorporates the allegations in the preceding paragraphs as

if fully set forth herein. Additionally, Relator states that the course of conduct described in this

Complaint was a nationwide practice of Defendants.                       Some or all of the Defendants conduct

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business in the State of New Mexico.                       Upon information and belief, some or all of the

Defendants' actions described herein occurred in the State of New Mexico as well.

             444.     This is a qui tam action brought by Relator and the State of New Mexico to

recover treble damages and civil penalties under the New Mexico Medicaid False Claims Act, N.

M. S. A. 1978,         §   27-14-1   et seq.   and the New Mexico Fraud Against Taxpayers Act, N. M. S. A.

 1978,   §   44-9-1   etseq.


             445.     N. M. S. A. 1978,        §   27-14-4 provides liability for any person who-

                      Presents, or causes to be presented, to the state a claim for payment under the
                      Medicaid program knowing that the person receiving a Medicaid benefit or
                      payment is not authorized or is not eligible for a benefit under the Medicaid
                      program

                      Makes, uses or causes to be made or used a record or statement to obtain a false or
                      fraudulent claim under the Medicaid program paid for or approved by the state
                      knowing such record or statement is false

                      Conspires to defraud the state by getting a claim allowed or paid under the
                      Medicaid program knowing that such claim is false or fraudulent

             446.     N.M.S.A. 1978       §    44-9-3 provides liability for any person who-

                      knowingly presents, or causes to be presented, to an employee, officer or agent of
                      the state or to a contractor, grantee or other recipient of state fluids a false or
                      fraudulent claim for payment or approval:
                      knowingly makes or uses, or causes to be made or used, a false, misleading or
                      fraudulent record or statement to obtain or support the approval of or the payment
                      on a false or fraudulent claim;

                      conspires to defraud the state by obtaining approval or payment on a false or
                      fraudulent claim;

                      conspires to make, use or cause to be made or used, a false, misleading or
                      fraudulent record or statement to conceal, avoid or decrease an obligation to pay
                      or transmit money or property to the state.

             447. Defendants violated N. M. S. A. 1978,                  §   27-14-4 and N.M.S.A. 1978   §   44-9-3 by

engaging in the fraudulent and illegal practices described herein.

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           448.    Defendants furthermore violated N. M. S. A. 1978,        §   27-14-4 and N.M.S.A. 1978

§   44-9-3 and knowingly caused thousands of false claims to be made, used and presented to the

State of New Mexico by their violation of federal and state laws, including the AKS, as

described herein.

           449. The State of New Mexico, by and through the State of New Mexico Medicaid

program and other state health care programs, and unaware of Defendants' fraudulent and illegal

practices, paid the claims submitted by health care providers and third payers in connection

therewith.

           450.    Compliance with applicable Medicare, Medicaid and the various other federal and

state laws cited herein was an implied, and upon information and belief, also an express

condition of payment of claims submitted to the State of New Mexico in connection with

Defendants' fraudulent and illegal practices.

           451.    Had the State of New Mexico known that Defendants were violating the federal

and state laws cited herein, it would not have paid the claims submitted by health care providers

and third party payers in connection with Defendants' fraudulent and illegal practices.

          452. As a result of Defendants' violations of N. M. S. A. 1978,                  §    27-14-4 and

N.M.S.A. 1978       §   44-9-3 the State of New Mexico has been damaged in an amount far in excess

of millions of dollars exclusive of interest.

          453. Mr. Ryan Bliss is a private person with direct and independent knowledge of the

allegations of this Complaint, who has brought this action pursuant to N. M. S. A. 1978,           §   27-14-

7   andN. M.    S. A. 1978, § 44-9-5 on        behalf of himself and the State of New Mexico.




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           454.     This Court is requested to accept supplemental jurisdiction of this related state

 claim as it is predicated upon the exact same facts as the federal claim, and merely asserts

 separate damage to the State of New Mexico in the operation of its Medicaid program.

           455. WHEREFORE, Relator respectfully request this Court to award the following

 damages to the following parties and against Defendants:

To the STATE OF NEW MEXICO:

          Three times the amount of actual damages which the State of New Mexico has sustained
          as a result of Defendants' fraudulent and illegal practices;

          A civil penalty of not less than $5,000 and not more than $10,000 for each false claim
          which Defendants caused to be presented to the State of New Mexico;

          Prejudgment interest; and

          All costs incurred in bringing this action.

To RELATOR:

          The maximum amount allowed pursuant to N. M. S. A. 1978,                  §   27-14-9 and N. M. S. A.
          1978, § 44-9-7 and icr any other applicable provision of law;

          Reimbursement for reasonable expenses which Relator incurred iii connection with this
          action;

         An award of reasonable attorneys' fees and costs: and

          Such further relief as this court deems equitable and just.


                                            COUNT TWENTY-FOUR

                     VIOLATION OF THE NEW YORK FALSE CLAIMS ACT

         456.      Relator re-alleges and incorporates the allegations in the preceding paragraphs as

if fully set forth herein. Additionally, Relator              state that the course of conduct described in this

Complaint was a nationwide practice of Defendants. Some or all of the Defendants conduct


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business in the New York. As set forth above, some or all of the Defendants' actions described

herein occurred in New York as well.

          457.      This is a qui tam action brought by Relator and State of New York for treble

damages and penalties under New York False Claims Act, McKinney's State Finance Law                       §   187

etseq.


          458.     McKinney's State Finance Law              § 189    provides liability for any person who

                  Knowingly presents, or causes to be presented, to any employee, officer or agent
                  of the state or a local government, a false or fraudulent claim for payment or
                  approval;

                  Knowingly makes, uses, or causes to be made or used, a false record or statement
                  to get a false or fraudulent claim paid or approved by the state or a local
                  government;

                  Conspires to defraud the state or a local government by getting a false or
                  fraudulent claim allowed or paid.

          459.     Defendants violated         §   189 by engaging in the fraudulent and illegal practices

described herein.

         460.      Defendants furthennore violated                §   189 and knowingly caused hundreds of

thousands of false claims to be made, used and presented to the State of New York by their

violation of federal and state laws, including the AKS, as described herein.

         461.      The State of New York, by and through the New York Medicaid program and

other state health care programs, and unaware of Defendants' fraudulent and illegal practices,

paid the claims submitted by health care providers and third party payers in connection

therewith.

         462.      Compliance with applicable Medicare, Medicaid and the various other federal and

state laws cited herein was an implied, and upon information and belief, also an express


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 condition of payment of claims submitted to the State of New York in connection with

 Defendants' fraudulent and illegal practices.

             463.    Had the State of New York known that Defendants were violating the federal and

 state laws cited herein, it would not have paid the claims submitted by health care providers and

 third party payers in connection with Defendants' fraudulent and illegal practices.

             464.   As a result of Defendants' violations of              §   189 the State   of New York has been
 damaged in an amount far in excess of millions of dollars exclusive of interest.

            465.    Mr. Ryan Bliss is a private person with direct and independent knowledge of the

 allegatioiis of the Compliant, who has brought this action pursuant to McKinney's State Finance

 Law    §   190(2) on behalf of himself and the State of New York.

            466.    This Court is requested to accept supplemental jurisdiction of this related state

claim       as it is predicated upon that exact same facts as the federal claim, and merely asserts

separate dmnage to the State of New York in the operation of its Medicaid program.

            467.    WHEREFORE, Relator respectfully requests this Court to award the following

damages to the following parties and against Defendants:

To the STATE OF NEW YORK:

            Three times the amount of actual damages which that State of New York has sustained as
            a result of Defendants' fraudulent and illegal practices;

            A civil penalty of not less than $5,000 and not more than $10,000 for each false claim
            which Defendants caused to be presented to the State of New York;

            Prejudgment interest; and

            All costs incurred in bringing this action.

To RELATOR:

            The maximum amount allowed pursuant to McKinney's State Finance Law                          190(6)
                                                                                                     §
            and/or any other applicable provision of law;
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            Reimbursement for reasonable expenses which Relator incurred in connection with this
            action;

           An award of reasonable attorneys' fees and costs; and

           Such further relief as this Court deems equitable and just.

                                              COUNT TWENTY-FIVE

                  VIOLATIONS OF THE NORTH CAROLINA FALSE CLAIMS ACT

           468.     Relator re-alleges and incorporate the allegations in the preceding paragraphs as if

 fully set forth herein. Additionally, Relator state that the course of conduct described in this

 Complaint was a nationwide, continuous practice of Defendants. Some or all of the Defendants

 coiiduct business in the State of North Carolina.                      Some or all of the Defendants' actions

described herein occurred in the State of North Carolina as well.

           469.     This is a qui tam action brought by Relator and the State of North Carolina to

recover treble damages and civil penalties under the North Carolina False Claims Act, NC ST                §

 1-605    et seq.


           470.     NC ST    §   1-607(a) provides liability for any person who:

                    (1) Knowingly presents or causes to be presented a false or fraudulent claim for
                    payment or approval;

                     (2) Knowingly makes, uses, or causes to be made or used, a false record or
                    statement material to a false or fraudulent claim;

                     (3) Conspires to commit a violation of subdivision (1), (2), (4), (5), (6), or (7) of
                    this section;

                     4) Has possession, custody, or control of property or money used or to be used
                    by the State and knowingly delivers or causes to be delivered less than all of that
                    money or property;

                     (5) Is authorized to make or deliver a document certifying receipt of property
                    used or to be used by the State and, intending to defraud the State, makes or

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                     delivers the receipt without completely knowing that the information on the
                     receipt is true.

                     (6) Knowingly buys, or receives as a pledge of an obligation or debt, public
                    property from any officer or employee of the State who lawfully may not sell or
                    pledge the property.

                     (7) Knowingly makes, uses, or causes to be made or used, a false record or
                    statement material to an obligation to pay or transmit money or property to the
                    State, or knowingly conceals or knowingly and improperly avoids or decreases an
                    obligation to pay or transmit money or property to the State.

           471.     Defendants violated NC ST             §   1-607(a) by engaging in the fraudulent and illegal

 practices described herein.

           472.     Defendants furthermore violated NC ST                  §   1-607(a) and knowingly caused

 thousands of false claims to be made, used, and presented to the State of North Carolina by its

 continuous violation of federal and state laws, including NC ST § 1-607(a) and the AKS, as

 described herein.

          473.      The State of North Carolina, by and through the State of North Carolina Medicaid

program and other state health care programs, and unaware of Defendants' fraudulent and illegal

practices, paid the claims submitted by health care providers and third payers in connection

therewith.

          474.      Compliance with applicable Medicare, Medicaid, and the various other federal

and state laws cited herein was an implied, and upon infonnation and belief, also an express

condition of payment of claims submitted to the State of North Carolina in connection with

Defendants' fraudulent and illegal practices.

          475.     Had the State of North Carolina known that Defendants were violating the federal

and state laws cited herein, it would not have paid the claims submitted by health care providers

and third party payers in connection with Defendants' fraudulent and illegal practices.

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           476.      As a result of Defendants' violations of NC ST § 1-607(a), the State of North

 Carolina has been damaged in an amount far in excess of millions of dollars exclusive of interest.

           477.     Defendants did not, within 30 days after they first obtained information as to such

 violations, furnish such infonnation to officials of the State responsible for investigating false

 claims violations, did not otherwise fully cooperate with any investigation of the violations, and

 have not otherwise furnished information to the State regarding the claims for reimbursement at

 issue.

          478.      Mr. Ryan Bliss is a private persons with direct and independent knowledge of the

 allegations in this Complaint, who has brought this action pursuant to NC ST           §   1-607(a) on

behalf of themselves and the State of North Carolina.

          479.      This Court is requested to accept supplemental jurisdiction of this related state

claim as it is predicated upon the exact same facts as the federal claini, and merely asserts

separate damage to the State of North Carolina in the operation of its Medicaid program.

          480.      WHEREFORE, Relator respectfhlly request this Court to award the following

damages to the following parties and against Defendants:

 To the STATE OF NORTH CAROLrNA:

          Three times the amount of actual damages which the State of North Carolina has
          sustained as a result of Defendants' fraudulent and illegal practices;

          A civil penalty of not less than $5,000 and not more than $11,000 for each false claim
          which Defendants caused to be presented to the State of North Carolina;

          Prejudgment interest; and

          All costs incurred in bringing this action.

To RELATOR:



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           The maximum amount allowed pursuant NC ST                        §   1-610 andlor any other applicable
           provision of law;

           Reimbursement for reasonable expenses which Relator incurred in connection with this
           action;

           An award of reasonable attorneys' fees and costs; and

           Such further relief as this court deems equitable and just.


                                                COUNT TWENTY-SIX

            VIOLATION OF THE OKLAHOMA MEDICAID FALSE CLAIMS ACT

           481.     Relator re-alleges and incorporates the allegations in the preceding paragraphs as

 if fully set forth herein. Additionally, Relator states that the course of conduct described in this

 Complaint was a nationwide practice of Defendants.                       Some or all of the Defendants conduct

 business in the State of Oklahoma. Upon information and belief, some or all of the Defendants'

 actions described herein occurred in the State of Oklahoma as well.

          482.      This is a qui tam action brought by Relator and the State of Oklahoma to recover

treble damages and civil penalties under the Oklahoma Medicaid False Claims Act, 63 Oki. St.

Ann. § 5053       etseq..


          483.      63 Okl. St. Ann. § 5053.1 provides liability for any person who-

                    Knowingly presents, or causes to be presented, to an officer or employee of the
                    State of Oklahoma, a false or fraudulent claim for payment or approval;

                    Knowingly makes, uses, or causes to be made or used, a false record or statement
                    to get a false or fraudulent claim paid or approved by the state;

                   Conspires to defraud the state by getting a false or fraudulent claim allowed or
                   paid;




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            484.    In addition, 56 OkI. St. Ann.             §   1005 prohibits solicitatioii or acceptance      of a
 benefit, pecuniary benefit, or kickback in connection with goods or services paid or claimed by a

 provider to be payable by the Oklahoma Medicaid Program.

            485.    Defendants violated 56 OkI. St. Ann.                 §   1005 by engaging in the fraudulent and

 illegal practices described herein.

            486.    Defendants fhrthennore violated 63 Okl. St. Ann.                 §   5053.1 and knowingly caused

 thousands of false claims to be made, used and presented to the State of Oklahoma by their

 violation of federal and state laws, including 56 Old. St. Ann.                  § 1005   and the AKS, as described

 herein.

            487.    The State of Oklahoma, by and through the State of Oklahoma Medicaid program

 and other state health care programs, and unaware of Defendants' fraudulent and illegal

practices, paid the claims submitted by health care providers and third payers in connection

therewith.

            488.    Compliance with applicable Medicare, Medicaid and the various other federal and

state laws cited herein was an implied, and upon information and belief, also an express

condition of payment of claims submitted to the State of Oklahoma in connection with

Defendants' fraudulent and illegal practices.

           489.    Had the State of Oklahoma known that Defendants were violating the federal and

state laws cited herein, it would not have paid the claims submitted by health care providers and

third party payers in connection with Defendants' fraudulent and illegal practices.

           490.    As a result of Defendants' violations of 63 Okl. St. Ann.                   §   5053.1 the State   of
Oklahoma has been damaged in an amount far in excess of millions of dollars exclusive of

interest.

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           491.      Mr. Ryan Bliss is a private person with direct and independent knowledge of the

 allegations of tins Complaint, who has brought this action pursuant to 63 OkI. St. Ann.                 §

 5053.2(B) on behalf of himself and the State of Oklahoma.

           492.      This Court is requested to accept supplemental jurisdiction of this related state

 claim as it is predicated upon the exact same facts as the federal claim, and merely asserts

 separate damage to the State of Oklahoma in the operation of its Medicaid program.

           493.     WHEREFORE, Relator respectfully requests this Court to award the following

 damages to the following parties and against Defendants:

 To the STATE OF OKLAHOMA:

          Three times the amount of actual damages which the State of Oklahoma has sustained as
          a result of Defendants' fraudulent and illegal practices;

          A civil penalty of not less than $5,000 and not more than $10,000 for each false claim
          which Defendants caused to be presented to the State of Oklahoma;

          Prejudginemit interest; and

          All costs incurred in bringing this action.

To RELATOR:

          The maximum amount allowed pursuant 63 Old. St. Ann.            §   5053.4 and for any other
          applicable provision of law;

          Reimbursement for reasoimble expenses which Relator incurred in connection with this
          action;

          An award of reasonable attorneys' fees and costs; and

          Such further relief as this court deems equitable and just.




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                                               COUNT TWENTY-SEVEN

                    VIOLATION OF THE RHODE ISLANI FALSE CLAIMS ACT

             494.      Relator re-alleges and incorporates the allegations in the preceding paragraphs as

 if fhlly set forth herein. Additionally, Relator states that the course of conduct described in this

 Complaint was a nationwide practice of Defendants.                       Some or all of the Defendants conduct

 business in the State of Rhode Island.                   Upon iiifonnation and belief, some or all of the

 Defendants' actions described herein occurred in the State of Rhode Island as well.

             495.      This is a qui tarn action brought by Relator and the State of Rhode Island to

recover treble damages and civil penalties under the Rhode Island False Claims Act, Gen. Laws

 1956,   §   9-1.1-I   etseq.


             496.   Gen. Laws 1956,        §   9-1.1-3 provides liability for any person who-

                    knowingly presents, or causes to be presented, to an officer or employee of the
                    state or a member of the guard a false or fraudulent claim for payment or
                    approval;

                    knowingly makes, uses, or causes to be made or used, a false record or statement
                    to get a false or fraudulent claim paid or approved by the state;

                    conspires to defraud the state by getting a false or fraudulent claim allowed or
                    paid.

         497.       In addition, Gen. Laws 1956,            §   40-8.2-3 prohibits the solicitation, receipt, offer,

or payment of any remuneration, including any kickback, bribe, or rebate, directly or indirectly,

in cash or in kind, to induce referrals from or to any person in return for furnishing of services or

merchandise or in return for referring an individual to a person for the furnishing of any services

or merchandise for which payment may be made, in whole or in part, under the Rhode Island

Medicaid program.



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            498.     Defendants violated Gen. Laws 1956,                 §   40-8.2-3 by engaging in the fraudulent

 and illegal practices described herein.

            499.    Defendants ftirtherinore violated Gen. Laws 1956,                    §    9-1.1-3 and knowingly

 caused thousands of false claims to be made, used and presented to the State of Rhode Island by

 their violation of federal and state laws, including Gen. Laws 1956,                   §    40-8.2-3 and the AKS, as

 described herein.

            500.    The State of Rhode Island, by and through the State of Rhode Island Medicaid

 program and other state health care programs, and unaware of Defendants' fraudulent and illegal

practices, paid the claims submitted by health care providers and third payers in connection

therewith.

            501.    Compliance with applicable Medicare, Medicaid and the various other federal and

state laws cited herein was an implied, and upon information and belief, also an express

condition of payment of claims submitted to the State of Rhode Island in connection with

Defendants' fraudulent and illegal practices.

          502.      Had the State of Rhode Island known that Defendants were violating the federal

and state laws cited herein, it would not have paid the claims submitted by health care providers

and third party payers in connection with Defendants' fraudulent and illegal practices.

         503.      As a result of Defendants' violations of Gen. Laws 1956,                    §   9-1.1-3 the State of

Rhode Island       11as   been damaged in an amount far in excess of millions of dollars exclusive of

interest.

         504.      Mr. Ryan Bliss is a private person with direct and independent knowledge of the

allegations of this Complaint, who has brought this action pursuant to Gen. Laws 1956,                        §   9-1.1-

4(b) on behalf of himself and the State of Rhode Island.

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           505.     This Court is requested to accept supplemental jurisdiction of this related state

 claim as it is predicated upon the exact same facts as the federal claim, and merely asserts

 separate damage to the State of Rhode Island in the operation of its Medicaid program.

           506.     WHEREFORE, Relator respectfully requests this Court to award the following

 damages to the following parties and against Defendants:

 To the STATE OF RHODE ISLAND:

         Three times the amount of actual damages which the State of Rhode Island has sustained
         as a result of Defendants' fraudulent and illegal practices;

         A civil penalty of not less than $5,000 and not more than $10,000 for each false claim
         which Defendants caused to be presented to the State of Rhode Island;

         Prejudgment interest; and

         All costs incurred in bringing this action.

 To RELATOR:

          The maximum amount allowed pursuant Gen. Laws 1956,                    §   9-1.1-4(d) and br any other
          applicable provision of law;

          Reimbursement for reasonable expenses which Relator incurred in connection with this
          action;

          An award of reasonable attorneys' fees and costs; and

          Such further relief as this court deems equitable and just.


                                            COUNT TWENTY-EIGHT

                     VIOLATION OF THE TENNESSEE FALSE CLAIMS ACT

          507.     Relator re-alleges and incorporates the allegations in the preceding paragraphs as

if fully set forth herein. Additionally, Relator states that the course of conduct described in this

Complaint was a nationwide practice of Defendants.                       Some or all of the Defendants conduct


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  business in the State of Tennessee. Upon information and belief, some or all of the Defendants'

  actions described herein occurred in Tennessee as well.

            508.     This is a qui tam action brought by Relator and the State of Tennessee to recover

 treble damages and civil penalties under the Tennessee Medicaid False Claims Act, Tenn. Code

 Ann.   §   71-5-181 et seq.

            509.    Section 71-5-182(a)(1) provides liability for any person            who
                    Presents, or causes to be presented to the state, a claim for payment under the
                    Medicaid program knowing such claim is false or fraudulent;

                    Makes or uses, or causes to be made or used, a record or statement to get a false
                    or fraudulent claim under the Medicaid program paid for a approved by the state
                    knowing such record or statement is false;

                    Conspires to defraud the State by getting a claim allowed or paid under the

                    Medicaid program knowing such claim is false or fraudulent.

            510.    Defendants violated Tenn. Code Ann.                  §   7l-5-182(a)(1) and knowingly caused
 hundreds of thousands of false claims to be made, used and presented to the State of Tennessee

by its violation of federal and state laws, including the AKS, as described herein.

            511.    The State of Tennessee, by and through the Tennessee Medicaid program and

other state health care programs, and unaware of Defendants' fraudulent and illegal practices,

paid the claims submitted by health care providers and third party payers in connection

therewith.

          512.     Compliance with applicable Medicare, Medicaid and the various other federal and

state laws cited herein was an implied, and upon information and belief, also an express

condition of payment of claims submitted to the State of Tennessee in connection with

Defendants' fraudulent and illegal practices.


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           513.     Had the State of Tennessee known that Defendants were violating the federal and

 state laws cited herein, it would not have paid the claims submitted by health care providers and

 third party payers in connection with Defendants' fraudulent and illegal practices.

           514.     As a result of Defendants' violations of Tenn. Code Ann.    §   71-5-182(a)(l), the
 State of Tennessee has been damaged in an amount far in excess of millions of dollars exclusive

 of interest.

          515.      Mr. Ryan Bliss is a private person with direct and independent knowledge of the

 allegations of this Complaint, who has brought this action pursuant to Tenn. Code Ann.         §    71-5-

 183(a)(l) on behalf of himself and the State of Tennessee.

          516.      This Court is requested to accept supplemental jurisdiction of this related state

claim    as it is predicated upon the exact same facts as the federal claim, and merely asserts

separate damage to the State of Tennessee in the operation of its Medicaid program.

          517.      WHEREFORE, Relator respectfully requests this Court to award the following

damages to the following parties and against Defendants:

To the STATE OF TENNESSEE:

          Three times the amount of actual damages which the State of Tennessee has sustained as
          a result of Defendants' fraudulent and illegal practices;

         A civil penalty of not less than $5,000 and not more than $10,000 for each false    claim
         which Defendants caused to be presented to the State of Tennessee;

         Prejudgment interest; and

         All costs incurred in bringing this action.

To RELATOR:

         The maximum amount allowed to Tenn. Code Ann. §71-5-183(c) andlor any other
         applicable provision of law;


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           Reimbursement for reasonable expenses which Relator incurred in connection with this
           action;

           An award of reasonable attorneys' fees and costs; and

           Such ftrther relief as this Coirt deems equitable and just.


                                              COUNT TWENTY-NINE

                  VIOLATION OF THE TEXAS MEDICAID FALSE CLAIMS ACT

           518.     Relator re-alleges and incorporates the allegations in the preceding paragraphs as

 if fully set forth herein. Additionally, Relator states that the course of conduct described in this

 Complaint was a nationwide practice of Defendants. Some or all of the Defendants conduct

 business in the State of Texas. Some or all of the Defendants' actions described herein occurred

 in Texas as well.

           519.     This is a qui tam action brought by Relator and the State of Texas to recover

double damages and civil penalties uiider the Texas False Claims Act, V.T.C.A. Hum. Res. Code

 §   36.00 1 et seq.

           520.     V.T.C.A. Hum. Res. Code              §   36.002, in relevant part, provides liability for any

person who

                   (1) knowingly makes or causes to be made a false statement or
                   misrepresentation of a material fact to permit a person to receive a benefit
                   or payment under the Medicaid program that is not authorized or that is
                   greater than the benefit or payment that is authorized;

                   (2) knowingly conceals or fails to disclose infonnation that permits a
                   person to receive a benefit or payment under the Medicaid program that is
                   not authorized or that is greater than the benefit or payment that is
                   authorized;

                   (3) knowingly applies for and receives a benefit or payment on behalf of
                   another person under the Medicaid program and converts any part of the

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                    benefit or payment to a use other than for the benefit of the person on
                    whose behalf it was received
                    *         *         *


                    (5) except as authorized under the Medicaid program, knowingly pays,
                    charges, solicits, accepts, or receives, in addition to an amount paid under
                    the Medicaid program, a gift, money, a donation, or other consideration as
                    a condition to the provision of a service or product or the continued
                    provision of a service or product if the cost of the service or product is
                    paid for, in whole or in part, wider the Medicaid program;
                    *         *         *



                    (5) except as authorized under the Medicaid program, knowingly pays,
                    charges, solicits, accepts, or receives, in addition to an amount paid under
                    the Medicaid program, a gift, money, a donation, or other consideration as
                    a condition to the provision of a service or product or the continued
                    provision of a service or product if the cost of the service or product is
                    paid for, in whole or in part, wider the Medicaid program;
                    *         *         *



                    (9) knowingly enters     into an agreement, combination, or
                    conspiracy to defraud the state by obtaining or aiding another
                    person in obtaining an unauthorized payment or benefit from the
                    Medicaid program or a fiscal agent;
                    *         *         *


                    (12) knowingly makes, uses, or causes the making or use of a false record
                    or statement to conceal, avoid, or decrease an obligation to pay or transmit
                    money or property to this state under the Medicaid program.

          521.     Defendants violated V.T.C.A. Hum. Res. Code            §   36.002 and knowingly caused

hundreds of thousands of false claims to be made, used and presented to the State of Texas by

their violation of federal and state laws, including, the AKS, as described herein.

          522.     The State of Texas, by and through the Texas Medicaid program and other state

healthcare programs, and unaware of Defendants' fraudulent and illegal practices, paid the

claims submitted by health care providers and third party payers in connection therewith.
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            523.    Compliance with applicable Medicare, Medicaid and the various other federal and

 state laws cited herein was implied, and upon information and belief, also an express condition

 of payment of claims submitted to the State of Texas in coxinection with Defendants' fraudulent

 and illegal practices.

          524.      Had the State of Texas known that Defendants were violating the federal and state

 laws cited herein, it would not have paid the claims submitted by health care providers and third

 party payers in connection with Defendants' fraudulent and illegal practices.

          525.      As a result of Defendants' violations of V.T.C.A. Hum. Res. Code     § 3 6.002,   the

 State of Texas has been damaged in an amount far in excess of millions of dollars exclusive of

interest.

          526.      Defendants did not, within 30 days after they first obtained information as to such

violations, furnish such infonnation to officials of the State responsible for investigating false

claims violations, did not otherwise fully cooperate with aiiy investigation of the violations, and

have not otherwise furnished information to the State regarding the claims for reimbursement at

issue.

          527.      Mr. Ryan Bliss is a private person with direct and independent knowledge of the

allegations of this Complaint, who has brought this action pursuant to V.T. C.A. Hum. Res. Code

§   36.101 on behalf of hiniseif and the State of Texas.

          528.      This Court is requested to accept supplemental jurisdiction of this related state

claim as it is predicated upon the exact same facts as the federal claim, and merely asserts

separate damage to the State of Texas in the operation of its Medicaid program.

          529.     WHEREFORE, Relator respectfully requests this Court to award the following

damages to the following parties and against Defendants:

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 To the STATE OF TEXAS:

          Damages at two times the value of any payment or monetary or in-kind benefit provided
          under the Medicaid program, directly or indirectly, as a result of the unlawful acts set
          forth above, as provided by the Texas Human Resources Code § 36.052(a)(l) & (4)

          Civil penalties of $15,000 for each and every unlawful act set forth above that resulted in
          injury to a person younger than 18 years of age, as provided by the Texas Human
          Resources Code § 36.052(3)A)

          Pre- and post-judgment interest, Tex. Hum. Res. Code § 36.052(a)(2),

To RELATOR:

          The maximum amount allowed pursuant to V.T.C.A. Hum Res. Code          §   36.110(a), and/or
          any other applicable provision of law;

          Reimbursement for reasonable expenses and costs which Relator incurred in connection
          with this action, Tex Hum Res. Code § 36.007 & 36.110(c);

          Reasonable attorneys' fees which the Relator necessarily incurred in bringing and
          pressing this case, Tex Hum Res. Code § 36.007 & 36.110(c); and

          Such further relief as this Court deems equitable and just.


                                                  COUNT THIRTY

           VIOLATION OF THE VIRGINIA FRAUD AGAINST TAXPAYERS ACT

          530.     Relator re-alleges and incorporates the allegations in the preceding paragraphs as

if fully set forth herein. Additionally, Relator states that the course of conduct described in this

Complaint was a nationwide practice of Defendants. Some or all of the Defendants conduct

business in the Commonwealth of Virginia. Upon infonnation and belief, some or all of the

Defendants' actions described herein occurred in the Coiumonwealth of Virginia as well.

         531.      This is a qui tam action brought by Relator and the Commonwealth of Virginia to

recover treble damages and civil penalties under the Virginia Fraud Against Taxpayers Act, Va.

Code Ann.     §   8.01-216.1 etseq.

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          532.      Va. Code Ann. § 8.01-2 16.3 provides liability for any person who-

                    Knowingly presents, or causes to be presented, to an officer or employee of the
                    Commonwealth a false or fraudulent claim for payment or approval;

                    Knowingly makes, uses, or causes to be made or used, a false record or statement
                    to get a false or fraudulent claim paid or approved by the Commonwealth

                    Conspires to defraud the Commonwealth by getting a false or fraudulent claim
                    allowed or paid

          533.      Defendants violated Va. Code Ann.                 §   8.01-2 16.3 by engaging in the fraudulent

  and illegal practices described herein.

          534.      Defendants furthermore violated Va. Code Ann.                    §   8.01-216.3 and knowingly

  caused thousands of false claims to be made, used and presented to the Commonwealth of

  Virginia by their violation of federal and state laws, including the AKS, as described herein.

          535.      The Commonwealth of Virginia, by and through the Commonwealth of Virginia

  Medicaid program and other state health care programs, and unaware of Defendants' fraudulent

  and illegal practices, paid the claims submitted by health care providers and third payers in

  connection therewith.

          536.     Compliance with applicable Medicare, Medicaid and the various other federal and

 state laws cited herein was an implied, and upon information and belief, also an express

 condition of payment of claims submitted to the Commonwealth of Virginia is connection with

 Defendants' fraudulent and illegal practices.

          537.     Had the Commonwealth of Virginia known that Defendants were violating the

 federal and state laws cited herein, it would not have paid the claims submitted by health care

 providers and third party payers in connection with Defendants' fraudulent and illegal practices.




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          538.      As a result of Defendants' violations of Va. Code Ann.              §   8.01-216.3 the

  Commonwealth of Virginia has been damaged in an amount far in excess of millions of dollars

  exclusive of interest.

          539.     Mr. Ryan Bliss is a private person with direct and independent knowledge of the

  allegations of this Complaint, who has brought this action pursuant to Va. Code Ann.             §   8.01-

  216.5(A) on behalf of himself and the Commonwealth of Virginia

          540.     This Court is requested to accept supplemental jurisdiction of this related state

 claim as it is predicated upon the exact same facts as the federal claim, and merely asserts

 separate damage to the Commonwealth of Virginia in the operation of its Medicaid program.

          541.     WHEREFORE, Relator respectfully requests this Court to award the following

 damages to the following parties and against Defendants:

To the COMMONWEALTH OF VIRGINIA:

          Three times the amount of actual damages which the Conunonwealth of Virginia has
          sustained as a result of Defendants' fraudulent and illegal practices;

         A civil penalty of not less than $5,000 and not more than $10,000 for each false claim
         which Defendants caused to be presented to the Commonwealth of Virginia;

         Prejudgment interest; and

         All costs incurred in bringing this action.

To RELATOR:

         The maximum amount allowed pursuant to Va. Code Ann.             §   8.01-216.7 and br any other
         applicable provision of law;

         Reimbursement for reasonable expenses which Relator incurred in connection with this
         action;

         An award of reasonable attorneys' fees and costs; and

         Such further relief as this court deems equitable and just.

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                                               COUNT THIRTY-ONE

                           VIOLATION OF THE WISCONSIN CLAIMS FOR
                                  MEDICAL ASSISTANCE ACT

          542.      Relator re-alleges and incorporates the allegations in the preceding paragraphs as

if fully set forth herein. Additionally, Relator states that the course of conduct described in this

Complaint was a nationwide pactice of Defendants. Some or all of the Defendants conduct

business in the State of Wisconsin. Upon information and belief, some or all of the Defendants'

actions described herein occurred in the State of Wisconsin as well.

          543.      This is a qui tarn action brought by Relator and the State of Wisconsin to recover

treble damages and civil penalties under the Wisconsin False Claims for Medical Assistance Act,

W.S.A. 20.931 etseq.

          544.      W.S.A.    20.931(2) provides liability for any person who-

                    Knowingly presents or causes to be presented to any officer, employee, or agent
                    of this state a false claim for medical assistance.

                    Knowingly makes, uses, or causes to be made or used a false record or statement
                    to obtain approval or payment of a false claim for medical assistance.

                   Conspires to defraud this state by obtaining allowance or payment of a false claim
                   for medical assistance, or by knowingly making or using, or causing to be made
                   or used, a false record or statement to conceal, avoid, or decrease an obligation to
                   pay or transmit money or property to the Medical Assistance program.

          545.      In addition, W. S .A. 49.49(2) prohibits solicitation or receipt of any remuneration,

including any kickback, bribe, or rebate, directly or indirectly, overtly or covertly, in cash or in

kind, in return for referring an individual to a person for the furnishing or arranging for the

furnishing of any item or service for which payment may be made in whole or in part under any

Wisconsin medical assistance program.


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           546.     Defendants violated W.S.A. 49.49(2) by engaging in the fraudulent and illegal

 practices described herein.

           547.     Defendants furthermore violated W.S.A. 20.931(2) and knowingly caused

 thousands of false claims to be made, used and presented to the State of Wisconsin by their

 violation of federal and state laws, including W.S.A. 49.49(2) and the AKS, as described herein.

          548.      The State of Wisconsin, by and through the State of Wisconsin Medicaid program

 and other state health care programs, and unaware of Defendants' fraudulent and illegal

practices, paid the claims submitted by health care providers and third payers in connection

therewith.

          549.      Compliance with applicable Medicare, Medicaid and the various other federal and

 state laws cited herein was an implied, and upon infonnation and belief, also an express

condition of payment of claims submitted to the State of Wisconsin in connection with

Defendants' fraudulent and illegal practices.

          550.      Had the State of Wisconsin known that Defendants were violating the federal and

state laws cited herein, it would not have paid the claims submitted by health care providers and

third party payers in connection with Defendants' fraudulent and illegal practices.

          551.     As a result of Defendants' violations of W.S.A. 20.931(2) the State of Wisconsin

has been damaged in an amount far in excess of millions of dollars exclusive of interest.

          552.     Mr. Ryan Bliss is a private persoii with direct and independent knowledge of the

allegations of this Complaint, who has brought this action pursuant to W.S.A. 20.931(5) on

behalf of himself and the State of Wisconsin.




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           553.     This Court is requested to accept supplemental jurisdiction of this related state

 claim   as it is predicated upon the exact same facts as the federal claim, and merely asserts

 separate damage to the State of Wisconsin in the operation of its Medicaid program.

          554.      WHEREFORE, Relator respectfully requests this Court to award the following

 damages to the following parties and against Defendants:

 To the STATE OF WISCONSIN:

          Three times the amount of actual damages which the State of Wisconsin has sustained as
          a result of Defendants' fraudulent and illegal practices;

          A civil penalty of not less than $5,000 and not more than $10,000 for each false claim
          which Defendants caused to be presented to the State of Wisconsin;

          Prejudgment interest; and

          All costs incurred in bringing this action.

To RELATOR:

          The maximum amount allowed pursuant W. S.A. 20.931(11) and br any other applicable
          provision of law;

          Reimbursement for reasonable expenses which Relator incurred in connection with this
          action;

         An award of reasonable attorneys' fees and costs; and

          Such further relief as this court deems equitable and just.


                                          DEMAND FOR JURY TRIAL

Relator hereby demands a jury trial.




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 Dated: July 23, 2013                                     Respectfully submitted,


                                                          UNITED STATES OF AMERICA
                                                          ex rel. Ryan Bliss


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